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                        EXHIBIT 3
PLAINTIFFS’ DEPOSITION DESIGNATIONS
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Transcript        PgFrom LnFrom     PgTo    LnTo       Issues
Calhoun, August        20     15      21      15       PLAINTIFFS PT DESIGNATION
Calhoun, August        21     18      22      16       PLAINTIFFS PT DESIGNATION
Calhoun, August        22     18      22      20       PLAINTIFFS PT DESIGNATION
Calhoun, August        22     22      23      11       PLAINTIFFS PT DESIGNATION
Calhoun, August        23     17      23      22       PLAINTIFFS PT DESIGNATION
Calhoun, August        24     17      24      18       PLAINTIFFS PT DESIGNATION
Calhoun, August        24     20      25       1       PLAINTIFFS PT DESIGNATION
Calhoun, August        25     10      26       5       PLAINTIFFS PT DESIGNATION
Calhoun, August        26      7      26       7       PLAINTIFFS PT DESIGNATION
Calhoun, August        26      9      27       3       PLAINTIFFS PT DESIGNATION
Calhoun, August        27      5      27       5       PLAINTIFFS PT DESIGNATION
Calhoun, August        27      7      27      18       PLAINTIFFS PT DESIGNATION
Calhoun, August        27     20      27      20       PLAINTIFFS PT DESIGNATION
Calhoun, August        27     22      28       5       PLAINTIFFS PT DESIGNATION
Calhoun, August        28      7      28       9       PLAINTIFFS PT DESIGNATION
Calhoun, August        28     11      28      13       PLAINTIFFS PT DESIGNATION
Calhoun, August        28     15      28      18       PLAINTIFFS PT DESIGNATION
Calhoun, August        28     20      29      18       PLAINTIFFS PT DESIGNATION
Calhoun, August        29     20      29      20       PLAINTIFFS PT DESIGNATION
Calhoun, August        29     22      30      16       PLAINTIFFS PT DESIGNATION
Calhoun, August        31      4      31      10       PLAINTIFFS PT DESIGNATION
Calhoun, August        31     12      31      15       PLAINTIFFS PT DESIGNATION
Calhoun, August        31     17      31      21       PLAINTIFFS PT DESIGNATION
Calhoun, August        32      1      32       5       PLAINTIFFS PT DESIGNATION
Calhoun, August        32      7      32       9       PLAINTIFFS PT DESIGNATION
Calhoun, August        32     18      33       1       PLAINTIFFS PT DESIGNATION
Calhoun, August        33      3      33       4       PLAINTIFFS PT DESIGNATION
Calhoun, August        33      6      33      16       PLAINTIFFS PT DESIGNATION
Calhoun, August        33     19      33      21       PLAINTIFFS PT DESIGNATION
Calhoun, August        34      1      34      14       PLAINTIFFS PT DESIGNATION
Calhoun, August        35      7      35      11       PLAINTIFFS PT DESIGNATION
Calhoun, August        35     14      35      14       PLAINTIFFS PT DESIGNATION
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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August        35     16      36       1         PLAINTIFFS PT DESIGNATION
Calhoun, August        36      4      36       4         PLAINTIFFS PT DESIGNATION
Calhoun, August        36      6      36      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        37      9      37      12         PLAINTIFFS PT DESIGNATION
Calhoun, August        37     14      37      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        37     16      38       8         PLAINTIFFS PT DESIGNATION
Calhoun, August        38     12      38      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        39     12      39      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        39     15      39      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        39     18      39      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        39     22      39      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        40      2      40       3         PLAINTIFFS PT DESIGNATION
Calhoun, August        40      5      40       5         PLAINTIFFS PT DESIGNATION
Calhoun, August        40      7      40       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        40     14      40      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        40     20      40      21         PLAINTIFFS PT DESIGNATION
Calhoun, August        42      9      42      10         PLAINTIFFS PT DESIGNATION
Calhoun, August        42     13      42      15         PLAINTIFFS PT DESIGNATION
Calhoun, August        42     17      42      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        43      2      43       4         PLAINTIFFS PT DESIGNATION
Calhoun, August        43      6      43       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        44      5      44      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        44     17      44      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        44     22      45       6         PLAINTIFFS PT DESIGNATION
Calhoun, August        45      8      45       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        45     11      45      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        45     18      45      18         PLAINTIFFS PT DESIGNATION
Calhoun, August        45     20      46      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        46     13      46      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        46     15      46      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        46     19      46      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        46     21      47       4         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August        47      7      47       7         PLAINTIFFS PT DESIGNATION
Calhoun, August        47      9      47      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        47     13      47      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        47     20      48       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        48     11      48      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        48     13      48      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        48     21      48      21         PLAINTIFFS PT DESIGNATION
Calhoun, August        49     16      49      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        49     20      49      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        49     22      50       8         PLAINTIFFS PT DESIGNATION
Calhoun, August        52     14      52      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        52     21      52      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        53      2      53       7         PLAINTIFFS PT DESIGNATION
Calhoun, August        53     22      54       1         PLAINTIFFS PT DESIGNATION
Calhoun, August        54      3      54      12         PLAINTIFFS PT DESIGNATION
Calhoun, August        55     11      55      18         PLAINTIFFS PT DESIGNATION
Calhoun, August        58     13      59      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Calhoun, August        60     12      60      15         PLAINTIFFS PT DESIGNATION
Calhoun, August        60     17      60      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        60     21      61       2         PLAINTIFFS PT DESIGNATION
Calhoun, August        61      4      61       4         PLAINTIFFS PT DESIGNATION
Calhoun, August        61      6      62      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        62     13      62      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        63      8      63      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        64      2      64       6         PLAINTIFFS PT DESIGNATION
Calhoun, August        64      8      64       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        64     11      64      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        64     15      65       2         PLAINTIFFS PT DESIGNATION
Calhoun, August        65      5      65       6         PLAINTIFFS PT DESIGNATION
Calhoun, August        65      8      65      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        66     11      67       1         PLAINTIFFS PT DESIGNATION
Calhoun, August        67      5      67      12         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August        67     20      68      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        68     18      68      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        68     21      68      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        69      2      69       5         PLAINTIFFS PT DESIGNATION
Calhoun, August        69      7      69       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        69     11      69      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        69     15      69      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        69     19      69      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        70      3      70      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        70     20      71       3         PLAINTIFFS PT DESIGNATION
Calhoun, August        71      5      71      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        72      6      72      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        72     13      72      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        72     15      72      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        72     20      72      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        73      2      73       8         PLAINTIFFS PT DESIGNATION
Calhoun, August        73     10      73      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        73     13      73      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        73     16      73      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        73     22      74      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        75      2      75       6         PLAINTIFFS PT DESIGNATION
Calhoun, August        75      8      75      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        75     13      75      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        75     18      77       7         PLAINTIFFS PT DESIGNATION
Calhoun, August        77      9      77       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        77     11      77      18         PLAINTIFFS PT DESIGNATION
Calhoun, August        77     21      78       2         PLAINTIFFS PT DESIGNATION
Calhoun, August        78      4      78      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        79      9      80      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        80     18      80      22         PLAINTIFFS PT DESIGNATION
Calhoun, August        81      2      82       5         PLAINTIFFS PT DESIGNATION
Calhoun, August        82      7      82       9         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August        82     11      82      13         PLAINTIFFS PT DESIGNATION
Calhoun, August        82     15      82      15         PLAINTIFFS PT DESIGNATION
Calhoun, August        83     21      84       8         PLAINTIFFS PT DESIGNATION
Calhoun, August        84     10      84      10         PLAINTIFFS PT DESIGNATION
Calhoun, August        84     12      84      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        84     16      84      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        84     18      85       4         PLAINTIFFS PT DESIGNATION
Calhoun, August        85     12      85      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        85     21      86       1         PLAINTIFFS PT DESIGNATION
Calhoun, August        86      3      86       3         PLAINTIFFS PT DESIGNATION
Calhoun, August        86      7      86       9         PLAINTIFFS PT DESIGNATION
Calhoun, August        86     11      86      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        86     22      87       2         PLAINTIFFS PT DESIGNATION
Calhoun, August        87      4      87      10         PLAINTIFFS PT DESIGNATION
Calhoun, August        87     13      87      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        87     16      88       3         PLAINTIFFS PT DESIGNATION
Calhoun, August        88      5      88       7         PLAINTIFFS PT DESIGNATION
Calhoun, August        88      9      88      11         PLAINTIFFS PT DESIGNATION
Calhoun, August        88     13      88      14         PLAINTIFFS PT DESIGNATION
Calhoun, August        88     18      88      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        88     21      90       4         PLAINTIFFS PT DESIGNATION
Calhoun, August        90     10      90      12         PLAINTIFFS PT DESIGNATION
Calhoun, August        90     15      90      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        90     19      90      20         PLAINTIFFS PT DESIGNATION
Calhoun, August        91      1      91       2         PLAINTIFFS PT DESIGNATION
Calhoun, August        91      4      92       2         PLAINTIFFS PT DESIGNATION
Calhoun, August        92      5      92       6         PLAINTIFFS PT DESIGNATION
Calhoun, August        92      8      92      18         PLAINTIFFS PT DESIGNATION
Calhoun, August        93     13      93      16         PLAINTIFFS PT DESIGNATION
Calhoun, August        93     22      94       7         PLAINTIFFS PT DESIGNATION
Calhoun, August        94     11      95      17         PLAINTIFFS PT DESIGNATION
Calhoun, August        95     20      95      20         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August        95     22      96       3         PLAINTIFFS PT DESIGNATION
Calhoun, August        96      5      96       5         PLAINTIFFS PT DESIGNATION
Calhoun, August        96      7      97       4         PLAINTIFFS PT DESIGNATION
Calhoun, August        97      6      97       7         PLAINTIFFS PT DESIGNATION
Calhoun, August        97      9      97      19         PLAINTIFFS PT DESIGNATION
Calhoun, August        97     21      97      21         PLAINTIFFS PT DESIGNATION
Calhoun, August        98      1      99       6         PLAINTIFFS PT DESIGNATION
Calhoun, August        99      8      99       8         PLAINTIFFS PT DESIGNATION
Calhoun, August        99     10      99      12         PLAINTIFFS PT DESIGNATION
Calhoun, August        99     14      99      15         PLAINTIFFS PT DESIGNATION
Calhoun, August        99     17      99      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      100       3     100       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      100       7     101       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      101      12     101      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      101      15     102       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      102       9     102      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      102      12     102      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      102      18     102      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      102      21     103       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      103      10     103      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      103      12     104       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      104      12     104      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      104      14     105       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      105      10     105      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      105      14     105      18         PLAINTIFFS PT DESIGNATION
Calhoun, August      105      20     105      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      106      17     107      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      107      22     108       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      108       3     108       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      108       7     108       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      108       9     108      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      108      20     108      21         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August      109       1     111      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      111      12     111      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      111      15     111      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      111      18     111      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      111      22     112       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      112       6     112       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      112       9     115       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      115      11     115      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      115      18     115      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      116       1     116       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      116       5     116      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      116      14     116      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      116      18     116      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      117      14     119      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      120       2     120       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      120       8     120      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      120      19     121       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      121      21     122       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      122       5     122       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      122      10     122      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      123       2     123       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      123       4     123      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      123      13     125      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      125      20     126      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      126      19     127       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      127       3     127      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      127      15     127      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      127      19     130       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      130       6     130       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      130       8     130      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      130      14     130      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      130      17     130      22         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom     PgTo    LnTo         Issues
Calhoun, August      131       9     133      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      133      19     133      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      133      22     135      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      135      15     135      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      135      19     138      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      138      22     139       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      139       8     139      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      139      12     141      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      141      21     141      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      142       1     142       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      142       5     142       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      142       7     142       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      142      11     142      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      142      13     142      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      142      18     142      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      142      22     143       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      143       5     143       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      143       7     143       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      143      10     145      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      145      18     145      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      146       1     148      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      149       3     149       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      149      15     150       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      150       6     150       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      150       9     150      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      150      13     150      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      150      16     150      18         PLAINTIFFS PT DESIGNATION
Calhoun, August      150      20     151       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      151       4     151       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      151       9     151       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      151      11     151      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      151      17     151      18         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo        Issues
Calhoun, August      151      20      152      15        PLAINTIFFS PT DESIGNATION
Calhoun, August      152      17      153       1        PLAINTIFFS PT DESIGNATION
Calhoun, August      153       3      153       9        PLAINTIFFS PT DESIGNATION
Calhoun, August      153      12      153      14        PLAINTIFFS PT DESIGNATION
Calhoun, August      153      16      154       9        PLAINTIFFS PT DESIGNATION
Calhoun, August      154      12      154      13        PLAINTIFFS PT DESIGNATION
Calhoun, August      154      15      154      21        PLAINTIFFS PT DESIGNATION
Calhoun, August      155       2      155       3        PLAINTIFFS PT DESIGNATION
Calhoun, August      155       5      156      14        PLAINTIFFS PT DESIGNATION
Calhoun, August      157       2      157       3        PLAINTIFFS PT DESIGNATION
Calhoun, August      157       6      157       7        PLAINTIFFS PT DESIGNATION
Calhoun, August      157       9      157      10        PLAINTIFFS PT DESIGNATION
Calhoun, August      157      12      157      19        PLAINTIFFS PT DESIGNATION
Calhoun, August      157      21      159       2        PLAINTIFFS PT DESIGNATION
Calhoun, August      159       4      159       4        PLAINTIFFS PT DESIGNATION
Calhoun, August      159       6      159      10        PLAINTIFFS PT DESIGNATION
Calhoun, August      159      12      159      13        PLAINTIFFS PT DESIGNATION
Calhoun, August      159      15      159      21        PLAINTIFFS PT DESIGNATION
Calhoun, August      160       4      160       9        PLAINTIFFS PT DESIGNATION
Calhoun, August      160      11      160      14        PLAINTIFFS PT DESIGNATION
Calhoun, August      160      16      161      20        PLAINTIFFS PT DESIGNATION
Calhoun, August      161      22      162       4        PLAINTIFFS PT DESIGNATION
Calhoun, August      162       6      162       9        PLAINTIFFS PT DESIGNATION
Calhoun, August      162      12      162      12        PLAINTIFFS PT DESIGNATION
Calhoun, August      162      14      163       9        PLAINTIFFS PT DESIGNATION
Calhoun, August      163      12      163      14        PLAINTIFFS PT DESIGNATION
Calhoun, August      163      16      164       3        PLAINTIFFS PT DESIGNATION
Calhoun, August      164       5      164       8        PLAINTIFFS PT DESIGNATION
Calhoun, August      164      10      165      13        PLAINTIFFS PT DESIGNATION
Calhoun, August      165      16      165      17        PLAINTIFFS PT DESIGNATION
Calhoun, August      165      19      166       4        PLAINTIFFS PT DESIGNATION
Calhoun, August      166       7      166       9        PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      166      11      166      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      167       2      167       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      167       5      169       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      169      12      170      18         PLAINTIFFS PT DESIGNATION
Calhoun, August      170      20      170      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      171       3      173      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      173      14      173      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      173      16      173      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      174       3      174       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      174       8      174      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      174      17      174      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      174      21      175      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      175      16      175      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      175      22      176      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      176      16      176      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      176      21      177       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      177       3      177       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      177       6      177       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      177       9      177      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      177      15      179       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      179       8      179      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      179      12      181       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      181       8      181      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      181      12      182       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      182      10      182      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      182      15      182      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      183       2      183       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      183       5      183      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      183      13      183      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      183      19      184       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      184       5      184       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      184       7      184      10         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      184      12      184      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      184      17      186      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      186      12      186      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      186      14      186      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      186      21      186      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      187       2      189       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      189       6      190      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      190      12      190      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      190      14      190      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      190      19      191       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      191       6      192       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      192       4      192       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      192      10      192      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      192      13      193      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      193      19      193      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      193      21      194      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      194      13      194      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      194      17      195      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      195      18      195      18         PLAINTIFFS PT DESIGNATION
Calhoun, August      195      20      196       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      196      11      196      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      196      14      197      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      197      16      197      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      198       1      198       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      198      18      200      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      200      20      201       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      201       3      203      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      204       1      204       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      204       4      204       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      204      11      205      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      205      12      205      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      205      15      209      11         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      209      15      210       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      210       6      210       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      210      11      210      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      210      14      210      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      210      22      211       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      211       8      211       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      211      19      212       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      212       8      212       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      212      11      212      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      212      16      212      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      212      21      213       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      213      12      213      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      213      18      215       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      215      10      215      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      215      14      215      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      215      19      215      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      216       2      216       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      216       8      216       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      216      15      216      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      216      18      217      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      217      14      217      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      217      16      218      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      219       2      219       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      219       5      221      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      222       3      222       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      222       5      222      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      222      22      222      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      223       2      223       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      223      15      223      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      223      18      223      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      223      22      224       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      224       3      224       7         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      224      10      224      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      224      12      224      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      224      15      224      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      224      17      225       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      225      17      225      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      225      21      225      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      226       2      226      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      226      14      226      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      226      22      228       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      228       4      228       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      228       8      228      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      228      12      228      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      228      17      228      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      228      22      229       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      229      10      229      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      229      13      230       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      230      11      230      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      230      14      230      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      230      18      232       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      232       4      232       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      232       7      233      18         PLAINTIFFS PT DESIGNATION
Calhoun, August      234       1      234       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      234       7      234       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      234      14      235      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      240       9      240      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      240      12      240      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      240      19      240      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      241       2      241       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      241      12      243      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      243      18      243      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      243      21      244       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      244       7      244       9         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      244      11      244      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      244      21      245       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      245       8      245      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      245      22      247      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      247      19      247      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      247      22      248       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      248       3      248      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      248      13      248      16         PLAINTIFFS PT DESIGNATION
Calhoun, August      248      18      248      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      248      21      249       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      249      11      249      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      249      19      250       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      250       5      251      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      254      13      254      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      254      16      257       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      257      10      257      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      257      15      257      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      258       1      258       5         PLAINTIFFS PT DESIGNATION
Calhoun, August      258       7      260      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      261       3      261      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      261      17      261      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      262       1      262      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      262      14      263       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      264      14      264      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      265       1      265       2         PLAINTIFFS PT DESIGNATION
Calhoun, August      265       4      265      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      265      19      270       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      270       9      270       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      270      11      270      11         PLAINTIFFS PT DESIGNATION
Calhoun, August      270      13      270      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      270      19      272      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      273       2      273       6         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      273       8      273      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      273      12      275       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      275       5      275       8         PLAINTIFFS PT DESIGNATION
Calhoun, August      275      10      276       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      276       6      276       6         PLAINTIFFS PT DESIGNATION
Calhoun, August      276       8      276       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      277      21      278      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      278      15      279       1         PLAINTIFFS PT DESIGNATION
Calhoun, August      279       3      279       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      279       9      279      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      279      16      279      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      279      19      281      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      281      16      282      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      283       2      283       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      283       5      286       4         PLAINTIFFS PT DESIGNATION
Calhoun, August      286       6      286       7         PLAINTIFFS PT DESIGNATION
Calhoun, August      286       9      286      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      286      16      286      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      286      19      287      10         PLAINTIFFS PT DESIGNATION
Calhoun, August      287      12      287      13         PLAINTIFFS PT DESIGNATION
Calhoun, August      287      15      287      20         PLAINTIFFS PT DESIGNATION
Calhoun, August      288      13      288      15         PLAINTIFFS PT DESIGNATION
Calhoun, August      288      17      288      22         PLAINTIFFS PT DESIGNATION
Calhoun, August      289       2      289      14         PLAINTIFFS PT DESIGNATION
Calhoun, August      289      16      289      17         PLAINTIFFS PT DESIGNATION
Calhoun, August      289      19      290       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      290      11      290      12         PLAINTIFFS PT DESIGNATION
Calhoun, August      290      14      290      21         PLAINTIFFS PT DESIGNATION
Calhoun, August      291       2      291       3         PLAINTIFFS PT DESIGNATION
Calhoun, August      292       4      293       9         PLAINTIFFS PT DESIGNATION
Calhoun, August      293      11      293      19         PLAINTIFFS PT DESIGNATION
Calhoun, August      293      21      294      18         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Calhoun, August      300      20      301      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok         8      1        8       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        10     25       12       7         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        16      2       18       1         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        18     10       19       6         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        19     14       20       2         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        20     11       21       1         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        23      1       23      15         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        23     21       26       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        26      5       26      17         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        26     20       28       9         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        29     11       30      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        30     11       31      14         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        31     15       33      13         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        33     14       34      20         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        35      8       37       8         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        37     13       38       1         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        38      9       38      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        39     17       40       6         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        40      7       42      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        42     22       42      25         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        43      1       43      23         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        44      5       44      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        44     11       44      11         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        44     12       46       9         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        46     10       46      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        46     11       49      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        51     20       53      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        53     13       56       8         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        56     10       56      17         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        56     19       56      22         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        56     23       60       4         PLAINTIFFS PT DESIGNATION


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Chennuru, Ashok        60      5       63      16         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        63     25       65      18         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        66     12       68      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        68     13       68      22         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        69      7       72       3         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        72      4       72       7         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        72      8       72      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        72     22       74      23         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        75      7       76       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok        77     21       78      24         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        78     25       81      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        81     11       83       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        83      5       85      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        85     11       86      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        87     18       88      15         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        89     20       92       2         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        93      1       94      18         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        94     23       95       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok        95      8       95      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        95     12       95      23         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        96      1       98       5         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        98     11       99       3         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok        99     10       99      18         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      101      22      101      25         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      102       4      102       6         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      102       8      102      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      102      14      102      20         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      103       2      103      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      104       5      104      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      104      14      104      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      104      16      104      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      104      21      104      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Chennuru, Ashok      107       8      107      14         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      107      15      107      17         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      107      19      108      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      118      23      119      24         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      120       1      120      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      120      12      120      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      121       8      121      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      122       1      122       6         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      123      21      124       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      124       6      124      16         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      124      18      125      11         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      125      12      125      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      125      21      126      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      126      16      127      14         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      127      23      128       1         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      128       3      129       9         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      130      12      132      17         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      132      18      132      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      132      19      132      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      133       1      133       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      133       5      133      16         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      136      16      136      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      137       6      137       9         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      137      11      137      14         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      137      16      137      22         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      138      12      138      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      138      23      138      23         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      138      25      139       7         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      139       9      140       5         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      140       9      140      11         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      141       9      141      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      145       1      145       5         PLAINTIFFS PT DESIGNATION


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Chennuru, Ashok      145       7      145       8         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      145      10      145      12         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      145      13      145      18         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      145      20      146       8         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      146      10      146      16         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      146      18      146      18         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      146      20      146      23         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      147       1      149      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      150      22      151      11         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      151      12      151      23         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      151      25      151      25         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      151      25      151      25         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      153      21      153      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      156      19      157      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      159      24      159      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      161      20      161      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      161      22      161      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      161      25      162       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      162       8      162      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      167       5      167       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      167      10      167      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      167      14      167      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      171      13      171      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      171      24      172       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      175       4      175       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      175      10      175      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      177       7      177      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      177      19      177      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      178       4      178       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      178       8      178      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      184      19      184      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      187      15      187      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Chennuru, Ashok      188      21      188      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      189      10      189      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      189      15      189      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      192      14      193       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      197      13      198       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      213       4      213       9         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      213      15      213      24         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      214       2      214       3         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      214       5      214      13         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      214      15      214      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      219       2      219       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      219      10      220       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      221       9      221      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      221      13      221      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      222      18      223       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      223       6      223       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      223       7      223       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      223       8      224      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      224      14      225       7         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      225       8      225      16         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok      226       7      226      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      230      16      230      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      230      19      230      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      231       2      232      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      234       1      234       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      234       5      234       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      234       9      235      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      238      13      238      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      240       4      241       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      251       5      251      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      256      21      256      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok      256      23      256      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Chennuru, Ashok             257       2      257       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok             258      19      259      17         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             259      18      260       2         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             260       6      260      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok             260      15      260      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok             260      21      261       3         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             261       5      261       8         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             261      10      261      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             261      21      261      22         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             261      24      262       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             262       7      262      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             262      12      262      22         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             263       7      263       9         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             263      12      263      14         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             264      13      264      16         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             264      19      265       7         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             265      24      266      10         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             267       2      267      19         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             267      20      268       4         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             268       6      268      15         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok             268      17      269      21         PLAINTIFFS PT DESIGNATION
Chennuru, Ashok (30b6)        11      8       11      11         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        11     25       12       3         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        12      5       12       9         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        12     11       12      18         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        17     12       17      13         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        18     14       19       2         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        20     12       20      16         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        22     18       22      20         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        26      8       26      15         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        30      7       30       7         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        30      9       30      18         PLAINTIFFS PT COUNTER-DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo         Issues
Chennuru, Ashok (30b6)        31      2       32      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        35      2       35      10         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        44      1       45       4         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        47     17       48      20         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        48     21       48      22         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        48     24       49       1         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        49      3       49       6         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        49      7       49      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        49     15       49      20         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        49     21       51       1         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        53     15       53      20         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        54     17       54      21         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        57     11       58       1         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        58      2       58       7         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        58      8       58      16         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        63      6       63       6         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        63      8       63      10         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        64     17       64      18         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        69     11       69      23         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        69     24       69      25         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        70      2       70       2         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        70      3       70       3         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        70      4       70       5         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        70      6       70      10         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        70     21       70      22         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        70     25       72      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        73     12       73      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        73     16       73      19         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        74      4       74      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        76      2       77       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        79     10       81      11         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        81     12       81      21         PLAINTIFFS PT COUNTER-DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo         Issues
Chennuru, Ashok (30b6)        81     22       82       1         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        82      2       82      16         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        82     17       82      24         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        83      6       83      18         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        87      3       87      19         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        89     15       89      15         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        89     18       91      19         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        93      7       93      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        95     23       96       4         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        96      6       96       8         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        98     25       99       5         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        99      6       99       6         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        99     12       99      17         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)        99     21      100       3         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      101       7      101      16         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      101      17      102      20         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      103       3      103       7         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      104       3      104      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      104      23      105       8         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      105      17      106       4         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      106       7      106      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      106      16      106      16         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      111       3      111       7         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      112      11      112      14         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      112      15      113       7         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      113       8      113      12         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      113      16      113      18         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      114      25      115       8         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      116       1      116       7         PLAINTIFFS PT COUNTER-DESIGNATION
Chennuru, Ashok (30b6)      116       9      116      21         PLAINTIFFS PT COUNTER-DESIGNATION
Choate, Thomas (CID)           8     18        8      21         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)          11     25       11      25         PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo         Issues
Choate, Thomas (CID)        12      2       12       7         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        18     15       18      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        19      2       19      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        20      2       20      12         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        21      4       21      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        22      2       22      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        23      2       23      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        24      2       24      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        25      2       25      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        26      9       26      10         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        28     15       28      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        29      2       29      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        30      2       30      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        31      2       31      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        32      2       32      22         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        35     19       35      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        36      2       36      20         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        39     17       39      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        40      2       40      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        41      2       41       3         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        41      4       41      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        42      2       42       4         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        44     19       44      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        45      2       45      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        46      2       46      22         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        48     15       48      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        49      2       49      15         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        49     16       49      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        50      2       50      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        51      2       51      12         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        51     18       51      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        52      2       52      25         PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo         Issues
Choate, Thomas (CID)        53      2       53      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        54      2       54      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        55      2       55      12         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        57      6       57      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)        60      6       60      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)        62     25       63      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)        63     14       64      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)        71     14       71      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)        72      2       72       3         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      115      18      117       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      121       9      121      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      121      15      121      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      122      16      123       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      123      10      124       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      124      14      125       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      126       3      128       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      128      15      129       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      129      12      129      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      133       6      134       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      139      18      139      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      140       2      140       2         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      143       2      143      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      145       6      145      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      174      19      174      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      175       2      175      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      176       2      176      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      177       2      177      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      178       2      178      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      179       2      179       4         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      179      13      180      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      203       3      204       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Choate, Thomas (CID)      213      20      213      24         PLAINTIFFS PT DESIGNATION


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Choate, Thomas (CID)      214       2      214      23         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      215      23      215      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      216       2      216      12         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      216      21      216      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      217       2      217      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      218       2      218      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      219       2      219      21         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      219      22      219      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      220       2      220      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      221       2      221      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      222       2      222      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      223       2      223      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      224       2      224      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      225       2      225      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      226       2      226      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      227       2      227       3         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      227       9      227      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      228       2      228       5         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      231      13      231      17         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      231      22      231      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      232       2      232       2         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      232      12      232      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      233       2      233      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      234       2      234       4         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      235      11      235      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      236       2      236      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      237       2      237       6         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      248      15      248      19         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      249       4      249      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      251       2      251       6         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      251      24      251      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      252       2      252       4         PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo         Issues
Choate, Thomas (CID)      252      22      252      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      253       2      253      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      254       2      254      14         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      266      25      266      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      267       2      267      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      268       2      268      20         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      275      25      275      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      276       2      276      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      277       2      277      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      278       2      278      16         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      278      21      278      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      279      12      279      22         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      280      10      280      22         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      280      23      280      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      281       2      281      15         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      281      16      281      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      282       2      282       6         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      282      18      282      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      283       2      283      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      284       2      284      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      285       2      285      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      286       2      286       2         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      288       4      288      18         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      288      19      288      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      289       2      289      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      290       2      290      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      293       5      293      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      294       2      294      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      295       2      295      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      296       2      296      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      297       2      297      24         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      298       3      298      25         PLAINTIFFS PT DESIGNATION


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Choate, Thomas (CID)      299       2      299       8         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      299      11      299      18         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      299      21      299      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      300       2      300      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      301       2      301      22         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      302       9      302      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      303       2      303      19         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      312      11      312      13         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      312      16      312      21         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      313      21      313      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      314       6      314      18         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      314      19      314      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      315       2      315      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      316       2      316       8         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      316      18      316      20         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      316      21      316      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      317       2      317      18         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      317      21      317      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      318       2      318       3         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      318       4      318      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      319       2      319      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      320       2      320      24         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      321       3      321      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      322       2      322       9         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      338      17      338      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      339       2      339       5         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      344      18      344      25         PLAINTIFFS PT DESIGNATION
Choate, Thomas (CID)      345       2      345       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil          17     16       17      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil          18     19       22      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil          22     16       22      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil          22     21       22      22         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil        23      2       27       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        27     11       27      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        27     16       28       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        28     11       28      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        28     20       29       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        29      9       29      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        29     19       29      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        30      2       30       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        30      9       30      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        30     15       31       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        31      9       31      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        31     17       31      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        31     22       32       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        32      8       32      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        32     21       33       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        33      7       33      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        33     17       33      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        33     22       34      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        34     15       34      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        34     20       35      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        35     12       35      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        35     18       35      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        36      1       36       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        36      5       37      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        37     13       37      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        37     16       38      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        38     19       38      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        39      2       39       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        39      4       39       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        39      8       39       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        39     11       39      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        39     14       42      16         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil        42     18       42      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        42     22       46       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        46     10       46      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        46     12       46      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        46     22       47       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        48      3       56       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        56      7       56      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        56     17       57       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        57     11       57      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        57     15       58       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        58      9       58      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        58     13       61       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        61     13       61      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        61     17       62       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        63     11       63      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        64      1       64       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        64      8       64      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        64     12       64      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        64     17       66       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        66      6       66       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        66     11       67       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        67     10       67      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        67     14       68      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        68     21       69       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        69      8       75      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        75     17       75      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        76      1       76      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        76     16       76      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        76     21       79       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        79      5       79      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        79     21       79      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        80      2       83       5         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil        83      7       83       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        83     11       83      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        83     18       83      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        84      2       87       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        87      6       87       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        87      8       87      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        87     14       87      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        87     17       88       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        88      4       88       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        88     10       88      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        88     15       88      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        88     21       89       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        89      5       89       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        89     11       90       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        90      3       90       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        90      6       90      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        90     13       90      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        90     15       91       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        91     11       91      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        91     18       91      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        92      3       92      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        92     21       95       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        95      9       95      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        95     18       96       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        96     12       98      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        98     14       98      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil        98     20      100      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      100      21      101       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      101      10      101      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      101      14      102       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      102      11      102      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      102      18      104      12         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      104      16      105      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      105      20      109      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      110       1      110       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      110      10      110      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      110      22      111       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      111       3      111       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      111       9      111      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      111      16      114       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      114       4      114      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      114      20      116      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      116      15      116      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      116      20      117       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      117       4      117       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      117      12      118      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      118      16      118      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      119       1      119       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      119       5      119      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      119      15      119      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      120       3      120      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      120      12      122      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      122      18      122      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      122      22      125      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      125      18      126       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      126      11      127      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      128       3      128       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      128      18      129      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      130       2      130       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      130       6      135       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      135      10      135      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      135      15      136       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      136       8      136      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      136      14      136      16         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      136      18      137       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      137       6      137      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      137      12      137      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      138       1      138       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      138       4      138       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      138       9      138       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      138      11      140       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      140      10      143      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      143      22      144       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      144       4      144       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      144       7      144      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      146       3      146       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      146       8      146      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      146      13      146      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      146      18      146      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      146      21      146      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      147       4      147      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      147      15      148       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      148       7      148      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      148      17      149       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      149       6      149      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      149      15      149      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      149      19      150       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      150       4      150      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      150      15      150      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      150      21      151       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      151       7      151      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      151      17      151      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      151      21      152       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      152       6      152       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      152      11      155      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      156       2      156      16         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      156      18      157      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      157      16      157      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      157      22      158       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      158       9      158      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      158      13      158      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      158      17      158      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      158      22      159       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      159       8      159      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      160       1      162       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      162      10      162      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      162      16      163      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      163      17      164       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      164       3      164      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      165       2      165       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      165       7      165      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      165      12      165      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      165      16      166      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      166      19      166      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      167       2      167       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      167       9      167      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      167      19      167      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      167      21      167      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      168       2      168       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      168       5      168      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      169       2      170      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      170      17      170      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      170      19      172       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      172       9      172      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      172      12      172      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      173       7      177      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      177      22      178       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      178       5      180      21         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      181       1      181      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      181      13      181      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      181      20      182      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      182      19      182      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      183       1      183      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      183      17      184       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      184       5      184       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      184      10      186       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      186       5      186      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      186      12      186      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      186      19      187       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      187      10      187      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      187      13      189       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      189      11      189      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      189      13      189      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      190       2      190      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      190      16      190      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      190      21      191      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      191      12      191      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      191      19      192       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      192       3      193       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      193       8      193       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      193      10      193      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      193      15      194       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      194       3      194       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      194       8      194      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      194      14      194      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      194      20      196       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      196       7      197      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      198       2      198       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      198       8      202       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      202       9      202      10         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      202      12      209       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      209       6      209       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      209      10      211      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      212       4      212       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      212      10      212      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      212      13      214       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      215      10      215      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      215      14      215      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      216       1      216      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      216      14      216      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      216      16      216      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      216      22      217       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      217       5      217      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      217      13      217      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      217      21      218      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      218      14      221       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      221       8      221      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      221      15      221      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      221      22      222      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      223       2      223      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      224       2      225      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      225      21      226       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      226       7      227       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      227       9      228      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      229       5      229      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      230       2      232      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      232      19      232      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      232      22      233      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      233      16      234       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      234       8      234      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      235       6      235       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      235       9      237      13         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      237      16      241      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      242       2      242      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      242      12      243      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      243      12      244       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      244       3      244       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      244       8      244      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      244      13      244      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      244      17      244      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      244      21      245       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      245      13      246       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      246       5      246      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      246      17      247      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      247      19      249      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      249      14      249      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      249      22      250       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      250       9      250      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      250      14      250      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      250      19      251       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      251       5      252       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      252       5      252      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      252      21      253      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      253      16      253      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      254       2      254      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      254      12      254      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      255       6      255       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      255      17      258       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      258       4      258       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      258       8      258       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      258      11      258      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      258      16      258      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      258      21      261      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      261      13      262       4         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      262       6      264       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      264      12      264      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      265       2      265       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      265       6      265      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      265      12      265      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      265      18      265      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      266       2      266       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      266      10      266      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      266      14      266      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      266      19      267       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      267       4      268       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      268       4      268      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      268      15      269       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      269      10      269      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      269      15      272       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      272       9      272      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      272      15      277       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      277      11      277      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      277      17      279       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      279       4      279      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      280      14      280      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      281       1      282      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      282      22      283       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      283       7      284       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      284       9      284      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      284      12      287      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      287      18      292       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      292       6      292      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      292      15      292      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      292      20      293       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      293       4      295       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      295       6      295       7         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil      295       9      296       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      296       3      296       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      296       8      297       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      297       3      297       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      297       6      297      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      297      13      297      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      298       3      303       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      303       6      303       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      303      10      304      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      304      19      310       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      310       4      310      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      310      13      312       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      312       8      312      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      312      17      313       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      313       4      313      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      313      15      313      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      313      18      313      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      314       1      314      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      314      12      316      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      316      15      317       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      317       7      318      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      319       1      322       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      322       6      325       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      325      11      325      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      326       2      327       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      327       4      327      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      327      14      327      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      327      18      328       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      328       4      328       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      328       9      328      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      328      15      331      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil      332       1      335      18         PLAINTIFFS PT DESIGNATION


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Transcript                 PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil            335      20      336       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            336       4      338       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            338       3      344       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            345       4      345      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            345      20      346      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            346      13      351      15         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            352       2      353      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            353      12      353      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            353      21      354      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            354      12      360      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            360      20      364       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            364       6      364       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            364      10      364      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            364      19      365       1         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            365       4      365       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            365      16      367      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            368       1      368       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            368       5      371       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            371      10      373       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            373       4      373       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            373       9      373      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            373      16      375      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            375      12      375      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            375      15      376      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            377       4      377      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            411       1      411       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil            411       9      411      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        18     23       18      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        19      2       19       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        70      4       70      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        71      2       71       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        90      3       90       7         PLAINTIFFS PT DESIGNATION


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Transcript                 PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil (CID)        91      5       91       9         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        92     18       92      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        93      2       93      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        95     22       95      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        96      2       96      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        99      3       99      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)        99     20       99      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      100       2      100      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      211       2      211       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      211      14      211      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      212       2      212       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      236      18      236      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      237       2      237       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      237      13      237      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      238       2      238      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      239       2      239      21         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      241      11      241      17         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      241      20      241      24         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      242      10      242      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      243       2      243      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      244       2      244      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      250       2      250      20         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      253      16      253      19         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      253      25      253      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      254       2      254       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      254       8      254      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      254      14      254      23         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      254      25      254      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      255       2      255       5         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      273      10      273      14         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      273      21      273      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      274       2      274       3         PLAINTIFFS PT DESIGNATION


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Transcript                 PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil (CID)      274      11      274      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      275       2      275      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      276       2      276       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      276      12      276      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      276      21      276      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      277       2      277      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      278       2      278      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      279      15      279      16         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      279      18      279      18         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      279      21      279      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      280       2      280      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      281       2      281      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      282       2      282       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      282      10      282      13         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      282      18      282      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      283       2      283       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      283      16      283      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      284       2      284       7         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      296      19      296      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      297       2      297      11         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      297      16      297      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      298       2      298       3         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      298      23      298      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      299       2      299      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      300       2      300      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      301       2      301      10         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      301      15      301      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      302       2      302      12         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      304      19      304      22         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      305       2      305       6         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      305       9      305      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      306       2      306      25         PLAINTIFFS PT DESIGNATION


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Transcript                 PgFrom LnFrom      PgTo    LnTo         Issues
de Crescenzo, Neil (CID)      307       2      307      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      308       2      308      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      309       2      309       4         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      310       4      310       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      310      16      310      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      311       2      311      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      312       2      312      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      313       2      313      23         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      314       5      314       8         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      314      22      314      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      315       2      315       2         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      315      17      315      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      316       2      316      25         PLAINTIFFS PT DESIGNATION
de Crescenzo, Neil (CID)      317       2      317      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly                      9      5        9       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     13      7       22      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     22     17       22      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     22     22       22      22         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     23      2       27       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     27     11       27      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     27     14       36      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     37      5       37      17         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     37     19       37      19         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     37     21       49      13         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     49     15       49      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     49     18       49      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     49     22       50      11         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     51      1       53      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     53     22       54       2         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     54      4       56      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     56     14       56      14         PLAINTIFFS PT DESIGNATION
Dill, Kelly                     56     16       65      21         PLAINTIFFS PT DESIGNATION


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Transcript    PgFrom LnFrom      PgTo    LnTo         Issues
Dill, Kelly        66      1       66       5         PLAINTIFFS PT DESIGNATION
Dill, Kelly        66      7       66       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly        66     11       67      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly        67     22       68      14         PLAINTIFFS PT DESIGNATION
Dill, Kelly        68     19       68      22         PLAINTIFFS PT DESIGNATION
Dill, Kelly        69      2       69       6         PLAINTIFFS PT DESIGNATION
Dill, Kelly        69      8       71       5         PLAINTIFFS PT DESIGNATION
Dill, Kelly        71      8       71      11         PLAINTIFFS PT DESIGNATION
Dill, Kelly        71     13       71      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly        71     18       72       5         PLAINTIFFS PT DESIGNATION
Dill, Kelly        72      7       76       5         PLAINTIFFS PT DESIGNATION
Dill, Kelly        76      8       76       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly        76     12       79      10         PLAINTIFFS PT DESIGNATION
Dill, Kelly        79     12       79      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly        79     14       82      21         PLAINTIFFS PT DESIGNATION
Dill, Kelly        83      1       83       1         PLAINTIFFS PT DESIGNATION
Dill, Kelly        83      3       83       8         PLAINTIFFS PT DESIGNATION
Dill, Kelly        83     10       83      10         PLAINTIFFS PT DESIGNATION
Dill, Kelly        83     12       83      14         PLAINTIFFS PT DESIGNATION
Dill, Kelly        83     16       83      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly        83     18       84       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly        84     18       84      22         PLAINTIFFS PT DESIGNATION
Dill, Kelly        85      2       85      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly        85     14       89      14         PLAINTIFFS PT DESIGNATION
Dill, Kelly        89     16       90       5         PLAINTIFFS PT DESIGNATION
Dill, Kelly        90      7       92      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly        92     18       93      22         PLAINTIFFS PT DESIGNATION
Dill, Kelly        94      2       95       1         PLAINTIFFS PT DESIGNATION
Dill, Kelly        95      3       95       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly        95     11      100      17         PLAINTIFFS PT DESIGNATION
Dill, Kelly      100      19      100      19         PLAINTIFFS PT DESIGNATION
Dill, Kelly      100      21      108      15         PLAINTIFFS PT DESIGNATION


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Transcript    PgFrom LnFrom      PgTo    LnTo         Issues
Dill, Kelly      110       5      110      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly      111       7      111      10         PLAINTIFFS PT DESIGNATION
Dill, Kelly      111      12      111      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly      111      14      113      22         PLAINTIFFS PT DESIGNATION
Dill, Kelly      114       2      114       3         PLAINTIFFS PT DESIGNATION
Dill, Kelly      114       5      117       4         PLAINTIFFS PT DESIGNATION
Dill, Kelly      117      14      126      21         PLAINTIFFS PT DESIGNATION
Dill, Kelly      127       1      128       8         PLAINTIFFS PT DESIGNATION
Dill, Kelly      128      10      138       6         PLAINTIFFS PT DESIGNATION
Dill, Kelly      138       7      140       6         PLAINTIFFS PT DESIGNATION
Dill, Kelly      140       7      141      19         PLAINTIFFS PT DESIGNATION
Dill, Kelly      142       8      143      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly      143      18      144       9         PLAINTIFFS PT DESIGNATION
Dill, Kelly      144      11      150       1         PLAINTIFFS PT DESIGNATION
Dill, Kelly      151       4      151       8         PLAINTIFFS PT DESIGNATION
Dill, Kelly      151      10      151      11         PLAINTIFFS PT DESIGNATION
Dill, Kelly      151      13      151      15         PLAINTIFFS PT DESIGNATION
Dill, Kelly      151      17      153       3         PLAINTIFFS PT DESIGNATION
Dill, Kelly      154       8      154      12         PLAINTIFFS PT DESIGNATION
Dill, Kelly      154      14      155      10         PLAINTIFFS PT DESIGNATION
Dill, Kelly      155      12      155      16         PLAINTIFFS PT DESIGNATION
Dill, Kelly      155      18      156      15         PLAINTIFFS PT DESIGNATION
Dill, Kelly      156      17      156      20         PLAINTIFFS PT DESIGNATION
Dill, Kelly      156      22      157      18         PLAINTIFFS PT DESIGNATION
Dill, Kelly      157      20      159      10         PLAINTIFFS PT DESIGNATION
Dill, Kelly      159      12      159      15         PLAINTIFFS PT DESIGNATION
Dill, Kelly      159      17      159      18         PLAINTIFFS PT DESIGNATION
Dill, Kelly      159      20      160      19         PLAINTIFFS PT DESIGNATION
Dill, Kelly      160      21      163      14         PLAINTIFFS PT DESIGNATION
Dill, Kelly      164       1      164       3         PLAINTIFFS PT DESIGNATION
Dill, Kelly      164       5      164      19         PLAINTIFFS PT DESIGNATION
Dill, Kelly      164      21      165      19         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dill, Kelly              165      21      166       4         PLAINTIFFS PT DESIGNATION
Dill, Kelly              166       6      166       7         PLAINTIFFS PT DESIGNATION
Dill, Kelly              166       9      166      21         PLAINTIFFS PT DESIGNATION
Dill, Kelly              167       1      167      10         PLAINTIFFS PT DESIGNATION
Dill, Kelly              172      21      173       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              177      11      178      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              194       5      194      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              194      15      194      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              204       1      204       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              243       3      247       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              248       3      248      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              249       9      249      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              249      14      249      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              250       2      250       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              250       6      250      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              250      16      250      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              251       2      251       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              251       4      251       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              251       9      251       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              251      11      251      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              251      16      251      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dill, Kelly              251      18      251      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Dumont, Peter (CID)        20     22       20      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        21      2       21      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        22      2       22      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        23      2       23      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        24      2       24      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        25      2       25      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        26      2       26      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        27      2       27      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        28      2       28      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        29      4       29      11         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)        29     22       29      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        30      2       30       8         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        39     13       39      17         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        39     19       39      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        40      2       40      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        41      2       41      19         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        42      3       42      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        43      2       43      18         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        44     14       44      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        45      2       45      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        45     18       45      22         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        46      3       46      12         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        46     17       46      23         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        49     18       49      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        50      2       50      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        56     16       56      19         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        56     21       56      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        57      2       57       3         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        57      6       57      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        58      2       58      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        59      2       59      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        60      2       60      12         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        73     23       73      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        74      2       74       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        74      6       74       7         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        74     17       74      19         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        74     24       74      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        75      2       75       7         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        75     10       75      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        76      2       76       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        76     11       76      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        76     15       76      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)        77      2       77      12         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        82     25       82      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        83      2       83      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        84      2       84      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        84     24       84      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)        85      2       85       3         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      121      21      121      24         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      133       2      133       5         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      133      10      133      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      133      24      133      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      134       2      134      12         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      134      14      134      23         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      135       2      135      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      136       4      136      15         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      136      18      136      21         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      136      24      136      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      143       4      143      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      143      18      143      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      144       2      144       5         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      145      18      145      21         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      145      24      145      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      146       2      146       3         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      155      20      155      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      156       2      156       4         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      156       7      156       9         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      156      12      156      16         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      156      18      156      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      157       2      157      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      158       2      158      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      159       2      159      12         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      159      17      159      19         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      159      24      159      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)      160       2      160       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      160       7      160      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      161       2      161       5         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      161       8      161      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      162       2      162       7         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      162      10      162      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      163       2      163       6         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      163       9      163      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      166       8      166      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      166      14      166      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      167       2      167      18         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      167      21      167      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      168       2      168       5         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      176      25      176      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      177       2      177       6         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      177      14      177      17         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      177      22      177      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      178       2      178       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      178       8      178      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      178      20      178      22         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      179      13      179      19         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      180      15      180      21         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      182       5      182       9         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      182      12      182      23         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      183      19      183      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      184       4      184      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      185       2      185      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      185      14      185      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      186       5      186      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      187       2      187       5         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      187       9      187      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      188       2      188       4         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)      188       7      188      23         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      189       3      189       3         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      189      21      189      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      190       2      190       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      190       4      190      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      190      17      190      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      191       2      191      10         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      191      14      191      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      192       2      192       4         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      192       7      192       9         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      192      12      192      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      193       2      193      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      194       5      194      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      196      10      196      20         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      198      11      198      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      198      15      198      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      199       2      199       8         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      200       7      200      15         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      201       9      201      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      202       2      202       4         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      202       7      202      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      204       6      204      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      206       4      206      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      207       2      207       4         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      207      22      207      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      208       2      208       4         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      208       8      208      16         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      208      24      208      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      209       2      209       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      210       3      210      18         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      211      11      211      17         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      211      20      211      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)      212       2      212      20         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      212      23      212      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      213       2      213       8         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      213      11      213      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      214       2      214      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      215       2      215      11         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      215      17      215      24         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      216       8      216       9         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      216      12      216      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      216      15      216      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      217       2      217      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      218      15      218      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      219       2      219       5         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      219       8      219      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      221       2      221      10         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      221      22      221      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      222       2      222       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      224      22      224      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      225       2      225      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      226       2      226       8         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      226      11      226      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      227       2      227       4         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      227       7      227      12         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      227      15      227      16         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      230      20      230      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      231      18      231      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      232       2      232       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      232      14      232      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      233       2      233      23         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      234       2      234       2         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      234       8      234      23         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      249      14      249      17         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)      249      19      249      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      250       2      250      17         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      250      21      250      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      251       2      251      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      252       2      252      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      253       4      253      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      254       2      254      16         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      255      17      255      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      256       4      256      20         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      257       8      257      10         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      259       7      259      16         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      259      23      259      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      260       2      260      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      262       6      262      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      262      18      262      22         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      263       6      263      16         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      264      12      264      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      264      16      264      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      265       2      265      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      266       2      266      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      267       2      267      17         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      267      20      267      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      268       2      268       3         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      268       6      268      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      268      17      268      18         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      268      23      268      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      269       2      269      13         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      269      15      269      19         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      271      18      271      20         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      271      25      271      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      272       2      272       6         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      272       8      272       9         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Dumont, Peter (CID)      272      14      272      22         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      276      14      276      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      277       2      277       3         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      277       6      277      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      278       2      278      20         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      278      23      278      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      279       2      279      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      280       2      280      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      281       2      281      15         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      281      21      281      24         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      282       5      282       8         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      282      13      282      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      283       2      283       9         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      283      12      283      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      284       2      284      10         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      284      14      284      17         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      284      21      284      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      285       2      285       7         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      285      10      285      14         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      285      20      285      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      286       2      286      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      287       2      287      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      288       2      288      22         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      288      25      288      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      289       2      289      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      290       2      290       9         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      290      12      290      21         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      290      25      290      25         PLAINTIFFS PT DESIGNATION
Dumont, Peter (CID)      291       2      291       8         PLAINTIFFS PT DESIGNATION
Farazi, Paymon             20     20       22      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon             23     12       23      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon             23     20       23      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo         Issues
Farazi, Paymon        24     22       25      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        26     17       26      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        26     23       27       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        27      2       27       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        27     10       27      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        28     19       28      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        28     20       28      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        30      3       30       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        31     18       35       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        35     21       36      15         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        36     18       36      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        37     11       37      19         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        37     20       37      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        37     24       37      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        38      1       38       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        38     25       39       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        39      5       40       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        40     25       41       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        41     18       41      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        42      3       42      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        42     11       42      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        43      2       44       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        44      3       44       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        46     21       47       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        47      6       47      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        47     18       47      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        47     25       47      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        50     13       50      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        52     19       52      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        52     24       53       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        53      3       53       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        53      5       53      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo         Issues
Farazi, Paymon        53     12       53      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        53     19       53      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        54      2       54       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        54      5       54      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        54     11       54      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        54     18       54      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        55      1       55      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        55     24       56       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        56      3       56       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        56     23       57       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        57      4       57       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        57      6       57       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        57      8       57       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        57     17       58       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        58      8       58      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        58     11       58      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        58     18       58      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        58     24       58      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        59      3       59       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        59      6       59      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        60      6       60      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        61      2       61       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        61     15       61      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        64     19       64      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        64     23       64      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        64     25       65       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        65      3       65       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        67      4       67       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        67      8       67       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        68      9       68      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        68     15       68      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        68     21       68      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo         Issues
Farazi, Paymon        69      3       69       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        69     24       70       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        70      3       70       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        70      5       70       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        70     10       70      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        70     17       71       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        71      5       71      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        71     14       71      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        73     21       73      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        74     15       74      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        87     12       87      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        88     15       89       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        89      8       89      12         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        95     19       95      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        95     24       95      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        96      4       96       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon        98      2       98      17         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        98     21       99       9         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        99     12       99      14         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        99     16       99      16         PLAINTIFFS PT DESIGNATION
Farazi, Paymon        99     25      100       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      100      12      100      16         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      100      17      100      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      100      18      101       4         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      101       5      101       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      101       8      101      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      101      12      101      16         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      101      17      101      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      101      18      102       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      101      24      102       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      102       7      102      10         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      102      12      102      16         PLAINTIFFS PT DESIGNATION


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Farazi, Paymon      102      18      103       4         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      103       7      104       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      105      23      106      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      106      17      106      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      106      24      107       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      107       8      107      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      107      17      107      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      107      22      108       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      109      13      109      18         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      112       2      112       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      112       5      112      10         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      112      18      114      11         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      114      13      114      15         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      114      16      115       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      115       9      115       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      115      15      115      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      116       3      116      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      116      19      116      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      117      15      117      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118       3      118       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118       6      118       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118       8      118       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118      17      118      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118      21      118      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118      23      118      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      118      24      119       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      119       7      119      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      119      11      119      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      121      23      121      24         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      122       2      122       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      122       6      122      23         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      123       1      123       4         PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo         Issues
Farazi, Paymon      123      18      124       5         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      124      10      124      17         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      124      19      124      21         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      125       9      125      19         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      126       4      126       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      127      15      127      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      127      19      127      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      127      23      128       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      128       5      128      15         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      128      17      128      18         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      128      19      129       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      130       2      130       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      130      10      130      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      130      19      130      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      130      23      131       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      131       4      131      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      131      11      131      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      131      14      131      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      131      25      131      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      132       7      132      12         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      132      25      133       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      134      20      134      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      138       6      138       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      138      12      138      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      138      15      138      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      138      19      138      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      138      23      138      25         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      139       1      139       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      139       2      139      18         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      139      22      140       4         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      140       1      140       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      140       5      140       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo         Issues
Farazi, Paymon      140       6      140      14         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      140      15      140      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      140      16      141      22         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      142       3      142       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      142       6      142      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      142       9      142       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      142      16      142      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      142      18      143       3         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      142      25      143       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      143       7      143      10         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      143      11      143      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      143      15      143      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      144       1      144       4         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      144       6      144       6         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      144      10      144      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      145       9      145      11         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      145      21      145      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      146      20      146      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      147       4      147      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      148       2      148       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      148       9      148      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      148      14      148      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      148      24      148      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      149      14      149      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      149      18      149      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      150       1      150       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      150       7      151       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      151      20      151      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      152       1      152       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      152      11      152      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      152      23      153       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      153       4      153      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Farazi, Paymon      155      14      155      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      155      21      156       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      156      16      157       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      157       7      157       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      157      11      157      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      157      12      157      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      157      15      157      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      157      17      157      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      158       1      158       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      158       2      158      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      158      16      158      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      159       1      159       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      159       8      159       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      159      12      159      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      159      16      159      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      159      20      159      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      160       5      160      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      160      21      160      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      161       1      161       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      161       6      161       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      161      15      161      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      162       3      162       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      162       7      162      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      162      14      162      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      162      16      162      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      162      20      163       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      163       3      163       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      163       8      163       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      163      24      164      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      175      10      175      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      176       3      176       4         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      176       6      176      16         PLAINTIFFS PT DESIGNATION


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Farazi, Paymon      176      22      177      11         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      177      13      177      15         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      177      17      178       2         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      178       5      178       6         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      178      10      178      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      178      15      178      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      178      19      178      21         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      178      24      179       4         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      179       5      179       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      179       6      179       8         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      179      22      180       9         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      180      20      181       6         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      181      10      181      14         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      181      16      181      19         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      181      22      181      23         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      182       5      182      16         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      182      19      182      19         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      183      12      183      25         PLAINTIFFS PT DESIGNATION
Farazi, Paymon      190       1      190      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      190      13      191      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      191      24      192      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      192      19      192      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      192      20      192      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      192      23      193       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      193       9      193      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      193      21      193      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      193      22      194       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      194       7      194      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      194      12      194      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      194      14      194      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      194      17      194      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      194      19      194      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Farazi, Paymon      194      23      195       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      195       2      195       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      195       8      195      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      196       2      196      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      196      16      196      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      196      21      196      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      196      24      196      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      197       1      197      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      197      16      198       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      209       7      209      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      209      18      210       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      210      12      210      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      210      22      211       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      211       6      211       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      211      14      211      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      211      25      212      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      212      11      212      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      212      22      213       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      213      13      213      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      213      18      213      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      215       4      215      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      215      14      215      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      215      25      216       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      216      10      216      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      216      22      216      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      217       3      217       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      217       9      217      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      217      13      217      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      217      14      217      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      218       1      218       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      218       9      218       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      218      10      218      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Farazi, Paymon      218      16      218      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      218      22      219       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      219       2      220       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Farazi, Paymon      220      11      220      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn           5      9        5      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn           7     23        7      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn           8      2        8      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn           9      2        9      12         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          10     19       10      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          11      2       11      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          12      2       12      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          13      2       13      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          14      2       14      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          15      2       15      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          16      2       16      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          17      2       17      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          18      2       18      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          19      2       19      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          20      2       20      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          21      2       21      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          22      2       22      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          23      2       23      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          24      2       24      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          25      2       25      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          26      2       26      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          27      2       27      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          28      2       28      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          29      2       29      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          30      2       30      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          31      2       31      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          32      2       32      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          33      2       33      25         PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo         Issues
Garbee, Lynn        34      2       34      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        35      2       35      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        36      2       36      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        37      2       37      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        38      2       38      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        39      2       39      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        40      2       40      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        41      2       41       8         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        41     13       41      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        42      2       42      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        43      2       43      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        44      2       44      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        45      2       45      14         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        45     17       45      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        46      2       46      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        47      2       47      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        48      2       48      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        49      2       49      18         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        49     24       49      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        50      2       50       5         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        50      7       50      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        51      2       51      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        52      2       52      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        53      2       53      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        54      2       54      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        55      2       55      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        56      2       56      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        57      2       57      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        58      2       58       4         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        58      6       58      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        59      2       59      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        60      2       60       3         PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo         Issues
Garbee, Lynn        60      6       60       8         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        60     10       60      17         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        60     20       60      20         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        61      6       61      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        62      2       62      10         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        62     13       62      15         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        62     18       62      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        63      2       63      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        64      2       64      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        65      2       65       5         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        65      7       65      20         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        65     23       65      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        66      2       66      14         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        66     17       66      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        67      2       67       9         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        67     12       67      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        68      2       68      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        69      2       69       3         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        69      6       69      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        70      2       70      22         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        70     24       70      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        71      7       71      12         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        71     15       71      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        72      2       72      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        73      2       73      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        74      2       74      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        75      2       75      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        76      3       76      13         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        76     16       76      19         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        76     22       76      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        77      2       77       5         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        77      7       77      25         PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo         Issues
Garbee, Lynn        78      2       78      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        79      2       79      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        80      2       80      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        81      2       81      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        82      2       82      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        83      2       83      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        84      2       84      17         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        84     20       84      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        85      2       85      15         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        85     18       85      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        86      2       86      18         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        86     21       86      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        87      2       87      18         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        87     20       87      22         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        87     24       87      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        88      2       88      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        89      2       89       9         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        89     11       89      24         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        90      2       90      12         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        90     14       90      22         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        90     23       90      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        91      3       91      23         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        91     25       91      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        92      2       92       6         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        92      8       92      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        93      2       93      19         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        93     21       93      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        94      3       94      14         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        94     16       94      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        95      2       95      15         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        95     17       95      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        96      2       96       3         PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo         Issues
Garbee, Lynn        96      5       96      10         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        96     12       96      20         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        97      9       97      19         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        97     21       97      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        98      2       98      15         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        98     17       98      20         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        98     22       98      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        99      2       99      14         PLAINTIFFS PT DESIGNATION
Garbee, Lynn        99     16       99      24         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      100       2      100       6         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      100       8      100      13         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      100      15      100      20         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      100      22      100      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      101       2      101       5         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      101       7      101      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      102       2      102       7         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      102       9      102      11         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      102      15      102      17         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      102      19      102      20         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      102      22      102      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      103       3      103       8         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      103      10      103      17         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      103      19      103      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      104       2      104      17         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      104      19      104      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      105       2      105       2         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      105       4      105      23         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      105      25      105      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      106       2      106      14         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      106      16      106      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      107       2      107      12         PLAINTIFFS PT DESIGNATION
Garbee, Lynn      107      14      107      14         PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Garbee, Lynn          107      24      107      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          108       2      108       3         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          108       5      108      13         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          108      15      108      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          109       3      109       9         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          109      11      109      19         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          109      21      109      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          110       2      110      21         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          110      23      110      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          111       2      111       5         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          111       7      111      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          112       2      112       6         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          112       8      112      23         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          112      25      112      25         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          113       2      113       7         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          113       9      113      10         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          113      12      113      17         PLAINTIFFS PT DESIGNATION
Garbee, Lynn          119      19      119      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          125      20      125      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          126       4      126       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          126       8      126      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          137      16      137      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          137      24      138      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          143       8      143      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          144       5      144      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          145       3      145       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          145      19      145      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          145      25      146       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Garbee, Lynn          147      15      147      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        11     10       13      17         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        13     21       13      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        15     18       15      22         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas        16      4       16       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        16     16       20      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        21      3       21      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        22     12       25      20         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        25     25       29      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        29     24       30      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        31      5       31       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        31      7       31      13         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        31     14       31      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        31     15       32      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        33      8       33      16         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        34      4       34      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        34     23       37       4         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        37     11       37      17         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        37     23       41      11         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        41     12       42       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        42      3       45      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        45     24       45      24         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        46      2       50       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        51      5       57      14         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        57     23       57      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        57     25       59      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        60      2       60       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        60      2       60       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        60     17       61      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        62      8       63      10         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        63     12       63      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        63     25       63      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        64      4       70      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        74      6       74      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        75      1       77       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        77     10       77      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas        77     11       79       6         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        79     11       82       1         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        82     11       83      16         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        83     18       83      24         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        84     18       84      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        84     25       85       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        85     11       85      15         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        85     19       86       1         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        86      9       86      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        87      1       89      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        90      3       90       4         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        90      6       90      19         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        90     23       91       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        91      3       95       9         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        95     13       95      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        95     24       95      24         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        96      2       97      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas        97     23       97      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas        98      2      102       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      102       5      104      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      105       6      105       6         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      105       8      105      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      105      23      106       3         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      106       4      106       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      106       8      106      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      106      25      108       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      108       9      110      17         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      110      18      114      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      115       2      117       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      117      11      117      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      117      24      123       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      123      16      123      21         PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas      125      11      125      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      125      11      125      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      125      24      127      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      127      16      127      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      127      16      127      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      127      24      128      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      127      24      129       9         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      129      22      130       2         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      130       4      130       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      130       4      130       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      130       9      131      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      131      24      132       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      132       2      132       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      132       2      132       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      132       7      134      11         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      134      22      135       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      135       4      136      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      136      25      138       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      139       5      140       9         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      140      17      147      13         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      147      20      147      20         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      147      22      147      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      148       9      150      10         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      150      14      152       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      152       7      152      16         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      152      17      153       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      153      22      153      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      153      24      154       2         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      154       7      154       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      154       9      155      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      156       4      156      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      157       2      157      17         PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas      157      18      157      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      158       2      158      16         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      158      19      158      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      159       2      159       2         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      159       4      162      17         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      162      22      163      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      164       2      164       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      164       7      167      13         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      169      12      170      14         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      170      24      171       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      171      16      172      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      173      14      174      15         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      174      20      176       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      176      18      177       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      177      10      177      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      178       7      179       3         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      179       7      180       1         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      180       2      180      10         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      180      12      180      12         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      180      14      183      14         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      184       8      186       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      186      14      187       3         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      187       5      188      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      189       2      190       3         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      190      13      190      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      190      23      191       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      191       6      191      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      191      13      191      20         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      191      21      191      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      191      25      191      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      192       2      192      14         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      192      15      193       5         PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas      193      20      194       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      195       2      195       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      195      10      196      12         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      196      18      196      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      197       6      197      25         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      198       5      198       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      198       7      198      12         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      198      18      202       2         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      202       7      202      19         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      202      20      203       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      203       7      204       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      204      17      206      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      207      20      207      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      208      10      208      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      208      18      208      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      210      15      211       6         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      212       8      212      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      212      16      213       4         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      213       5      213      11         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      213      17      213      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      214       5      215      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      216       7      216      18         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      216      19      217       2         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      217       3      217      11         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      217      21      218       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      219      10      220      16         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      220      17      221       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      221      24      222       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      222       9      222      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      222      13      222      16         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      222      22      223      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      224       2      224      16         PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas      224      20      225      13         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      225      14      225      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      226      25      227       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      227      22      229      12         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      229      18      229      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      231       7      231      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      231      17      231      21         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      231      22      231      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      231      24      232       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      232      16      232      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      234      22      235       5         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      235       6      235      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      235      22      236       2         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      236       7      237       7         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      237       8      237      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      237      20      238       6         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      238      13      238      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      238      17      239       3         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      239       4      239      11         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      239      12      242       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      242       8      242      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      242      12      242      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      242      16      243       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      243      14      243      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      243      18      243      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      243      20      244       1         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      244       8      246       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      246       9      246      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      247      15      249       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      249      15      251      21         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      252      11      252      24         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      253       3      254       2         PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo         Issues
Gehlbach, Thomas      254       9      257      22         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      258       1      258      10         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      259      11      259      18         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      260       3      260       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      260       9      260      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      260      25      261      23         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      262      21      263       6         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      263       8      263       8         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      263      11      264       9         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      264      13      265       9         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      265      15      266      15         PLAINTIFFS PT DESIGNATION
Gehlbach, Thomas      272      23      272      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      276      14      276      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      276      20      277       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      277       9      277      12         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      277      16      277      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gehlbach, Thomas      278      18      279      14         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Golden, William         16      2       16      15         PLAINTIFFS PT DESIGNATION
Golden, William         17     17       19      11         PLAINTIFFS PT DESIGNATION
Golden, William         21      7       21      23         PLAINTIFFS PT DESIGNATION
Golden, William         22     12       22      17         PLAINTIFFS PT DESIGNATION
Golden, William         22     19       23      19         PLAINTIFFS PT DESIGNATION
Golden, William         24     14       25      16         PLAINTIFFS PT DESIGNATION
Golden, William         26      7       27       8         PLAINTIFFS PT DESIGNATION
Golden, William         29      3       30       7         PLAINTIFFS PT DESIGNATION
Golden, William         31     17       32       5         PLAINTIFFS PT DESIGNATION
Golden, William         33      9       33      21         PLAINTIFFS PT DESIGNATION
Golden, William         34      2       36       6         PLAINTIFFS PT DESIGNATION
Golden, William         38     17       42       2         PLAINTIFFS PT DESIGNATION
Golden, William         43     14       43      17         PLAINTIFFS PT DESIGNATION
Golden, William         45      3       47      16         PLAINTIFFS PT DESIGNATION
Golden, William         49     18       53      21         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Golden, William        55      4       56      24         PLAINTIFFS PT DESIGNATION
Golden, William        57     16       59      21         PLAINTIFFS PT DESIGNATION
Golden, William        60      2       60      16         PLAINTIFFS PT DESIGNATION
Golden, William        61      9       61      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Golden, William        62     23       63      24         PLAINTIFFS PT DESIGNATION
Golden, William        64     13       66      12         PLAINTIFFS PT DESIGNATION
Golden, William        71     25       73       3         PLAINTIFFS PT DESIGNATION
Golden, William        73      4       73       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Golden, William        75      7       78      10         PLAINTIFFS PT DESIGNATION
Golden, William        87      5       87      14         PLAINTIFFS PT DESIGNATION
Golden, William        87     20       88       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Golden, William        93     14       93      25         PLAINTIFFS PT DESIGNATION
Golden, William        95      6       96       7         PLAINTIFFS PT DESIGNATION
Golden, William        96     22       96      25         PLAINTIFFS PT DESIGNATION
Golden, William        97      2       97       7         PLAINTIFFS PT DESIGNATION
Golden, William      113      22      117       7         PLAINTIFFS PT DESIGNATION
Golden, William      122      21      123       2         PLAINTIFFS PT DESIGNATION
Golden, William      123      10      128      20         PLAINTIFFS PT DESIGNATION
Golden, William      130       2      130      22         PLAINTIFFS PT DESIGNATION
Golden, William      130      24      131       7         PLAINTIFFS PT DESIGNATION
Golden, William      131      10      136       1         PLAINTIFFS PT DESIGNATION
Golden, William      136       5      143       3         PLAINTIFFS PT DESIGNATION
Golden, William      144      12      149      18         PLAINTIFFS PT DESIGNATION
Golden, William      149      20      154       4         PLAINTIFFS PT DESIGNATION
Golden, William      154       6      160       9         PLAINTIFFS PT DESIGNATION
Golden, William      160      11      164       6         PLAINTIFFS PT DESIGNATION
Golden, William      164      11      164      20         PLAINTIFFS PT DESIGNATION
Golden, William      164      22      165       4         PLAINTIFFS PT DESIGNATION
Golden, William      165       6      165      19         PLAINTIFFS PT DESIGNATION
Golden, William      165      21      166       4         PLAINTIFFS PT DESIGNATION
Golden, William      166       9      167       9         PLAINTIFFS PT DESIGNATION
Golden, William      167      12      169      23         PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo         Issues
Golden, William      170      21      170      23         PLAINTIFFS PT DESIGNATION
Golden, William      170      25      175       4         PLAINTIFFS PT DESIGNATION
Golden, William      175       8      188      17         PLAINTIFFS PT DESIGNATION
Golden, William      188      25      189       9         PLAINTIFFS PT DESIGNATION
Golden, William      189      14      201       5         PLAINTIFFS PT DESIGNATION
Golden, William      202      14      215       3         PLAINTIFFS PT DESIGNATION
Golden, William      215      15      215      24         PLAINTIFFS PT DESIGNATION
Golden, William      216       1      217      15         PLAINTIFFS PT DESIGNATION
Golden, William      220       3      221      10         PLAINTIFFS PT DESIGNATION
Golden, William      222      12      224      18         PLAINTIFFS PT DESIGNATION
Golden, William      228       1      234       8         PLAINTIFFS PT DESIGNATION
Golden, William      234      10      237       5         PLAINTIFFS PT DESIGNATION
Golden, William      237       7      238      18         PLAINTIFFS PT DESIGNATION
Golden, William      238      20      240      20         PLAINTIFFS PT DESIGNATION
Golden, William      240      25      241       2         PLAINTIFFS PT DESIGNATION
Golden, William      241      10      241      21         PLAINTIFFS PT DESIGNATION
Golden, William      242       3      243      19         PLAINTIFFS PT DESIGNATION
Golden, William      249      19      250      25         PLAINTIFFS PT DESIGNATION
Golden, William      251      14      252      12         PLAINTIFFS PT DESIGNATION
Golden, William      252      16      252      24         PLAINTIFFS PT DESIGNATION
Golden, William      253       3      253      11         PLAINTIFFS PT DESIGNATION
Golden, William      253      14      255      14         PLAINTIFFS PT DESIGNATION
Golden, William      255      17      258      12         PLAINTIFFS PT DESIGNATION
Golden, William      258      16      259       7         PLAINTIFFS PT DESIGNATION
Golden, William      259       9      260       5         PLAINTIFFS PT DESIGNATION
Golden, William      260       8      260      10         PLAINTIFFS PT DESIGNATION
Golden, William      261       5      261      10         PLAINTIFFS PT DESIGNATION
Golden, William      261      23      262       8         PLAINTIFFS PT DESIGNATION
Golden, William      262      16      264      10         PLAINTIFFS PT DESIGNATION
Golden, William      265       3      265      17         PLAINTIFFS PT DESIGNATION
Golden, William      267       9      267      11         PLAINTIFFS PT DESIGNATION
Golden, William      267      17      273      11         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Golden, William          273      14      275      19         PLAINTIFFS PT DESIGNATION
Golden, William          276      15      277      14         PLAINTIFFS PT DESIGNATION
Golden, William          277      17      279      15         PLAINTIFFS PT DESIGNATION
Golden, William          279      18      280      21         PLAINTIFFS PT DESIGNATION
Golden, William          281      25      282      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Golden, William          284       6      284       8         PLAINTIFFS PT DESIGNATION
Golden, William          284       9      284      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Golden, William          284      24      285       8         PLAINTIFFS PT DESIGNATION
Golden, William          285      10      287       2         PLAINTIFFS PT DESIGNATION
Golden, William          289      13      289      16         PLAINTIFFS PT DESIGNATION
Golden, William          339      20      340      20         PLAINTIFFS PT DESIGNATION
Golden, William          341       8      342       6         PLAINTIFFS PT DESIGNATION
Golden, William          343       2      348      22         PLAINTIFFS PT DESIGNATION
Golden, William          350       8      350      13         PLAINTIFFS PT DESIGNATION
Golden, William          350      16      350      20         PLAINTIFFS PT DESIGNATION
Golden, William          350      23      352      19         PLAINTIFFS PT DESIGNATION
Golden, William          352      22      353       6         PLAINTIFFS PT DESIGNATION
Golden, William          353       8      353      22         PLAINTIFFS PT DESIGNATION
Golden, William          354       1      354      20         PLAINTIFFS PT DESIGNATION
Golden, William          355       2      355      16         PLAINTIFFS PT DESIGNATION
Golden, William          356      11      359      14         PLAINTIFFS PT DESIGNATION
Golden, William          360       4      362       2         PLAINTIFFS PT DESIGNATION
Golden, William          363       2      367      18         PLAINTIFFS PT DESIGNATION
Golden, William          367      21      367      23         PLAINTIFFS PT DESIGNATION
Golden, William          368      10      371      23         PLAINTIFFS PT DESIGNATION
Golden, William          373       7      374      14         PLAINTIFFS PT DESIGNATION
Golden, William          374      17      374      19         PLAINTIFFS PT DESIGNATION
Golden, William          375       1      375      11         PLAINTIFFS PT DESIGNATION
Golden, William          375      15      381       8         PLAINTIFFS PT DESIGNATION
Golden, William          381      21      391      23         PLAINTIFFS PT DESIGNATION
Golden, William          393       6      395      24         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        20     19       20      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv        21      2       21      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        22      2       22      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        23      2       23      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        24      2       24      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        25      2       25      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        26      2       26      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        27      2       27      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        28     17       28      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        29      2       29       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        29     11       29      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        30      2       30       2         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        30     14       30      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        31      2       31      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        32      2       32      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        33     25       33      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        34      2       34      23         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        35      9       35      24         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        36      9       36      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        37      2       37      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        38      2       38      12         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        38     15       38      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        39      2       39       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        39     11       39      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        40      2       40      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        41      2       41      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        42      2       42       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        42      9       42      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        42     12       42      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        43      2       43       6         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        43     22       43      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        44      5       44      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        44     12       44      15         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv        44     20       44      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        45      2       45       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        45     17       45      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        46      2       46      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        46     12       46      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        49      2       49       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        49      7       49      14         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        49     18       49      22         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        49     24       49      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        50      2       50      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        51      2       51      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        52      2       52      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        53      5       53      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        54      2       54      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        55      2       55       2         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        55      4       55      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        56      2       56       9         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        56     18       56      21         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        56     23       56      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        57      2       57      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        58      2       58      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        59      2       59      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        59     21       59      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        60      2       60       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        60     12       60      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        61      2       61      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        62      2       62      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        63      2       63      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        64      2       64      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        65      2       65      15         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        66      2       66       7         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        66     12       66      15         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv        66     18       66      23         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        68     25       68      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        69      2       69      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        70      2       70      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        71      2       71      16         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        71     18       71      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        72      2       72      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        73      2       73       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        73      6       73      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        74      2       74      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        75      2       75      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        76      2       76      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        77      2       77      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        78      2       78      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        79      2       79       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        79      7       79      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        80      2       80       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        80      7       80      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        81      2       81      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        82      2       82      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        84      8       84      21         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        85      4       85      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        86      2       86      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        87      2       87      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        88      2       88      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        89      2       89       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        89      8       89      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        90      2       90       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        90     13       90      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        91      2       91      23         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        91     25       91      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        92      2       92      20         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv        93      4       93       8         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        93     10       93      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        94      2       94       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        94      7       94      17         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        94     21       94      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        95      2       95      21         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        96      2       96      12         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        96     21       96      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        97      2       97       8         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        97     10       97      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        98      2       98       6         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        98      8       98      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv        99     12       99      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      100       2      100      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      101       2      101      23         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      102       4      102      14         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      102      15      102      16         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      103       2      103      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      104       2      104      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      105       2      105      16         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      105      23      105      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      106       2      106      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      107       2      107      23         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      108       8      108      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      109       2      109      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      110       2      110      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      111       2      111      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      112       2      112      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      113       2      113      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      114       2      114      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      115       2      115      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      116       2      116      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      117       2      117      15         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      118      15      118      17         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      118      19      118      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      119       2      119      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      120       2      120      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      121       2      121      15         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      122       5      122      12         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      122      14      122      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      123       2      123      16         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      123      18      123      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      124       2      124      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      125       2      125      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      126       2      126      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      126      20      126      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      127       2      127       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      127       5      127      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      128       2      128      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      129       2      129      20         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      130       2      130       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      130      17      130      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      131       2      131      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      131      16      131      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      131      24      131      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      132       2      132       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      133       6      133      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      134       2      134      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      135       2      135      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      136      11      136      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      137       2      137      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      138       2      138      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      139       2      139      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      140       2      140      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      141       2      141      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      142       2      142      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      143       2      143      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      144       2      144      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      145       2      145      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      146       2      146      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      147       2      147      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      149      10      149      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      150       2      150       9         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      150      11      150      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      151       2      151      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      151      15      151      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      152       2      152      17         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      153       5      153      11         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      153      13      153      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      154       2      154       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      154      12      154      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      155       2      155      15         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      156      14      156      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      156      21      156      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      157       2      157      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      158       2      158      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      159       2      159      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      160       2      160      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      161       2      161      22         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      162      13      162      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      163       2      163      23         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      163      25      163      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      164       2      164      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      165       2      165      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      166       2      166      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      167       2      167      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      168       2      168      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      169       2      169      11         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      169      13      169      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      170       9      170      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      171       2      171      22         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      172       9      172      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      172      15      172      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      173       2      173      12         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      173      15      173      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      174       2      174      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      175       2      175      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      176       2      176      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      177       2      177      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      177      12      177      20         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      177      22      177      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      178       2      178      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      179       2      179       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      179      13      179      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      180       2      180      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      181       2      181      14         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      181      17      181      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      182       2      182      15         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      182      17      182      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      183       2      183      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      184       2      184      20         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      185       3      185       6         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      185       9      185      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      185      15      185      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      186       2      186       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      186      16      186      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      187       2      187       9         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      187      11      187      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      188       2      188      20         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      189       7      189      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      190       2      190      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      191       2      191       7         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      192      16      192      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      193       2      193       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      193       6      193      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      194       2      194      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      194      21      194      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      195       2      195      22         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      197       9      197      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      198       8      198      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      199       2      199      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      200       2      200      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      201       2      201       6         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      201      10      201      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      202       2      202      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      203       2      203      24         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      204       2      204      15         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      204      17      204      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      205      23      205      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      206       2      206       2         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      206       4      206       9         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      206      20      206      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      207       2      207      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      208       2      208      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      209       2      209      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      210       6      210      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      211       6      211       9         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      211      12      211      16         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      212       3      212      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      213       2      213      18         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      213      20      213      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      214       4      214      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      215       2      215      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      216       2      216      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      217       2      217      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      217      15      217      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      217      21      217      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      218       2      218       2         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      218      13      218      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      219       2      219      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      220       2      220      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      221       2      221      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      222       2      222      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      223       2      223      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      224       2      224      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      225       2      225      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      226       2      226      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      227       2      227      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      228       2      228      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      229       2      229      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      230       2      230      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      231       2      231      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      232       2      232       5         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      232       7      232      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      233       2      233      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      234       2      234      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      235       2      235      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      236       2      236       9         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      236      14      236      17         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      236      22      236      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      237      10      237      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      238       2      238      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      239       2      239      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      240       2      240       8         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      240      13      240      17         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      240      20      240      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      241      10      241      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      242       2      242      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      243       2      243      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      244       2      244      12         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      244      23      244      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      245       2      245      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      245      15      245      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      245      21      245      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      246       2      246       2         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      246       4      246      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      247       2      247      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      248       2      248       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      248       6      248      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      248      18      248      21         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      248      24      248      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      249       2      249       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      249      12      249      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      250       2      250      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      251       2      251      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      252       2      252      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      253       2      253       4         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      253       7      253      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      253      23      253      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      254       2      254      16         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      254      18      254      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      255       2      255      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      256       2      256      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      256      22      256      25         PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      257       2      257       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      257       7      257      11         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      257      18      257      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      258       2      258      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      259       2      259      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      259      20      259      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      260       2      260      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      261       2      261      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      262       2      262      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      263       2      263      13         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      263      20      263      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      264       2      264      19         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      264      20      264      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      265       2      265       8         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      265      10      265      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      265      23      265      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      266       2      266       2         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      266       6      266      10         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      266      17      266      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      267       2      267      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      268       2      268       3         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      268      10      268      14         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      268      18      268      22         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      269       2      269      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      270       2      270      24         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      271       4      271       8         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      272       8      272      18         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      272      23      272      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      273       2      273      25         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      274       2      274      22         PLAINTIFFS PT DESIGNATION
Gopalkrishnan, Shiv      292      18      292      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      293       2      293      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo         Issues
Gopalkrishnan, Shiv      294       2      294       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      296       8      296      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      297       2      297      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      298       3      298      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      298      20      298      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      299       2      299       5         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      299       7      299      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      300       2      300       7         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      300      24      300      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gopalkrishnan, Shiv      301       2      301      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen         13     21       15       8         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         16     13       18       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         18     22       19      20         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         20      2       21      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         22      3       22      19         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         23      3       24       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         24     20       25      14         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         25     20       25      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         26     14       26      16         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         26     19       27      11         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         28     14       28      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen         28     18       29       9         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         35     25       36       5         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         36      9       36      23         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         37      8       37      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen         38      7       38      24         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         40      9       41       6         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         41     13       41      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen         43     24       44       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen         44      9       44      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         46      4       47      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen         48     12       48      24         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Griffiths, Stephen        50      6       50      12         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        51      5       52       3         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        52      7       52      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        53      2       53       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        53     13       53      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        54     18       54      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        55      3       55      12         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        55     18       56      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        60      3       60       6         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen        60     12       61      21         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        61     24       62      13         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        63     16       64       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        66     14       66      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        67     13       68       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        70     21       71      19         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        72      4       73       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        75     21       75      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        75     24       76       3         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        76     13       77       6         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        77      8       77      11         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        78      1       78       6         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        78     10       78      13         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        79      9       79      21         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        80      7       80      18         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        81      2       82      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        83      1       83       3         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        83     20       84      10         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        92     18       92      24         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        96     14       96      23         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        98     15       98      20         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        99      6       99       8         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen        99     10       99      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Griffiths, Stephen        99     19       99      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen        99     24      100       3         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      100       6      100      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      100      17      100      21         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      101       6      101      10         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      101      24      102       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      105       2      105       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      106      17      106      18         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      106      20      106      23         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      107       2      107       5         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      107      16      107      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      109      23      110       3         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      113       2      113       8         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      113      17      113      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      114       4      116       6         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      116      10      116      16         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      117      12      117      13         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      117      16      117      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      118       2      118      24         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      121      10      121      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      121      19      122       7         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      122      19      123       1         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      125      24      126       1         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      126       4      126       7         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      128      25      129       1         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      129       3      129       5         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      129       9      129      18         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      129      24      130       3         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      130      14      130      19         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      135      22      136      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      137       4      137      10         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      137      20      138       3         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Griffiths, Stephen      138      17      138      19         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      138      20      138      23         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      141      16      141      20         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      141      23      142      16         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      142      19      142      24         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      143       4      144       1         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      144      15      145      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      149      17      150       9         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      152      23      153      20         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      155      16      156       8         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      157      11      159      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      163      18      164       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      164       8      167       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      167      16      168       8         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      169      24      171       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      171      14      171      24         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      172      13      172      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      173       8      173       9         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      173      11      173      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      173      22      175      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      175      19      176      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      179       6      179      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      180      24      181       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      181       9      181      17         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      184       8      185      21         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      185      23      186      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      187      18      188      13         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      191       3      193      19         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      194      15      195      10         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      195      12      196      25         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      197      19      199      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      201      20      201      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Griffiths, Stephen      202      11      203       8         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      204       2      204       9         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      204      10      204      12         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      205      15      205      21         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      205      25      206      11         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      206      18      207      18         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      207      22      208      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      209       7      209      21         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      210       5      210      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      212       6      212       7         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      212       9      212      12         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      212      17      214       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      220      10      220      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      220      20      221      13         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      222       5      222      11         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      222      21      223       2         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      224       9      225       1         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      228       9      228      14         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      228      18      229      22         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      230       3      230      24         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      231       8      233      16         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      233      18      234       1         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      234       4      234       9         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      255      12      256      15         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      256      17      257       1         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      257      15      257      23         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      257      24      258      10         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      258      14      258      15         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      258      16      258      18         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      258      21      259       4         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      259      13      260      11         PLAINTIFFS PT DESIGNATION
Griffiths, Stephen      260      12      260      17         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Griffiths, Stephen      260      18      260      20         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Griffiths, Stephen      260      23      261       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)         8     18        8      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        10     23       10      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        11      2       11       7         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        11     10       11      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        12      4       12      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        13      2       13      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        14      2       14      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        15      2       15      18         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        17      3       17      21         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        18     10       18      20         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        19     11       19      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        20      2       20      15         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        22     20       22      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        23      2       23      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        24      2       24      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        25      2       25      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        26      2       26      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        27      8       27      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        28      4       28      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        29      2       29      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        30      2       30      23         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        32      2       32      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        32     20       32      24         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        33     15       33      20         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        34      8       34      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        35      2       35      13         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        37     23       37      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        38      2       38       4         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        38     15       38      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        38     20       38      21         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Gustin, Todd (CID)        39      4       39       8         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        39      9       39      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        39     18       39      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        40      2       40       2         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        40     15       40      18         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        40     24       40      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        41      2       41      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        42      2       42      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        42     20       42      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        45      3       45      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        46      2       46      14         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        47      4       47      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        48      2       48      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        49      2       49      11         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        50     20       50      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        51      2       51      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        52      2       52      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        53      2       53       4         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        55      4       55      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        56      2       56      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        57      2       57       3         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        57      4       57      22         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        58      6       58      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        59     10       59      24         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        61     21       61      24         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)        62      2       62       4         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)        68      5       68      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        69      9       69      10         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        69     13       69      22         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        69     25       69      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        70      2       70       2         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        70      5       70      10         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Gustin, Todd (CID)        70     18       70      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        70     22       70      24         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        72     13       72      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        73      2       73       6         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        75     11       75      12         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        75     15       75      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        76      2       76       7         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        76     10       76      11         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        76     25       76      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        77      2       77       9         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        77     14       77      20         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        77     23       77      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        78      2       78       5         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        78     24       78      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        79      2       79       4         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        79      7       79      15         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        79     18       79      18         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        80      7       80      10         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        80     12       80      15         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        82     25       82      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        83      2       83       3         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        83      6       83      13         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        83     16       83      23         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        84     22       84      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        85      2       85       5         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        86      2       86      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        87      6       87      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        88      2       88       4         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        89      6       89      13         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        89     15       89      21         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        90      2       90       7         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        90     16       90      19         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Gustin, Todd (CID)        92      9       92      10         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        92     13       92      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        92     20       92      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        93      2       93       6         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        93      9       93      13         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        93     16       93      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        94      2       94       2         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        94      8       94      20         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        94     23       94      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        95      2       95       2         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)        99     11       99      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      100       9      100      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      101       2      101      18         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      105       9      105      10         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      105      13      105      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      106       4      106       7         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      107       8      107      12         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      107      14      107      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      108       2      108      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      109       2      109      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      110       2      110      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      111       2      111      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      112       2      112      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      113       2      113      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      114       2      114      12         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      114      21      114      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      115       2      115      15         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      116       3      116      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      117       2      117      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      118      14      118      22         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      119       5      119      15         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      119      18      119      20         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo         Issues
Gustin, Todd (CID)      120       3      120      17         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      121       4      121      14         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      121      22      121      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      122       2      122       7         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      133      20      133      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      134       2      134      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      135       2      135       3         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      135      11      135      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      136       2      136      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      137       2      137       3         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      137      19      137      25         PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)      139      16      139      24         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      141      22      141      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      142       2      142      10         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      142      13      142      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      145      11      145      13         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      145      16      145      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      146      13      146      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      147       2      147       3         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      148       5      148      23         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      149       7      149      10         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      149      14      149      18         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      149      20      149      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      150       2      150       8         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      150      16      150      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      151       2      151      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      152       2      152      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      153       2      153      25         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      154       2      154       4         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      154      13      154      20         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      155       4      155      19         PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      155      22      155      25         PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Gustin, Todd (CID)      156       2      156       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      156       7      156      13          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      156      16      156      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      158      12      158      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      159       2      159       5          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      159      20      159      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      160       2      160      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      161       2      161       5          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      161      13      161      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      162       2      162       2          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      163       9      163      20          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      165      15      165      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      166       2      166       5          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      166      19      166      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      167       2      167      14          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      167      17      167      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      168       2      168      12          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      168      17      168      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      169       2      169      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      170       2      170      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      171       2      171      10          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      173      19      173      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)      173      24      174       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)      178      24      178      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      179       2      179      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      180       2      180       8          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      180      11      180      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      181       2      181       9          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      181      12      181      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      182       2      182      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      183       2      183       5          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      183       8      183      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Gustin, Todd (CID)      184       4      184      21          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      184      24      184      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      185       2      185       8          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      185      11      185      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      186       2      186      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      187       8      187      13          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      187      16      187      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      188       2      188      11          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      188      20      188      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      189       2      189      13          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      189      16      189      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      189      21      189      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      190       2      190      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      191       2      191      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      192       2      192      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      193       2      193      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      194       2      194       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      194      14      194      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      195       2      195      11          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      196      12      196      22          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      198       5      198      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Gustin, Todd (CID)      198      16      198      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      199       2      199       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      199      12      199      16          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      200       2      200      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      201       2      201       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      201       7      201      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      202       2      202      14          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      202      23      202      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      203       2      203      11          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      204      14      204      17          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      204      19      204      25          PLAINTIFFS PT DESIGNATION


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Gustin, Todd (CID)      205       2      205       3          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      205       4      205       6          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      205       7      205      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      206       2      206      22          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      207      14      207      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      208      10      208      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      209       2      209      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      210       3      210      12          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      211      11      211      15          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      211      17      211      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      212       2      212      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      213       2      213       3          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      213      11      213      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      214       2      214      11          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      214      20      214      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      215       2      215       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      215      14      215      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      216       2      216       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      217       9      217      23          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      218      11      218      15          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      218      17      218      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      219       2      219      23          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      220       7      220      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      221      15      221      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      222       9      222      13          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      222      17      222      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      224       9      224      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      225       2      225       2          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      225       9      225      13          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      225      20      225      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      226       2      226      15          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      226      18      226      25          PLAINTIFFS PT DESIGNATION


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Gustin, Todd (CID)      227       2      227      10          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      227      13      227      14          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      227      18      227      22          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      228      21      228      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      229       2      229       9          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      229      17      229      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      230       2      230      10          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      230      13      230      15          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      231      25      231      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      232       2      232      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      233       2      233      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      234       2      234      16          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      238      14      238      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      239       2      239       3          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      239       6      239      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      239      22      239      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      240       2      240       2          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      241       7      241      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      243      17      243      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      244       2      244       6          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      244      15      244      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      244      21      244      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      245       2      245      23          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      246      14      246      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      247       2      247      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      248       2      248      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      249       2      249      13          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      251      23      251      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      252       2      252      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      253       2      253       8          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      253      11      253      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      254       2      254      14          PLAINTIFFS PT DESIGNATION


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Gustin, Todd (CID)      254      21      254      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      255       2      255      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      256       2      256      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      257       2      257      22          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      259       8      259      17          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      260       5      260       9          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      260      11      260      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      261       2      261      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      262       2      262       6          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      262      15      262      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      263       2      263      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      264       2      264      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      265       2      265       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      265       8      265      18          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      266      12      266      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      267       6      267      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      268       2      268      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      269       2      269      22          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      270      23      270      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      271       2      271      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      272       2      272       5          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      274       3      274      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      275       2      275      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      277       8      277      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      279       9      279      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      280       2      280      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      281       2      281      15          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      281      19      281      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      282       2      282       6          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      283      13      283      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      284       2      284      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      285       2      285       7          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Gustin, Todd (CID)      285      15      285      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      286       2      286      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      287       8      287      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      288       2      288       3          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      288       6      288      10          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      288      20      288      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      289       2      289      15          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      289      18      289      22          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      289      25      289      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      290       2      290      17          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      291      10      291      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      292       2      292       4          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      293      13      293      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      294       2      294       2          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      294      16      294      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      295       2      295       3          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      295      17      295      20          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      295      22      295      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      296       2      296      12          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      296      17      296      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      297       2      297      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      298       2      298      10          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      298      15      298      24          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      300       2      300      14          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      300      17      300      19          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      304       2      304       5          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      304       7      304      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      305       2      305      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      306       2      306      23          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      307      10      307      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      308       2      308      11          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      308      18      308      25          PLAINTIFFS PT DESIGNATION


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Gustin, Todd (CID)      309       2      309      14          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      309      17      309      20          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      309      22      309      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      310       2      310      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      311       2      311      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      312       2      312      25          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      313       2      313       6          PLAINTIFFS PT DESIGNATION
Gustin, Todd (CID)      315       3      315      25          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)          9      1        9       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)          9      7        9      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)         24      8       24      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         24     16       24      18          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         29     15       30       4          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         30     14       30      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         31      8       32       9          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         35     21       37      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         38      1       39      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         40     14       40      22          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         41      9       41      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)         41     17       41      20          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         42      8       42      19          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         43     11       45       6          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         46     17       47      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         48      8       48      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         49      6       49      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)         49     12       50       6          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         50     17       51       2          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         51     20       53       9          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         55     16       56       8          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         61      1       62      15          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         63     17       66       2          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)         67     20       69       1          PLAINTIFFS PT DESIGNATION


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Hardy, Rick (CID)        69     10       70       2          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        72     21       73      18          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        74      2       74      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        75     22       77      22          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        79      9       80      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        80     15       81      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)        85      2       85      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        86      1       86       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        86     11       87      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        88      1       88      22          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        89      5       90       1          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        90      5       91      10          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)        92      2       92      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)        93      4       93      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      102      13      103       1          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      103       8      104      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      117      15      117      17          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      118       5      118      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      119       4      120      10          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      120      20      121       9          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      122       2      122      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      123      12      123      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      126      10      126      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      128      12      128      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      133      18      134      18          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      135       8      135      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      137       5      137      20          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      142      19      142      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      143       6      143      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      144      13      146      22          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      147       8      147      15          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      148      12      152      12          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Hardy, Rick (CID)      152      13      153       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      153       5      153      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      154      18      154      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      155       6      156       9          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      160      17      161      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      163      15      164      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      165      21      166      17          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      166      21      167      15          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      170      15      170      17          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      171       6      171      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      172      20      174      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      174      15      175       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      207      21      208      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      209      11      210       1          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      212       9      214       8          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      216       4      219       5          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      220       2      220       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      220      13      220      22          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      221       9      222      12          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      231      11      234      17          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      236      16      238      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      238      17      239      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      239      16      240       1          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      243      11      243      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      244       4      244       6          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      244      13      244      20          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      245       2      245       5          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      246       4      247      19          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      247      20      249       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      250       2      250       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      250       5      252       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      254       2      255       9          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Hardy, Rick (CID)      255      19      255      20          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      256       4      256      10          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      256      15      256      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      257       3      257      20          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      259      13      259      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      260      11      260      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      261      11      262       9          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      279      17      280       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      292       1      292      11          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      302      14      304      13          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      315      12      319       1          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      319       4      319       9          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      319      11      319      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      320       3      321       1          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      324       4      324      13          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      326       3      326       6          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      326       8      327      15          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      327      16      328       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      332       5      334       4          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      335      19      335      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      336       5      336      15          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      336      20      337      19          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      339      10      340       5          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      341      14      341      17          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      341      21      342      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      343       1      343       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hardy, Rick (CID)      343      10      345       2          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      345       4      350       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      350      10      350      12          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      351       3      351       7          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      352       1      353      10          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)      356      21      357       2          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom      PgTo    LnTo          Issues
Hardy, Rick (CID)            357       9      358      13          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            359       5      359      18          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            362      22      363      16          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            363      19      363      20          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            363      22      365      12          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            366       1      370       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            370      19      371      14          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            371      19      373       3          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            373      15      375       2          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            376      18      380      17          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            386      12      386      19          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            387       3      387       7          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            387      16      387      21          PLAINTIFFS PT DESIGNATION
Hardy, Rick (CID)            388       2      388       4          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        15      6       16      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher        19      8       19      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        21      4       21       7          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        21     12       21      14          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        23     13       30       3          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        30      6       30      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        30     21       31      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        33      8       33      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        33     15       37      23          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        39     22       40       4          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        40      9       40      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        40     12       40      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        41      2       42      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        42     18       44      13          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        45     16       45      20          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        46      5       46       9          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        48     21       48      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher        48     25       49       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript                PgFrom LnFrom      PgTo    LnTo          Issues
Hasslinger, Christopher        49      9       51       9          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        51     12       52       3          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        52     15       52      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        52     20       52      25          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        53      7       53      20          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        54     12       54      13          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        54     15       54      19          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        55     14       55      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        55     21       56       6          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        56     24       57      20          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        58      9       58      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher        58     15       58      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher        58     21       59      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        59     25       63       4          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        63      6       63      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        63     16       63      20          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        64      3       67       8          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        67     12       70       8          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        70     12       70      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        71      3       72       6          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        73     20       74       4          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        74      6       75       8          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        76     16       76      23          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        77      4       77      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        77     20       78      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        78     19       80      21          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        80     24       81       6          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        81      9       82       5          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        82     10       82      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        82     15       82      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        82     22       83      19          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        84      4       84      25          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom      PgTo    LnTo          Issues
Hasslinger, Christopher        85      3       85       8          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        85     13       85      14          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        85     16       85      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        86      7       87      13          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        88      9       89      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        89     13       90       1          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        90      3       91       1          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        91      4       91      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        91     15       92      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        92     22       93       2          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        93     23       95      24          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        96      2       96      22          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        96     24       99      22          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher        99     25      100       8          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      100      11      100      13          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      102      18      102      19          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      102      21      102      23          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      102      24      103       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      103       8      103      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      104       6      104      21          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      104      25      105       2          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      106       3      106       6          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      106      20      107       7          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      107      13      107      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      108       9      109      14          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      109      17      109      22          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      110      21      111      16          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      112      25      113       2          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      118      22      118      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      119       5      119       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      119      15      119      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      119      20      119      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript                PgFrom LnFrom      PgTo    LnTo          Issues
Hasslinger, Christopher      122       1      122       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      122      15      122      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      124      19      127      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      127      23      128       3          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      128      16      128      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      128      22      129       5          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      130       3      131      23          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      132       2      133       1          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      133       7      133      12          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      134       4      136       4          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      136       8      137      20          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      138       7      142      24          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      143       6      143      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      143      15      143      18          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      143      23      143      24          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      144       1      144       4          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      144      18      146      24          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      147       4      147       9          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      147      23      151      15          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      152      18      152      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      153       6      153      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      153      11      153      21          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      154      10      154      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      154      13      154      19          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      155      10      160      23          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      161       1      168       3          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      168       6      168      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      168      20      169      25          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      170       5      170      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      170      22      172      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      172      24      174      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      174      15      175      19          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom      PgTo    LnTo          Issues
Hasslinger, Christopher      176       1      176       5          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      176      12      180      10          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      181       5      181       6          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      181       8      181      11          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      181      25      183      19          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      184      12      185      19          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      202       3      202       7          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      202      11      202      12          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      202      18      207       5          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      207      21      213      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      214       1      217       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      217      12      217      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      217      17      217      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      217      22      218      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Hasslinger, Christopher      220      23      221      22          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      221      25      222      17          PLAINTIFFS PT DESIGNATION
Hasslinger, Christopher      222      20      224       3          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             21      6       21      13          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             26      9       26      21          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             28      5       30      12          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             31     21       32       2          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             33      5       33       8          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             33     15       34       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)             44     10       44      20          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)             55     16       55      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)           180      12      180      17          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)           180      19      181       1          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)           204      18      204      19          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)           204      20      205       8          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)           207      13      207      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)           209       4      209       5          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)           209       6      209      18          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Higday, Paul (CID)      210      11      210      20          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      210      21      211       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      213       8      213      17          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      215       3      215       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      215       8      215      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      230       3      230       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      230       8      230       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      230      10      231      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      231      16      231      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      238      21      238      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      239       1      239       8          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      242      10      242      19          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      242      20      243       1          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      243       5      243      16          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      246      18      248       1          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      248      20      249      16          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      249      17      250       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      251       6      251      14          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      258      19      259      10          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      259      11      260       4          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      261      10      261      20          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      261      22      262      15          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      262      16      263      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      266       6      267       1          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      269      19      272       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      272      17      274       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      275       9      275      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      284      17      285       9          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      285      18      285      22          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      286       6      286      16          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      286      17      287       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      288       5      288       8          PLAINTIFFS PT DESIGNATION


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Higday, Paul (CID)      288       9      288      22          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      289       1      290      18          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      290      22      291      10          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      293      16      294       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      294      12      294      16          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      295      21      296       9          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      296      20      297       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      299      22      300       8          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      300       9      300      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      304       4      304      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      305      14      306       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      306      13      306      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      308       7      308      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      308      18      308      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      315      10      315      17          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      322      16      322      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      341       6      343      22          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      346       4      347       1          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      349       5      349      18          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      349      20      350       5          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      353      11      356      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      357       3      357       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      358      18      359       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      362      15      363      14          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      363      22      364       3          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      364       6      364      17          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      364      19      365      19          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      365      20      366      10          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      366      21      367      11          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      367      12      368       5          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      370      21      371       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      371      14      371      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Higday, Paul (CID)      371      20      372       9          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      372      11      373       1          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      373       8      373      19          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      373      20      377      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      380       5      380      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      380      17      382       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      382       8      383       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      383       3      383      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      402      20      405      21          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      405      22      407      10          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      408       4      408       6          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      408       9      408      17          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      409      11      409      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      410      14      410      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      411       9      411      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Higday, Paul (CID)      411      12      411      20          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      411      22      412       5          PLAINTIFFS PT DESIGNATION
Higday, Paul (CID)      427       3      428       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris               13     15       13      19          PLAINTIFFS PT DESIGNATION
Joshi, Kris               15     12       16       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris               16     12       17      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris               18      2       18      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris               19      4       20       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris               20     13       20      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris               21      6       25      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris               26     16       29      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris               30      1       32       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris               32      8       32      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris               32     17       32      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris               33      6       35      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris               35     21       36       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris               36     17       38      22          PLAINTIFFS PT DESIGNATION


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Transcript    PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris        39      5       39      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris        39     19       41       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris        41     14       41      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris        42      2       50      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris        51     20       52       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris        52      8       53      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris        54      1       54       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris        55      2       58       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris        58     12       58      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris        59     15       59      19          PLAINTIFFS PT DESIGNATION
Joshi, Kris        60     20       62      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris        63      3       65      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris        65     15       65      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris        65     18       68       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris        69     15       70       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris        70     14       77       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris        78      4       78      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris        79      3       84       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris        88      1       89       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris        92      3       92      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris        92     19       93      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris        94      6       94      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris        95     13       97      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris        98     18       99       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris        99      7      102       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris      102      12      103      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris      103      14      103      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris      103      19      105       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris      106      14      106      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris      108      11      108      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris      108      22      113       4          PLAINTIFFS PT DESIGNATION
Joshi, Kris      113       7      114       2          PLAINTIFFS PT DESIGNATION


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Transcript    PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris      114       4      115       4          PLAINTIFFS PT DESIGNATION
Joshi, Kris      119      10      119      19          PLAINTIFFS PT DESIGNATION
Joshi, Kris      120      10      121      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris      121      15      122       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris      122      15      126      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris      128       9      134       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris      134      22      136       4          PLAINTIFFS PT DESIGNATION
Joshi, Kris      136      19      137       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris      137       8      137      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris      138       1      142      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      142      21      143       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris      143      20      146      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      148      10      152      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris      153      10      153      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris      155      12      157      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      158       6      158      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      158      22      163       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris      164      13      167       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris      169      12      170       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris      170      14      172      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris      173       6      173      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      174      17      175       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris      175      19      176       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris      176      14      177       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris      179       7      179      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris      179      17      180      19          PLAINTIFFS PT DESIGNATION
Joshi, Kris      182       4      183      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris      184       4      184      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      184      17      186      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris      187      19      190      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris      190      18      192      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      192      17      193       2          PLAINTIFFS PT DESIGNATION


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Transcript    PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris      193       7      195       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris      197       1      203       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris      203      14      204       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris      204      14      206      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      207       9      208      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris      210       3      210      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris      210      19      210      19          PLAINTIFFS PT DESIGNATION
Joshi, Kris      211       4      211      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris      214       9      219      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris      220      11      221       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris      221      12      223      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      226       5      227       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris      227       8      227       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris      227      11      227      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      227      20      232      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris      233       9      233      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      233      22      236       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris      236      15      236      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris      237       5      237      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris      238       9      238      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris      239       3      239      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris      239      22      240      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      241       4      241       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris      243      15      245      15          PLAINTIFFS PT DESIGNATION
Joshi, Kris      245      18      245      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris      245      22      246       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris      246       3      246       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris      246       8      246       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris      246      11      246      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris      246      15      248      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris      249       3      254      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris      256       5      256      13          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris            256      16      270      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris            270      17      276      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris            277      12      278      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris            279       7      281      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris            282       2      282      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris            282      12      285       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris            285      18      286       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris            286      15      287       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris            287       9      287      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris            288       2      290      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris            290      19      291      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris            292       7      293       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris            293       8      293      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris            294       5      297      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris            298       5      300       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris            300      10      300      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris            300      21      301      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris            305       7      309      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris            309      16      310       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris            310       7      311      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris            311      22      312       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris            312      10      315       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        19     10       21       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        22     11       23      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        27     13       29       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        29     10       33       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        33     21       38      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        38     15       39      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        39     13       44      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        46      8       50       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        52      7       54      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        59      7       61       3          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris (CID)        61      9       61      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        61     19       62       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        62     11       68      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        68     19       76      19          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        77      9       78       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        78      7       81      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        81     20       83       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        83     11       85      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        85     16       86      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        86     19       88       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        88     17       94      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        94     22       96       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)        98     13      100       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      101      11      103      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      110      13      110      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      110      20      111       4          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      111      12      121       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      121       9      124       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      124      11      127      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      127      21      129       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      129      15      129      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      130       5      130      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      130      19      131      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      132      14      136      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      137       4      137      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      139       2      147      15          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      147      18      150       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      150      12      151       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      151      14      153      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      153      18      155      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      156       8      162      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      162      21      164      14          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris (CID)      164      16      165       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      165      12      167      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      168       8      168       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      168      15      168      21          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      169       3      170      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      170      22      172      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      173      18      174       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      174       9      195      16          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      196       1      199      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      199      21      199      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      201       2      201      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      201      22      204       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      204      16      214       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      214       6      214      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      214      15      217      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      219       1      219      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      220       1      221      15          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      221      18      222      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      222      14      225       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      225      15      226      15          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      229      21      239       1          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      239      14      240      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      240      15      244      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      246      10      250       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      250      17      255       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      255      22      257       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      258      22      259      15          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      261       1      263       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      263      19      264      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      264      16      265       2          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      265      12      266       8          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      266      20      267      20          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Joshi, Kris (CID)      268      19      270       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      273      20      275      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      277       8      278      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      280      14      284       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      284      19      289      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      290      17      294      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      294      14      303       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      303      10      303      15          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      303      17      309       9          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      314      12      316      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      316      18      317       7          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      317      10      318      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      322       9      323      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      324      20      324      22          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      325       6      325      11          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      325      18      327      13          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      328      17      330      10          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      332       6      334      18          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      338      18      338      20          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      339       7      339      17          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      340       6      346       5          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      348       8      349      12          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      351       1      351       4          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      352       5      352      14          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      353       3      355       6          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      358      21      361       3          PLAINTIFFS PT DESIGNATION
Joshi, Kris (CID)      361       9      364      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia           21     12       22       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia           22     10       23      13          PLAINTIFFS PT DESIGNATION
Klain, Cynthia           23     14       24      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia           28      2       29       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia           30      5       31      14          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia        32      6       32       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        32     15       32      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        32     22       33       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        33     11       33      15          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        33     22       34      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        34     20       35       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        36      9       38      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        38     19       39       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        39      6       39       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        39      8       40       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        40     11       40      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        48      3       48       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        48     10       48      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        48     12       49      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        49     12       50      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        54     14       55       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        56     13       57      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        59      7       59      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        60      9       60      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        60     13       60      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        60     18       61       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        61     10       62       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        62     10       62      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        67      3       68       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        68      8       69      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia        70     14       70      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        70     19       71       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        71      5       71      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        71     15       71      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        71     19       72      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        73      1       74       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        74      6       74       8          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia        74     10       75      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        75     15       75      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        76      7       76      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia        76     16       76      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia        77     13       78       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        78     18       80       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        82     17       83      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        83     22       84       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        84      4       84      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        85      2       85       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        85      7       86       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        92      8       93       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        93     19       93      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        94      1       94      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        94     13       95       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        95      9       95      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        95     18       95      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        95     19       96       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        96      3       96      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        97      4       97       6          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        97      8       97      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        98     19       99       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        99      3       99      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia        99     13       99      19          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      100       7      100      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      100      22      101       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      101       9      102       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      102      15      105       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      105       9      105      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      105      19      105      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      105      21      106      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      106      22      106      22          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia      107      18      107      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      107      20      108       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      108       4      108      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      108      13      108      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      108      18      109       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      110      10      110      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      111       2      111      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      113       6      113      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      113      15      113      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      113      18      113      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      114       1      114       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      114       8      115      15          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      115      17      116       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      116       4      116      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      116      19      116      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      116      22      117       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      117      16      117      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      117      21      118       6          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      118       8      118      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      119       3      119       6          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      119       8      119      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      120      15      120      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      121       2      121       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      121       7      122       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      122       7      122       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      122      10      124       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      124      10      124      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      125       5      125      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      125      19      125      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      126       1      126       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      126       5      126       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      126      11      127      10          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia      127      12      127      13          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      127      15      128       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      128       6      128       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      128       9      128      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      128      17      128      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      128      19      129       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      129       3      129       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      129      11      129      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      129      20      129      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      130       2      130       6          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      130       8      131       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      131       5      131       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      131       8      131       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      131      11      132       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      132       5      132       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      133      19      135       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      135       5      135       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      135      11      136       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      136      17      137       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      137       3      137       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      137       6      138       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      140       9      141       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      146      17      147       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      147       9      147      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      147      12      147      19          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      150       2      150       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      150      12      151      13          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      151      14      151      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      151      18      155       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      158      13      158      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      158      17      159       3          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      159      21      160      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia      160      18      165      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      166      20      166      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      167       3      167      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      167      16      167      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      168       9      174      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      174      22      175       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      180      18      183       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      183      17      183      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      183      20      184      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      184      21      187       6          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      187      16      187      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      187      22      189      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      194      17      195       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      195      21      196       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      199      20      200       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      200       4      201      11          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      201      13      201      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      202      10      204      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      205       1      205       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      205       7      207      14          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      210      16      210      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      211       9      212       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      212      19      213      12          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      214      22      225      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      229      20      229      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      230       3      230       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      234       5      235      15          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      235      17      235      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      235      20      235      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      236       7      243       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      243       5      243       6          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      243       8      243      11          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia      243      13      243      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      243      18      247      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      247      13      247      15          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      247      17      248       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      248       4      248       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      248      13      248      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      249       7      254      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      254      20      255       9          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      255      11      255      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      255      19      255      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      256       2      256       5          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      256       8      256      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      256      15      257      22          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      258      16      259      18          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      261       7      262       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      262      19      263      19          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      263      22      264       2          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      264      22      266       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      266       3      266       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      268      13      268      16          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      268      19      268      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      272      16      273      20          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      274       7      274      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      275       2      275      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      275      21      277      21          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      278      16      278      19          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      278      22      279       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      281      16      283      13          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      283      15      283      17          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      283      19      285       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      285      16      286      10          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      286      11      288       2          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Klain, Cynthia      288       3      289      13          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      289      19      290      15          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      291      17      294       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      294       6      294       8          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      294      10      294      13          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      296       7      299       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      299      14      300       1          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      300       3      300       7          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      304      10      305      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Klain, Cynthia      307      14      308       4          PLAINTIFFS PT DESIGNATION
Klain, Cynthia      308       6      308      15          PLAINTIFFS PT DESIGNATION
Larsson, Amy          12     19       13      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy          13     13       16       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy          16     12       19      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy          19     22       20       5          PLAINTIFFS PT DESIGNATION
Larsson, Amy          20      7       20      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy          21     11       23       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy          23     11       23      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy          23     14       23      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy          24     13       24      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy          25      4       26       3          PLAINTIFFS PT DESIGNATION
Larsson, Amy          26      7       28      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy          29      1       29       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy          29      4       29      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy          30     14       31       3          PLAINTIFFS PT DESIGNATION
Larsson, Amy          32      5       32      21          PLAINTIFFS PT DESIGNATION
Larsson, Amy          32     22       33      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy          35      4       43       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy          43      7       43      14          PLAINTIFFS PT DESIGNATION
Larsson, Amy          43     17       43      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy          43     20       44      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy          44     16       44      19          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Larsson, Amy        44     21       46      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy        46     21       46      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy        47      2       48      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy        48     19       51      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy        52      1       52       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy        52      8       53      17          PLAINTIFFS PT DESIGNATION
Larsson, Amy        54      7       55      13          PLAINTIFFS PT DESIGNATION
Larsson, Amy        55     16       55      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy        55     22       57      14          PLAINTIFFS PT DESIGNATION
Larsson, Amy        58      4       58       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy        58     22       59       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy        59      8       60       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy        60     10       60      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy        60     13       60      15          PLAINTIFFS PT DESIGNATION
Larsson, Amy        60     17       60      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy        61      1       62       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy        62     12       62      13          PLAINTIFFS PT DESIGNATION
Larsson, Amy        62     15       63       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy        63      7       63       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy        63     10       64      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy        65      1       67      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy        70     14       71      17          PLAINTIFFS PT DESIGNATION
Larsson, Amy        72      1       76       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy        76      9       76      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy        76     20       76      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy        77      6       77       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy        77     11       78      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy        78     18       79       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy        79      9       79      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy        79     14       80       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy        80     12       81       3          PLAINTIFFS PT DESIGNATION
Larsson, Amy        81      8       82      20          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Larsson, Amy        83      1       83       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy        84     14       89      17          PLAINTIFFS PT DESIGNATION
Larsson, Amy        89     18       92      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy        94      4       95      13          PLAINTIFFS PT DESIGNATION
Larsson, Amy        97      1       99       3          PLAINTIFFS PT DESIGNATION
Larsson, Amy        99     11      102      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy      102      15      102      16          PLAINTIFFS PT DESIGNATION
Larsson, Amy      102      18      102      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      102      22      103       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy      103       4      103      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy      103      14      103      15          PLAINTIFFS PT DESIGNATION
Larsson, Amy      103      17      103      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy      103      21      103      21          PLAINTIFFS PT DESIGNATION
Larsson, Amy      104       1      104       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy      104       5      104       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy      105      10      109       5          PLAINTIFFS PT DESIGNATION
Larsson, Amy      109       9      110      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy      110      21      110      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy      111       2      114       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy      114       9      114      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy      114      12      116       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy      116       4      116       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy      116      10      121       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy      121      15      121      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy      121      22      124      17          PLAINTIFFS PT DESIGNATION
Larsson, Amy      124      20      125       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy      125       3      125       5          PLAINTIFFS PT DESIGNATION
Larsson, Amy      125       7      127       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy      127       9      127       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy      127      14      127      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy      127      20      130      17          PLAINTIFFS PT DESIGNATION
Larsson, Amy      131      11      134      14          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Larsson, Amy      134      17      135      16          PLAINTIFFS PT DESIGNATION
Larsson, Amy      135      17      135      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      135      20      136      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      136      14      136      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy      136      20      136      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy      137       3      137      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      137      13      139       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy      139      12      139      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      139      21      140       5          PLAINTIFFS PT DESIGNATION
Larsson, Amy      140       8      140      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy      140      12      143      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy      144       5      148       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy      148      17      153       3          PLAINTIFFS PT DESIGNATION
Larsson, Amy      153       6      153      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy      153      12      153      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      154       2      154       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy      154       9      154      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      154      13      155       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy      155       9      157       9          PLAINTIFFS PT DESIGNATION
Larsson, Amy      157      12      157      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy      157      14      157      16          PLAINTIFFS PT DESIGNATION
Larsson, Amy      157      19      157      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      157      21      158       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy      158       4      158       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy      158       6      158       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy      158      11      158      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      159       5      161       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy      161      19      161      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy      162      13      164       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy      165       5      168      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy      169       3      169       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy      169       6      172      20          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Larsson, Amy      173       9      173      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      173      14      173      16          PLAINTIFFS PT DESIGNATION
Larsson, Amy      173      18      180       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy      180       4      180       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy      180      10      186       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy      186       9      186      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      186      13      186      17          PLAINTIFFS PT DESIGNATION
Larsson, Amy      188       6      191       5          PLAINTIFFS PT DESIGNATION
Larsson, Amy      191      10      191      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy      191      21      192       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy      192       5      192       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy      193      14      196      18          PLAINTIFFS PT DESIGNATION
Larsson, Amy      197       2      204      15          PLAINTIFFS PT DESIGNATION
Larsson, Amy      204      18      211      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      211      14      211      21          PLAINTIFFS PT DESIGNATION
Larsson, Amy      212       1      215       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy      216      18      218       5          PLAINTIFFS PT DESIGNATION
Larsson, Amy      218      11      219       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy      219      12      219      16          PLAINTIFFS PT DESIGNATION
Larsson, Amy      219      19      219      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      219      21      223       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy      224       3      229      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy      230       2      230      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      230       2      230      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy      231       3      233       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy      233       4      233      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy      233      12      234       7          PLAINTIFFS PT DESIGNATION
Larsson, Amy      234      20      236       8          PLAINTIFFS PT DESIGNATION
Larsson, Amy      236      10      237      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy      237      12      240      15          PLAINTIFFS PT DESIGNATION
Larsson, Amy      240      18      240      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy      240      21      243      19          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Larsson, Amy             245       4      251      12          PLAINTIFFS PT DESIGNATION
Larsson, Amy             251      15      252       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy             252       4      252      20          PLAINTIFFS PT DESIGNATION
Larsson, Amy             253       8      257      11          PLAINTIFFS PT DESIGNATION
Larsson, Amy             257      13      262       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy             263       7      265       1          PLAINTIFFS PT DESIGNATION
Larsson, Amy             266      14      267       4          PLAINTIFFS PT DESIGNATION
Larsson, Amy             268       1      271       6          PLAINTIFFS PT DESIGNATION
Larsson, Amy             271       9      271      10          PLAINTIFFS PT DESIGNATION
Larsson, Amy             271      12      271      14          PLAINTIFFS PT DESIGNATION
Larsson, Amy             271      17      271      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy             273      18      274       2          PLAINTIFFS PT DESIGNATION
Larsson, Amy             276      10      283      16          PLAINTIFFS PT DESIGNATION
Larsson, Amy             285       1      288      19          PLAINTIFFS PT DESIGNATION
Larsson, Amy             289      14      291       3          PLAINTIFFS PT DESIGNATION
Larsson, Amy             292      12      299      13          PLAINTIFFS PT DESIGNATION
Larsson, Amy             299      18      299      21          PLAINTIFFS PT DESIGNATION
Larsson, Amy             300       1      300      22          PLAINTIFFS PT DESIGNATION
Larsson, Amy             309       9      311      21          PLAINTIFFS PT DESIGNATION
Larsson, Amy             320      15      321      16          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry         5     11        5      12          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        10      2       16       4          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        16     12       16      23          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        18     18       18      25          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        26      8       26       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        26     16       26      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        27      3       27       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        28     18       28      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        29      4       29       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        29     10       29      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        30      9       30       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        30     20       30      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Lautzenhiser, Larry        31      2       31       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        32      8       32       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        33     11       33      14          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        33     19       33      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        34      4       34       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        34     21       36      22          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        37      3       42       5          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        42     15       44      23          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        47     24       49      14          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        49     17       49      18          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        49     20       50      25          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        51      8       51      15          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        51     17       52      22          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        55     15       56      11          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        56     16       56      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        57      2       57       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        57      4       57      17          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        57     19       57      20          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        57     25       57      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        58     15       58      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        58     18       58      23          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        59      3       59      24          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        60     11       60      22          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        61     15       61      16          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        61     18       62      11          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        63     13       64      18          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        65      1       65      24          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        66     11       66      25          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        67      5       67       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        67     12       67      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        68     12       70       1          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        70      3       70      23          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Lautzenhiser, Larry        70     25       72       4          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        72      6       72      10          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        72     21       72      24          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        77      4       78      12          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        79     11       79      15          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        80      5       82      10          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        82     25       82      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        83     25       83      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        84     10       84      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        84     12       84      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        84     19       84      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        85      4       85       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        86      9       86       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        86     13       86      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        86     15       88      19          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        88     23       88      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        89     14       89      16          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        89     18       90       4          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry        91     11       91      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry        95     25      112       2          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      112       5      112       9          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      112      12      113      17          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      113      20      113      23          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      114       1      114      11          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      114      14      127      16          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      128      17      133      21          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      133      23      139      25          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      140      21      145      18          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      146       2      151      24          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      152      12      152      14          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      152      16      153       3          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      153       9      157       7          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Lautzenhiser, Larry      157      10      158      15          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      158      17      161       3          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      161      14      166       9          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      166      12      171      12          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      171      25      171      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      172       4      172       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      172      11      172      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      172      18      172      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      172      23      172      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      173       4      173       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      173      10      173      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      173      24      173      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      174       3      174       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      174       5      175      19          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      175      23      175      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      176      23      177       7          PLAINTIFFS PT DESIGNATION
Lautzenhiser, Larry      177      15      177      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      177      20      177      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      178       6      178       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      178      19      178      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      181      24      181      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      182       4      182       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      182      16      182      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      185      21      185      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Lautzenhiser, Larry      186       2      186       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah            19      9       19      18          PLAINTIFFS PT DESIGNATION
Linares, Serrah            29     18       31       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah            31      6       32       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah            32      4       32      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah            32     13       35       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah            35      7       36       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah            36     14       36      22          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Linares, Serrah        37      4       37      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah        42     10       42      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        42     15       42      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah        42     17       42      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        43      1       43       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        43      5       43      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah        45     12       46       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        46     16       47       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah        47      7       47       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah        48      9       48      11          PLAINTIFFS PT DESIGNATION
Linares, Serrah        49      9       51      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah        51     16       52      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah        53     10       53      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah        53     22       54      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah        54     11       54      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        54     13       54      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        55      1       55       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah        56      1       56       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah        56      6       56       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah        56      8       56      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        56     15       56      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah        56     17       56      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        57      1       57      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah        57     13       57      14          PLAINTIFFS PT DESIGNATION
Linares, Serrah        57     16       57      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah        57     18       57      21          PLAINTIFFS PT DESIGNATION
Linares, Serrah        58      1       58       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        58     18       58      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah        58     21       60       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah        60     12       60      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah        60     14       61      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        61     18       62       9          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Linares, Serrah        62     10       62      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        62     13       63       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah        63     10       63      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah        63     19       63      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah        64     19       64      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah        64     21       66       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        66      8       66      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah        67      3       67       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah        67     14       68       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah        68      9       68      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        68     13       69       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        69      7       69      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah        69     18       69      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah        69     21       70       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah        71      1       71       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah        71      6       71       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah        71      8       71      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah        72      1       72       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah        72     14       73       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        73      2       73       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah        73      5       73       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah        73     17       73      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        74     14       74      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        75     10       75      11          PLAINTIFFS PT DESIGNATION
Linares, Serrah        75     12       75      14          PLAINTIFFS PT DESIGNATION
Linares, Serrah        75     16       75      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah        76      1       76       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah        76      2       76       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah        78     13       79       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah        80     15       81      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah        81     14       81      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah        82      6       82      10          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Linares, Serrah        82     11       83       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah        83     15       83      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah        83     19       83      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah        83     21       83      21          PLAINTIFFS PT DESIGNATION
Linares, Serrah        83     22       84      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah        84     13       84      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah        84     14       84      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        86     12       86      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah        87     20       87      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah        88      1       88       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah        88      3       88      11          PLAINTIFFS PT DESIGNATION
Linares, Serrah        88     12       88      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah        90     19       91      21          PLAINTIFFS PT DESIGNATION
Linares, Serrah        92      9       92      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah        93      2       93      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah        93     17       94       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah        94     18       94      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah        94     20       95       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah        95      8       95      18          PLAINTIFFS PT DESIGNATION
Linares, Serrah        95     22       96      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah        97      5       99      18          PLAINTIFFS PT DESIGNATION
Linares, Serrah        99     19       99      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah        99     20      101       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah      101      20      102       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah      102       4      102       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      102       6      102       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah      102       8      102       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah      102      20      103       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah      103       3      104      14          PLAINTIFFS PT DESIGNATION
Linares, Serrah      104      15      105       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah      105      17      105      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      105      18      106       8          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Linares, Serrah      108       9      108      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      109       3      109       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah      109       4      110      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah      110      14      110      14          PLAINTIFFS PT DESIGNATION
Linares, Serrah      110      16      112       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah      112       7      112       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah      112      11      112      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah      112      14      112      14          PLAINTIFFS PT DESIGNATION
Linares, Serrah      112      18      114       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah      114       3      114      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      115       8      115      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      115      22      115      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      116       2      116       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah      116       8      116       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah      116      11      116      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah      116      14      117      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah      117      13      117      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      117      22      117      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      118       1      118      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      118      18      118      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah      118      21      119       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah      119       6      119      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah      119      12      119      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah      119      15      119      21          PLAINTIFFS PT DESIGNATION
Linares, Serrah      119      22      120       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah      120       2      120       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah      122      10      123      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      123      22      123      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      124       2      124      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      125       1      125       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah      125       3      125      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah      126       1      126       2          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Linares, Serrah      126       4      126      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      126      20      126      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      126      22      127      21          PLAINTIFFS PT DESIGNATION
Linares, Serrah      127      22      127      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      128       3      128       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      128       6      128      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      129       6      129      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      129      18      130       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah      130       3      130       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah      130       7      130      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah      130      12      131       2          PLAINTIFFS PT DESIGNATION
Linares, Serrah      131      13      131      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah      131      19      131      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      131      21      132       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah      132      14      133       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah      133      13      133      21          PLAINTIFFS PT DESIGNATION
Linares, Serrah      134       5      134       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah      137      22      139      11          PLAINTIFFS PT DESIGNATION
Linares, Serrah      139      18      139      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      139      21      139      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      140       1      140       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      140       6      140       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah      140       9      140      18          PLAINTIFFS PT DESIGNATION
Linares, Serrah      140      19      141      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      145       3      146       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah      146      13      147       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah      147       7      147       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah      147      11      147      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah      147      14      148       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah      148       8      149       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      149       5      149      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      150      11      151       3          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Linares, Serrah      152       3      152      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah      152      12      152      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah      152      15      153      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      154      12      155       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah      155      10      155      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah      156       1      157       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah      157       9      157      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah      157      17      159       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah      159       5      159       5          PLAINTIFFS PT DESIGNATION
Linares, Serrah      159       7      160       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      183      17      183      18          PLAINTIFFS PT DESIGNATION
Linares, Serrah      183      20      184      11          PLAINTIFFS PT DESIGNATION
Linares, Serrah      184      13      185       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah      186      15      186      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      186      17      186      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah      187       2      188      14          PLAINTIFFS PT DESIGNATION
Linares, Serrah      188      15      188      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      188      18      189       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah      189      10      189      11          PLAINTIFFS PT DESIGNATION
Linares, Serrah      190       2      190      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah      190      21      190      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah      191       2      192      18          PLAINTIFFS PT DESIGNATION
Linares, Serrah      193      16      194       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah      194       9      195       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah      195       4      195       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      195       5      198       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah      198      13      198      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah      198      15      198      20          PLAINTIFFS PT DESIGNATION
Linares, Serrah      198      21      199       1          PLAINTIFFS PT DESIGNATION
Linares, Serrah      199       3      199       4          PLAINTIFFS PT DESIGNATION
Linares, Serrah      199       6      199      16          PLAINTIFFS PT DESIGNATION
Linares, Serrah      199      18      199      18          PLAINTIFFS PT DESIGNATION


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Linares, Serrah          199      20      200      15          PLAINTIFFS PT DESIGNATION
Linares, Serrah          200      16      200      17          PLAINTIFFS PT DESIGNATION
Linares, Serrah          200      20      201       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah          201       5      202       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah          205       5      206       9          PLAINTIFFS PT DESIGNATION
Linares, Serrah          206      10      206      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah          206      13      206      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah          207       5      207       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah          207      12      208      10          PLAINTIFFS PT DESIGNATION
Linares, Serrah          208      12      208      13          PLAINTIFFS PT DESIGNATION
Linares, Serrah          208      15      210      19          PLAINTIFFS PT DESIGNATION
Linares, Serrah          211       3      211      12          PLAINTIFFS PT DESIGNATION
Linares, Serrah          212      15      212      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah          212      18      212      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah          212      19      213       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah          213       2      213       3          PLAINTIFFS PT DESIGNATION
Linares, Serrah          213       4      213       6          PLAINTIFFS PT DESIGNATION
Linares, Serrah          213       8      213       8          PLAINTIFFS PT DESIGNATION
Linares, Serrah          213      10      214      22          PLAINTIFFS PT DESIGNATION
Linares, Serrah          215       1      216       7          PLAINTIFFS PT DESIGNATION
Linares, Serrah          217       7      217       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah          217      11      217      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Linares, Serrah          218       9      219       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)         9      9       10       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        11      6       12       6          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        13      1       13      16          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        15     15       16       8          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        19     13       19      20          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        19     23       19      25          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        20      2       20       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        22      8       22       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        22     12       22      15          PLAINTIFFS PT DESIGNATION


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Mason, James (30b6)        23     16       23      20          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        23     23       24       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        24      3       24       7          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        24     11       24      17          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        36     19       37       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        37     18       38      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        42      4       42      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        43      1       43       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        43      6       43       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        43     10       43      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        43     14       43      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        44      1       44       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        44      7       44       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        48      9       48      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        48     21       48      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        48     24       49       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        49      3       49       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        49     19       49      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        50      1       50       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        58     18       59       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        59     24       60      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        63      3       63       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        63      7       63      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        63     12       63      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        63     22       63      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        65      8       65      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        76     15       76      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        79     13       80       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        81      1       81      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        81     15       81      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        88     19       88      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)        89      2       89      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Mason, James (30b6)        92      4       93      17          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        94     11       96      13          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        97      3       98       2          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        98      4       98       7          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        98      9       98      10          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        98     13       98      14          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        98     16       98      18          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        98     21       98      21          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        98     23       98      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)        99      1       99       6          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      100       1      100       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      100       6      100       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      100      11      100      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      101       4      101       5          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      101       7      101       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      101      11      101      20          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      101      22      102       2          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      102       4      103       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      103      14      104       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      104       3      104       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      104       5      104       6          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      104       8      104       8          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      104      10      104      22          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      104      25      104      25          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      105       2      105       8          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      105      11      105      11          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      105      13      106      22          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      106      24      107       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      107       3      107      18          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      107      21      107      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      107      25      108       2          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      108       4      108       8          PLAINTIFFS PT DESIGNATION


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Mason, James (30b6)      108      19      108      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      108      25      109       2          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      109       4      109      25          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      110       2      110       7          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      110       9      110      19          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      110      21      111       4          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      111       6      112       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      112       6      112      10          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      112      12      112      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      113       1      113       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      113       3      113       7          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      113       9      113      10          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      113      12      113      13          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      113      15      113      15          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      113      17      114      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      115       1      115       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      115       5      115       6          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      115       8      115       8          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      115      10      115      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116       3      116       7          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116      10      116      12          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116      14      116      15          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116      18      116      18          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116      20      116      20          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116      22      116      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      116      25      117       6          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      117       8      117      10          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      117      12      117      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      118      23      119      11          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      119      14      119      14          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      119      16      119      22          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      120       1      121       1          PLAINTIFFS PT DESIGNATION


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Mason, James (30b6)      121       3      121       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      121       5      121      14          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      121      17      121      17          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      121      19      122      18          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      122      20      122      20          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      122      22      123      19          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      123      22      123      22          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      124       6      124       8          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      124      10      124      10          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      124      12      124      15          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      124      17      124      17          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      124      19      125      11          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      125      13      125      13          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      125      15      126       2          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      126       4      126       4          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      126       6      126       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      126      19      126      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      127       3      128      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      129       1      129       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      129       3      129       3          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      129       6      129       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      129      11      130      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)      130      12      131       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      131       8      131      16          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      132      17      132      23          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133       1      133       1          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133       3      133       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133      12      133      12          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133      14      133      15          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133      18      133      18          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133      20      133      22          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)      133      25      133      25          PLAINTIFFS PT DESIGNATION


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Mason, James (30b6)           134       2      134       6          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)           134       9      134       9          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)           134      20      134      24          PLAINTIFFS PT DESIGNATION
Mason, James (30b6)           138      16      138      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)           138      23      139       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)           144      19      144      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)           144      23      145       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mason, James (30b6)           145       3      145       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)        21      2       21       7          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        21     21       22       5          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        24     21       25      12          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        26     16       27       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)        27      7       28       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        29     13       29      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        29     16       29      20          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        30      2       30      12          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        30     17       31       2          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        31     16       32      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        33      1       33      16          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        33     18       33      19          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        34      5       34      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        35      6       35      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        35     22       36       3          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        36      7       36      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        43      6       43      20          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        44     17       45       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)        45     14       45      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        45     16       45      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        46      4       46      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        47     11       49       7          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        49     19       52      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        52     18       53       4          PLAINTIFFS PT DESIGNATION


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Mckinney, Patricia (CID)        53     13       53      17          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        54      4       54       8          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        55      7       55      12          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        55     17       55      19          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        56      6       56      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        58      1       58       5          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        58     10       58      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        58     22       59       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)        59      4       60       3          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        60      5       60      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        60     20       61      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        62      1       62       5          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        63      8       64      12          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        64     18       64      22          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        65      2       65       7          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        65     10       65      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        65     20       66      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        66     20       67      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        68      6       68       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        68     11       68      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        68     15       68      17          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        69      2       70       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        70      3       72      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        73     10       73      19          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        74      4       74      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        74     12       75      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        75     20       76      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        77     10       77      19          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        78      4       78      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        82     19       83       2          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        83      4       84      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        89      3       90      15          PLAINTIFFS PT DESIGNATION


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Mckinney, Patricia (CID)        90     22       91      19          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        92     12       93       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)        93     10       93      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)        99     19      100      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      101      20      102       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      102      19      102      22          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      105       4      106       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      109       9      110       3          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      110      14      110      22          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      115      14      118      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      118      13      118      16          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      118      18      119       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      119       6      120      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      120      12      121       3          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      122       7      122      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      123       5      123      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      124      21      125       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      125       7      126       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      129      18      130       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      131       4      131       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      131      18      132       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      132      18      133       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      133      10      133      16          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      136       3      138      22          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      139      11      141       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      141       4      142       7          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      143       3      143      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      144       2      145      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      145      15      148      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      149       2      154       7          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      154       8      155       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      156      14      158      19          PLAINTIFFS PT DESIGNATION


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Mckinney, Patricia (CID)      158      20      158      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      161       6      162      20          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      162      22      163       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      163      14      164       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      164       6      166       2          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      166       4      168      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      169      21      170      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      171       2      171       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      174      18      175       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      175       9      176       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      177       4      178       8          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      183      12      183      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      184       8      184      22          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      188       7      188      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      189       4      189      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      190      16      191      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      192      17      193      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      196       8      197       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      197      21      201      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      202      11      202      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      203       7      203      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      204       7      204       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      204      12      204      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      204      18      205      17          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      205      19      207       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      207      16      208      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      209       9      210       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      210       3      210      20          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      211       6      211      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      212      14      214       5          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      215       3      215       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      216       8      216      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript                 PgFrom LnFrom      PgTo    LnTo          Issues
Mckinney, Patricia (CID)      221       3      221       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      225       3      225      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      229      13      230       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      233       2      233      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      234      16      234      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      235       1      235       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      236      11      236      16          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      236      22      238       8          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      238       9      238      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      241      18      242       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      242      10      244       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      244      10      244      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      244      20      246      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      250       2      250      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      251      21      252       6          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      254       6      254      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      254      13      254      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      254      22      255      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      255      15      258       6          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      258      17      259       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      259      17      260      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      262       3      262       7          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      262      12      262      12          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      262      14      263      10          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      263      16      263      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      265       9      265      13          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      265      18      265      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      265      20      267      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      269      21      271       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      278      20      279       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      285       8      285      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      287      14      287      19          PLAINTIFFS PT DESIGNATION


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Transcript                 PgFrom LnFrom      PgTo    LnTo          Issues
Mckinney, Patricia (CID)      288       5      288      14          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      289      10      289      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      290      12      290      17          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      290      19      291       5          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      291      14      291      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      291      22      292       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      292       7      292       9          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      293      21      295       6          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      295       9      297      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      297      13      299      12          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      299      14      299      15          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      300       2      300      17          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      302      14      302      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      302      20      302      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      303      19      304       4          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      304       5      304      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      305      22      306      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      307      12      307      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      308       3      308       8          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      308      10      308      21          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      310       1      310       6          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      310       8      311      18          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      312       7      312      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      312      20      313      11          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      315      16      316       6          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      316       7      316      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      321       3      323       1          PLAINTIFFS PT DESIGNATION
Mckinney, Patricia (CID)      323       2      323      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      326       4      326       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      326      12      326      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      327       1      327       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mckinney, Patricia (CID)      327       9      327      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
McMahon, Dirk (CID)        26     22       27      11          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        28      1       30       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        30     10       32       3          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        33      2       34       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        34     10       35      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        36      1       37      22          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        40     19       43      15          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        44     22       47      20          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        52      5       53       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        54     14       56      10          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        56     18       65       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        65     15       70       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        72      9       73      17          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        73     20       73      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        74      1       74       7          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        74      9       77      15          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        77     21       80      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        83     17       84       2          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        84      4       85      11          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        85     20       97       2          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)        98      3      106       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      107       8      108      12          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      108      19      108      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      109      18      110       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      111      13      112      14          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      112      21      113      11          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      113      13      113      14          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      113      16      115      18          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      116      15      124       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      124       7      125       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      125      11      143      16          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      143      18      143      19          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
McMahon, Dirk (CID)      143      22      144      12          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      145      20      147       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      150      13      166       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      166       7      170       4          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      174       6      177      10          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      181       2      181       4          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      181      21      182       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      183       8      184      22          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      186       2      190      14          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      190      19      191       7          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      192      10      194      20          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      194      22      198       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      198      11      198      14          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      198      19      208      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      208      15      208      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      209       1      209      19          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      210      22      212       7          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      213       1      213      22          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      214      21      215      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      217       3      220       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      220      16      220      18          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      221      18      222      16          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      222      17      223      16          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      223      17      223      19          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      223      20      225       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      225      20      226      19          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      226      21      227       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      227      18      231       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      232      12      233      15          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      233      22      238       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      239       1      240      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      241       1      241       9          PLAINTIFFS PT DESIGNATION


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McMahon, Dirk (CID)      241      11      252       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      252       5      252      15          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      253       7      253       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      254      11      254      20          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      256       6      260      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      261      15      269       4          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      269      13      270       3          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      272       2      272      18          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      272      20      278       2          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      279       1      280       5          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      280      22      282       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      282      13      287      14          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      288      11      293      12          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      293      14      294       4          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      294       8      297       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      298       4      299      16          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      300      14      311      10          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      312       1      317       7          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      319       4      320       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      334      15      334      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      335      10      335      21          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      336       4      337      18          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      338       6      342      19          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      345      20      346      16          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      348      18      349      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
McMahon, Dirk (CID)      350       7      350       9          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      353       1      353      12          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      354      18      356       1          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      380       4      380      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      383      17      384      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
McMahon, Dirk (CID)      404      15      406      20          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      407      19      408       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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McMahon, Dirk (CID)      408      11      408      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      409       9      409      13          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      409      18      410       2          PLAINTIFFS PT DESIGNATION
McMahon, Dirk (CID)      410       9      411      13          PLAINTIFFS PT DESIGNATION
Merrill, Andrew             7     24        8      11          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            14     19       15      12          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            16     21       17       3          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            19     14       20       2          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            20     24       21      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            23      8       24      10          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            24     11       24      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            25      7       25      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            25     11       29      24          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            31     16       31      19          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            32      1       33       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            36     23       37      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            38      6       38      11          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            38     14       39       4          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            39      6       39       6          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            39     11       39      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            40     14       41      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            42      3       42      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            44      7       45      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            48     19       48      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            49     13       51      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            53     16       53      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            55      3       55      11          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            55     22       56       5          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            57      4       57       5          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            57      9       57       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew            57     10       58      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew            58     25       60       1          PLAINTIFFS PT DESIGNATION


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Merrill, Andrew        60      4       61       1          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        61     19       61      24          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        62     13       63       2          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        63      3       63      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        63     17       63      20          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        66      2       66      11          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        67     13       67      23          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        70     14       71      21          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        71     25       72       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        72      1       72       5          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        72      9       72       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        72     10       72      14          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        73     20       74      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        75     12       75      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        77     21       78       1          PLAINTIFFS PT DESIGNATION
Merrill, Andrew        79      3       79      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        80     21       81       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        81      5       81       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        81     12       81      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        81     22       82       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        88     11       88      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        90     10       91       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        92     21       93       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        93      9       93       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        93     11       93      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        96      7       96      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        96     25       97       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        97      9       97      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        98      2       98       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        98     11       98      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        98     17       98      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew        99     22      100      17          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Merrill, Andrew      101       6      101      17          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      101      20      103       2          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      104      14      104      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      105      19      105      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      110      14      110      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      112       4      112       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      112      20      112      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      113       8      113      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      115      11      115      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      116       5      116       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      116       9      116      11          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      116      14      116      19          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      116      21      117       4          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      120       5      120      14          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      120      23      121      17          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      124      15      124      18          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      124      23      124      25          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      125       2      126       8          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      126      14      126      21          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      126      23      127      14          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      129       3      129      14          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      130       3      130      12          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      131       1      131       4          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      131      19      132       7          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      132       9      133      21          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      139       7      139      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      139      19      139      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      141       5      141      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      150       7      150      17          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      150      19      150      20          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      154       8      154      10          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      154      12      154      18          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Merrill, Andrew      154      23      155       3          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      155       9      155      12          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      155      15      155      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      155      16      155      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      157      22      158       8          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      159       3      159      18          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      162       3      163       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      164       7      164      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      164      18      164      19          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      164      21      165       4          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      165       6      166       4          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      166       7      171      12          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      171      13      171      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      173      11      175      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      175      14      175      21          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      175      22      175      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      176       1      176       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      176       8      176      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      177       7      177      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      177      17      178      23          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      179      24      180       9          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      180      15      180      23          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      183       1      183      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      184      17      186      24          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      187      12      190      10          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      190      13      192      13          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      197      25      199      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      199      17      199      25          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      200       2      200      14          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      201      15      201      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      201      18      202       2          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      202       6      204      18          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Merrill, Andrew      204      22      206       3          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      206       7      206      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      206      19      207       1          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      207       4      208       8          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      208      16      209       9          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      209      15      209      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      210       1      216      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      219      18      220       7          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      221       1      221       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      221       7      221      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      221      14      222      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      223      21      227       7          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      227      19      228      19          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      228      21      237      25          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      240      18      240      20          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      240      22      241       4          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      241       5      241      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      241      13      241      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      241      19      242       2          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      242       8      244      13          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      245       5      245      10          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      245      23      246       5          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      249      22      250       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      251       9      251      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      251      15      251      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Merrill, Andrew      252       7      252      14          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      252      16      252      25          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      253       5      255       1          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      255       9      255      11          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      255      17      256      24          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      257      10      258      24          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      259       1      259      10          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Merrill, Andrew      259      14      259      20          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      259      22      260      17          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      260      20      264      12          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      264      14      264      17          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      264      19      264      23          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      265       1      265      18          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      272      21      272      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      272      24      273      12          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      273      24      275       3          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      275      11      278       9          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      279      14      279      22          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      280      15      281      15          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      282       4      282      16          PLAINTIFFS PT DESIGNATION
Merrill, Andrew      283      13      283      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff           8      6        8      16          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          22     25       23      10          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          23     15       23      19          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          27      6       27       7          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          27     11       27      19          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          28      2       28       9          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          31     19       31      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          33     16       34       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          35     13       35      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          35     20       36       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          47      4       47      22          PLAINTIFFS PT DESIGNATION
Mincher, Jeff          50     21       51       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          51      6       51      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          77     16       77      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          78     11       78      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          85      3       85       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff          99     13      100       3          PLAINTIFFS PT DESIGNATION
Mincher, Jeff        101       3      106      25          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Mincher, Jeff      107       1      107       3          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      107      15      108       5          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      108      22      109      14          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      109      25      114       7          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      116      12      117       9          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      117      13      117      25          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      119       7      121       9          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      122      19      124       9          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      126       6      126      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      126      15      126      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      127       4      128      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      128      24      129      23          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      130      12      131       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      131      23      132       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      132       2      137      10          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      137      11      138       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      138      15      139       5          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      139       9      140       4          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      140       5      140      14          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      140      25      141       4          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      141       8      141      12          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      141      21      142      13          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      142      14      142      20          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      142      21      143      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      143      13      145       4          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      146       5      146      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      147       6      148      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff      148      14      148      21          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      149       6      149      15          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      149      23      153      14          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      154      12      155      11          PLAINTIFFS PT DESIGNATION
Mincher, Jeff      155      12      155      13          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Mincher, Jeff                155      15    155     25          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                156       1    156      7          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                156       9    158     25          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                159       1    159     13          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                159      14    160      2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff                160       3    160      5          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                160       7    161      2          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                161       3    161      8          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                161      10    163     23          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                163      25    164     15          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                164      17    169      3          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                169       5    170      5          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                170       7    170     18          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                170      20    171      6          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                171       8    171     22          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                171      24    172     20          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                172      22    174      2          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                174       9    174     16          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                176      12    177     12          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                177      18    178     25          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                179       1    179      5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Mincher, Jeff                179       6    180      7          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                181      25    182      2          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                182       4    182      9          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                182      11    182     12          PLAINTIFFS PT DESIGNATION
Mincher, Jeff                195      15    196     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)       7     13      7     17          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      19      7     19     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      20      2     20     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      21      2     21     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      22      2     22     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      24      3     24     18          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Musslewhite, Robert (CID)      25     23     25     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      26      2     26     15          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      26     21     26     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      27      2     27     16          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      27     20     27     21          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      27     25     27     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      28      2     28     14          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      28     25     28     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      29      2     29     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      30      2     30      2          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      30      7     30     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      31      2     31      8          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      32      7     32     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      33      2     33     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      34      2     34     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      35      2     35      5          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      35     12     35     17          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      37      2     37      9          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      38      4     38      7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)      39      9     39     21          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      40     25     40     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      41      2     41     19          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      42     21     42     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      43     17     43     22          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      56      4     56      9          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      60     25     60     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      61      2     61     23          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      63      5     63     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)      64      2     64      3          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    117       6    117     25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    120      13    121      2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    121      20    122     15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Musslewhite, Robert (CID)    125      11    126     19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    130       4    130     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    131       2    131     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    132       2    132     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    133       2    133      5          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    133      10    133     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    134       2    134     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    135       2    135     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    136      25    136     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    137       2    137      5          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    137      15    137     20          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    137      24    137     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    138       2    138     18          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    138      23    138     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    139       2    139     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    140       2    140     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    141       2    141     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    142       2    142     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    143       2    143     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    144       2    144     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    145       2    145     17          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    147       7    147     23          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    148       6    148     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    149       2    149     19          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    150       7    150     11          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    150      22    150     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    151       2    151      8          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    151      19    151     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    152       2    152     17          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    153       5    153     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    154       2    154     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    155       2    155     25          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Musslewhite, Robert (CID)    156       2    156     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    157       2    157     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    158      20    158     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    159       2    159     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    160       2    160     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    162       2    162     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    163       2    163     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    164       2    164     19          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    165      14    165     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    166       2    166     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    167       2    167     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    168       2    168     16          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    168      20    168     23          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    169       4    169      6          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    169      16    169     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    170       2    170     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    171       2    171     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    172       2    172     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    173       2    173     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    174       2    174     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    175       2    175     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    176       2    176     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    177       2    177     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    178       2    178     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    179      13    179     17          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    181      10    181     14          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    181      19    181     22          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    182       6    182     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    183       2    183     13          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    186      15    186     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    187       2    187     13          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    188      14    188     22          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Musslewhite, Robert (CID)    190       5    190      8          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    190      15    190     23          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    191      24    191     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    192       2    192     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    193       2    193     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    194       2    194     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    195       2    195     21          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    198       8    198     15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    198      16    198     25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    199       2    199     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    200       2    200      2          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    201       3    201     14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    202      17    202     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    203       2    203     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    204       2    204     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    205       2    205     19          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    205      20    206     19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    208       6    208     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    209       2    209      8          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    209      14    209     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    210       5    210      9          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    210      14    210     22          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    211       8    211     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    212       2    212     18          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    215       8    215     13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    215      14    215     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    216       2    216      6          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    216       7    217     12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    217      13    217     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    218       2    218      9          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    218      10    220     10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    220      11    220     25          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Musslewhite, Robert (CID)    221       2    221     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    222       2    222     16          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    224      18    224     22          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    225       3    225      8          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    226      10    226     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    227       2    227     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    228       2    228     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    229       2    229      3          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    229      18    230      4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    230      20    230     25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    231       2    231      2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    231       7    231     11          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    231      16    231     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    232       2    232      4          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    232      18    232     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    233       2    233     17          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    233      22    233     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    234       2    234     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    235       2    235     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    236       2    236      9          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    237       5    237     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    238       2    238     16          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    238      17    239     15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Musslewhite, Robert (CID)    240      12    240     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    241       2    241     16          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    243      16    243     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    244       2    244     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    245       2    245     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    246       2    246     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    247       2    247     16          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    248      24    248     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    249       2    249     23          PLAINTIFFS PT DESIGNATION


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Transcript                PgFrom LnFrom    PgTo   LnTo          Issues
Musslewhite, Robert (CID)    251       3    251      8          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    254      16    254     21          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    263      15    263     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    264       2    264     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    265       2    265     19          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    270       5    270     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    271       2    271     25          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    272       2    272     24          PLAINTIFFS PT DESIGNATION
Musslewhite, Robert (CID)    278      18    278     23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             14     24     16      7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             18     10     18     17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             18     23     18     25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             19      2     19      3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             19      6     19      9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             19     11     20     25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             21      6     21      7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             21      9     21     17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             21     20     21     20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             21     22     21     25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             22      4     22      5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             22      7     22     11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             22     16     22     18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             22     20     23      2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             23      8     24      7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             24     12     26     24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             29      4     29      5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             29      7     30     13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             30     20     33     18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             33     23     34     10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             34     14     34     23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             35      1     35      5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick             35      7     36     20          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick        37      7       37      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        37     19       37      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        37     23       38       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        38     21       39       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        39      6       39       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        39      8       39      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        39     22       40       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        40      7       41      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        41     16       42      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        42     15       42      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        42     24       43      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        43     25       44      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        45      2       45       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        45      8       45       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        45     11       46      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        46     20       46      22          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        46     24       46      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        47      2       47       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        47      5       47       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        47     18       48       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        48     10       48      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        48     16       48      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        49      3       49       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        49      9       49      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        49     23       50       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        50     11       51       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        52      5       52      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        53     16       53      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        55      9       55      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        55     13       55      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        55     22       56       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        56      6       56       7          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick        56     10       56      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        56     14       56      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        57      2       57       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        57      4       57       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        57     13       58       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        58     18       59       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        59      7       59      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        59     13       59      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        59     21       59      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        59     23       60      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        60     22       60      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        61      1       61       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        61      5       61       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        61     19       61      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        61     24       61      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        62      2       62       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        62      5       62      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        62     14       62      15          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        62     18       62      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        62     20       62      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        62     25       63       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        63      5       63       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        63     10       63      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        63     21       65      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        65     17       65      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        65     22       65      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        66      1       66       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        66      4       66      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        66     18       66      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        68      4       68       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        68     10       68      15          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        68     17       69       4          PLAINTIFFS PT DESIGNATION


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O'Reilly, Roderick        69     15       69      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        69     19       69      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        69     23       70       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        70     17       71       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        71      8       71      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        71     12       73      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        73     22       73      22          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        73     24       74       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        74      5       74      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        74     16       74      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        74     18       75      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        75     13       75      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        75     15       77      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        78     17       78      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        78     21       78      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        79      7       79      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick        79     11       80       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        81      1       81       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        81     19       81      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        81     22       81      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        82      1       82       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        82      8       82      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        83     19       83      22          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        83     25       83      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        84      6       84       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        84      9       84      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        84     13       84      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        84     18       84      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        84     22       85       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        86      2       86       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        86     20       87       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        87     24       88       3          PLAINTIFFS PT DESIGNATION


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O'Reilly, Roderick        88      5       88       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        88      9       88      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        88     19       90      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        90     20       90      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        90     23       91      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        91     19       91      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        91     23       92      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        92     23       93       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        93      3       93      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        93     19       93      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        93     22       93      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        94      1       94       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        94      6       94       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        94     22       95      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        95     16       96       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        96      6       96      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        96     14       96      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        97     11       97      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        97     17       97      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        97     19       97      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        97     21       97      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        98      2       98       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick        98      6      100       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      100      23      101       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      102       5      102      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      103       9      103      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      103      16      103      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      103      20      104       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      104      23      105      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      105      24      107      22          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      107      24      108       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      108       6      108      11          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick      108      13      108      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      108      16      108      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      108      21      108      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      109       2      109      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      109      23      110       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      110       3      112       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      112      20      116      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      116      15      116      15          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      116      21      116      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      117       2      117       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      117       4      117       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      117       6      118      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      119       1      119       3          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      119       5      119       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      119       7      119       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      119      18      119      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      120       2      120       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      120      19      120      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      120      24      121       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      121       9      121      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      122       2      122       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      123       7      123      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      123      14      123      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      124       2      127      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      128      11      128      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      128      15      130       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      130       8      130       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      130      13      130      15          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      130      17      135      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      141      22      141      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      142       1      144       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      144      11      144      13          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick      144      15      146      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      146      25      147       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      147       9      147      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      147      14      147      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      147      20      148       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      148      10      148      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      149       4      152       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      152       4      155       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      155       9      155       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      155      11      155      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      155      20      155      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      155      23      156       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      156       4      156       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      156       7      157       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      157       7      157      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      157      13      157      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      157      15      157      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      157      21      157      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      158       1      158       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      158       3      159       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      159       9      159       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      159      11      159      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      160      21      161      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      161      25      163      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      164       2      164       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      164      24      165       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      165      12      165      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      165      16      166      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      166      15      166      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      166      21      170      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      173       2      173       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      173       8      173      13          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick      173      24      174       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      174       6      175       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      175      17      176       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      176      11      176      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      176      15      177      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      177      19      180       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      180       8      180      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      180      13      180      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      180      22      180      22          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      180      25      180      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      181       2      181       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      181       7      181       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      181      13      181      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      181      19      181      19          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      181      23      181      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      182       2      183      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      183      23      183      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      184       2      185      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      185      14      185      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      185      18      185      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      186       3      186       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      186       9      186      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      186      21      187       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      187       9      187      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      187      13      189      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      189      17      190       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      190      11      190      15          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      191       1      191       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      191       6      191       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      191       9      191      10          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      191      15      192       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      193       9      193      21          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick      193      24      194       4          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      194       6      194      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      195      15      197       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      198      16      199      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      199      20      199      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      200       2      200       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      201       5      201       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      201      14      201      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      201      19      201      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      202      21      202      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      202      25      203      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      203      22      205       9          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      205      19      205      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      206       1      206       2          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      206       4      206       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      206       7      206       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      206      13      206      17          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      207       6      207      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      208      15      208      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      209       8      209      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      209      20      209      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      209      23      209      25          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      210       4      210       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      211      11      211      12          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      211      18      211      18          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      211      22      211      24          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      212       1      213       5          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      213       8      213      13          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      213      17      213      23          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      213      25      216      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      216      13      216      15          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      216      17      217      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
O'Reilly, Roderick      217      20      220      11          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      220      20      222      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      222      19      222      21          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      222      25      223       1          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      223       9      224       7          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      224      25      225       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      225      16      226      20          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      227      10      227      14          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      247      17      248       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      256      22      257       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      261      10      261      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      269      19      270       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      278      22      279       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      279      18      280       6          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      281      14      281      16          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      281      24      282       8          PLAINTIFFS PT DESIGNATION
O'Reilly, Roderick      282      15      282      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      283      15      283      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      284      14      284      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
O'Reilly, Roderick      285      12      285      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris               12     24       14       3          PLAINTIFFS PT DESIGNATION
Pass, Chris               14      6       14       8          PLAINTIFFS PT DESIGNATION
Pass, Chris               14     15       14      16          PLAINTIFFS PT DESIGNATION
Pass, Chris               15     21       16      23          PLAINTIFFS PT DESIGNATION
Pass, Chris               18      8       18      25          PLAINTIFFS PT DESIGNATION
Pass, Chris               19      7       20       5          PLAINTIFFS PT DESIGNATION
Pass, Chris               22      3       22      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris               22     22       23      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris               23     14       24      22          PLAINTIFFS PT DESIGNATION
Pass, Chris               28     18       30      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris               30     22       31       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris               33     13       34       3          PLAINTIFFS PT DESIGNATION


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Transcript    PgFrom LnFrom      PgTo    LnTo          Issues
Pass, Chris        34      4       34       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        39     23       41      11          PLAINTIFFS PT DESIGNATION
Pass, Chris        41     12       42       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        42      3       46      19          PLAINTIFFS PT DESIGNATION
Pass, Chris        46     23       48      22          PLAINTIFFS PT DESIGNATION
Pass, Chris        49     14       50      24          PLAINTIFFS PT DESIGNATION
Pass, Chris        52      2       52      10          PLAINTIFFS PT DESIGNATION
Pass, Chris        53     14       53      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        54      2       54      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        54     22       55       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        55     15       55      25          PLAINTIFFS PT DESIGNATION
Pass, Chris        56     17       56      23          PLAINTIFFS PT DESIGNATION
Pass, Chris        56     24       58       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        58      3       58       9          PLAINTIFFS PT DESIGNATION
Pass, Chris        58     10       58      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        59     18       60      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        61      1       61       5          PLAINTIFFS PT DESIGNATION
Pass, Chris        61      6       61       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        61      9       62       1          PLAINTIFFS PT DESIGNATION
Pass, Chris        62      6       63      24          PLAINTIFFS PT DESIGNATION
Pass, Chris        63     25       64       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        64      6       65       9          PLAINTIFFS PT DESIGNATION
Pass, Chris        69     20       69      23          PLAINTIFFS PT DESIGNATION
Pass, Chris        70     25       71       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        71      4       71      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        71     24       72      12          PLAINTIFFS PT DESIGNATION
Pass, Chris        74      2       74      13          PLAINTIFFS PT DESIGNATION
Pass, Chris        74     14       75      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        75     15       75      19          PLAINTIFFS PT DESIGNATION
Pass, Chris        75     20       76       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        76      6       77       3          PLAINTIFFS PT DESIGNATION
Pass, Chris        77     23       78       3          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Pass, Chris          78      4       79       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris          80     17       80      21          PLAINTIFFS PT DESIGNATION
Pass, Chris          81     10       88      23          PLAINTIFFS PT DESIGNATION
Pass, Chris          89      5       89      12          PLAINTIFFS PT DESIGNATION
Pass, Chris          90      1       90       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris          90      5       91       1          PLAINTIFFS PT DESIGNATION
Pass, Chris          91      2       92      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris          92     23       93       1          PLAINTIFFS PT DESIGNATION
Pass, Chris          94      8       95       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        100      17      108      14          PLAINTIFFS PT DESIGNATION
Pass, Chris        108      25      111       3          PLAINTIFFS PT DESIGNATION
Pass, Chris        113       1      113       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        113       8      115      10          PLAINTIFFS PT DESIGNATION
Pass, Chris        115      14      116      21          PLAINTIFFS PT DESIGNATION
Pass, Chris        117       5      117      12          PLAINTIFFS PT DESIGNATION
Pass, Chris        123       3      123      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        123      20      125      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        125      14      125      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        126       2      126      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        126      18      127      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        128      25      129      13          PLAINTIFFS PT DESIGNATION
Pass, Chris        130      16      130      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        133       6      133      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        134      23      135      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        135      22      135      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        138      24      140       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        140       5      140       9          PLAINTIFFS PT DESIGNATION
Pass, Chris        140      10      140      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        140      18      140      22          PLAINTIFFS PT DESIGNATION
Pass, Chris        140      23      141       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Pass, Chris        142       3      142      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Peresie, Mike        16     10       16      11          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike        16     13       16      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike        17     14       18      10          PLAINTIFFS PT DESIGNATION
Peresie, Mike        18     19       19       7          PLAINTIFFS PT DESIGNATION
Peresie, Mike        20      4       22       7          PLAINTIFFS PT DESIGNATION
Peresie, Mike        39     11       42      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike        43      6       46       7          PLAINTIFFS PT DESIGNATION
Peresie, Mike        46     10       49      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike        52      6       53      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike        55     19       57       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike        58     10       58      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike        58     21       62       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike        72     22       73       7          PLAINTIFFS PT DESIGNATION
Peresie, Mike        74     22       76       6          PLAINTIFFS PT DESIGNATION
Peresie, Mike        77      6       77      13          PLAINTIFFS PT DESIGNATION
Peresie, Mike        82     14       85      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike        87     16       88       1          PLAINTIFFS PT DESIGNATION
Peresie, Mike        89      9       91      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike        96     22       97      21          PLAINTIFFS PT DESIGNATION
Peresie, Mike      107      11      107      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike      112       5      112      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike      116      18      117      14          PLAINTIFFS PT DESIGNATION
Peresie, Mike      125       4      125       7          PLAINTIFFS PT DESIGNATION
Peresie, Mike      125      13      126       1          PLAINTIFFS PT DESIGNATION
Peresie, Mike      126       8      126      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike      128       1      128       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike      128       9      128      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike      136       7      136      13          PLAINTIFFS PT DESIGNATION
Peresie, Mike      136      20      137       4          PLAINTIFFS PT DESIGNATION
Peresie, Mike      139       8      139      13          PLAINTIFFS PT DESIGNATION
Peresie, Mike      140      15      140      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike      141      12      141      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike      142      10      142      13          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike      143       2      143      10          PLAINTIFFS PT DESIGNATION
Peresie, Mike      144      20      145       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike      145      13      145      21          PLAINTIFFS PT DESIGNATION
Peresie, Mike      146       8      146      14          PLAINTIFFS PT DESIGNATION
Peresie, Mike      147       5      149       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike      152       5      153      10          PLAINTIFFS PT DESIGNATION
Peresie, Mike      157       3      158       8          PLAINTIFFS PT DESIGNATION
Peresie, Mike      163      19      164      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike      166       9      166      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike      174       3      174      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike      175      21      176       4          PLAINTIFFS PT DESIGNATION
Peresie, Mike      176      19      177       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike      178      17      179       6          PLAINTIFFS PT DESIGNATION
Peresie, Mike      180       3      180      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike      184      14      186      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike      218       2      218       8          PLAINTIFFS PT DESIGNATION
Peresie, Mike      219       2      219      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike      223      16      226      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike      230      14      230      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike      235       8      236      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike      243      10      244       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike      245       5      245      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike      246      14      246      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike      246      21      247       6          PLAINTIFFS PT DESIGNATION
Peresie, Mike      250       1      250       9          PLAINTIFFS PT DESIGNATION
Peresie, Mike      250      15      250      21          PLAINTIFFS PT DESIGNATION
Peresie, Mike      251       6      252       6          PLAINTIFFS PT DESIGNATION
Peresie, Mike      252       8      252      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike      252      14      254       1          PLAINTIFFS PT DESIGNATION
Peresie, Mike      254      16      254      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike      255       8      255      13          PLAINTIFFS PT DESIGNATION
Peresie, Mike      256       3      256      10          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike            256      16      258      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike            260       7      260      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike            262       4      264       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike            267       8      267      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike            276       2      279       1          PLAINTIFFS PT DESIGNATION
Peresie, Mike            280       4      280      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike            281      20      282       8          PLAINTIFFS PT DESIGNATION
Peresie, Mike            298      10      298      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike            298      17      299      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike            302      18      302      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike            303       5      303      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike            328      19      329       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike            329      15      330       6          PLAINTIFFS PT DESIGNATION
Peresie, Mike            336      12      337       6          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)         4     16        4      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        11      2       11      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        12      2       12      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        13      2       13      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        14      2       14      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        15      2       15      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        16      2       16      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        17      2       17      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        18      2       18      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        19      2       19      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        20      2       20      10          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        20     24       20      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        21      2       21      17          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        22     11       22      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        23      2       23      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        27      6       27      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        29     10       29      23          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        31     24       31      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike (CID)        32      2       32      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        33      2       33      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        34     10       34      17          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        35      7       35      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        36      2       36      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        37      2       37      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        38      2       38      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        39      2       39      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        40      2       40      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        41      2       41       9          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        41     15       41      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        42      2       42      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        43      2       43      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        44      2       44      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        45      2       45      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        46      2       46      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        47      2       47      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        48      2       48      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        49      2       49      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        50      2       50      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        51      2       51      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        52      2       52      23          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        53      7       53      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        55     23       55      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        56      2       56       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        56     13       56      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        57     25       57      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        58      2       58      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        59      2       59      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        60      2       60       9          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        60     17       60      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        61      2       61      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike (CID)        62      2       62      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        62     23       62      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        63      2       63      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        64      2       64      14          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        65     13       65      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        66     23       66      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        67      2       67      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        68     12       68      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        69      2       69      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        70      2       70      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        71      2       71      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        72      2       72      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        73      2       73      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        74      2       74      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        75      2       75      14          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        77     17       77      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        78      2       78      17          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        81     23       81      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        82      2       82      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        83     14       83      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        84     10       84      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        87      3       87      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        88      2       88      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        89      2       89      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        90      2       90      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        91      2       91      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        92      2       92      15          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        94      2       94      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)        95      2       95      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      102       5      102      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      103       3      103      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      105       6      105      16          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike (CID)      112      16      112      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      113       2      113      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      114       2      114      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      123       8      123      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      124       4      124      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      126       6      126      21          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      127       5      127       9          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      127      16      127      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      128       2      128      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      128      16      128      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      129       2      129      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      130       2      130      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      131       2      131      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      132       2      132       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      133      19      133      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      136       2      136      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      137       2      137      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      138       2      138       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      147       2      147      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      148       2      148      21          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      149      18      149      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      150       2      150      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      151       2      151      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      152       2      152       4          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      152      18      152      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      153       2      153       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      153      11      153      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      154       2      154      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      155       2      155       7          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      158      11      158      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      159       2      159      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      160      11      160      25          PLAINTIFFS PT DESIGNATION


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Peresie, Mike (CID)      161       2      161      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      164       5      164      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      168       3      168      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      169       2      169      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      170       2      170      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      171       2      171      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      172       2      172      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      172      25      172      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      173       2      173      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      173      24      173      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      174       2      174      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      177      12      177      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      178       2      178      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      179       2      179       2          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      180       5      180      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      181       2      181      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      182       2      182      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      183       2      183      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      184       2      184      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      185       2      185      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      186       2      186      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      187       2      187      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      189       3      189      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      190       2      190      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      191       2      191      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      192       2      192      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      193       2      193      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      194       2      194      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      194      25      194      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      195       2      195      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      196       2      196      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      197       2      197      25          PLAINTIFFS PT DESIGNATION


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Peresie, Mike (CID)      198       2      198      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      199       2      199      13          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      202       4      202      11          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      202      16      202      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      203       2      203      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      204       2      204      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      205       2      205      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      206       2      206      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      207       2      207      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      208       2      208      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      209      25      209      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      210       2      210      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      210      21      210      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      211       2      211      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      215       9      215      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      216       2      216      12          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      222      13      222      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      223       2      223      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      224       6      224      14          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      224      19      224      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      225       2      225       9          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      226       7      226      23          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      227      21      227      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      228       2      228      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      229       2      229      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      230       2      230       5          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      231       5      231      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      232       2      232      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      233       2      233      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      234       2      234      19          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      235      21      235      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      236       2      236      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike (CID)      237       2      237      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      238       2      238      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      239       2      239      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      240       2      240      23          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      241      25      241      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      242       2      242      17          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      244      25      244      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      245       2      245      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      246      21      246      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      247       2      247      17          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      248      17      248      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      249       2      249       9          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      258       2      258      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      259      20      259      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      260       4      260      22          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      261       6      261      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      261      22      261      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      262       2      262       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      262       8      262      13          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      267      17      267      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      268      12      268      18          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      269      15      269      21          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      270       5      270      10          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      275      11      275      24          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      278      21      278      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      279       2      279       4          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      279       9      279      20          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      281      21      281      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      282       2      282      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      283       2      283      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      284       2      284       3          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      285       4      285      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Peresie, Mike (CID)      286       2      286      16          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      287       4      287      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      292      24      292      25          PLAINTIFFS PT DESIGNATION
Peresie, Mike (CID)      293       2      293       2          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          17     16       18      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          21     16       22      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          23     16       23      19          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          35     14       36      18          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          36     20       37       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          37     10       39      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          40      6       40      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          40     18       40      21          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          43     17       44       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          44      4       44      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)          46     16       47       2          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          49     11       49      25          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          50     21       51      15          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          52      3       52      11          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          52     20       53       4          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          53      5       53      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)          54      6       55      23          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          56      6       57       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          63     14       64       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          64      6       64       9          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          65     25       66      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          68      4       68      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          69     24       71      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          71     19       71      22          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          71     24       73       2          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          73      4       73       4          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          74      3       74      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)          75     24       75      24          PLAINTIFFS PT DESIGNATION


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Raj, Nehal (30b6)        76      2       76       6          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        76     23       78      14          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        84      7       85       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        85     21       87       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        89      3       90      19          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        91      5       91       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        91      9       91      15          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        92     12       92      14          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        92     16       93       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        93      5       93       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        93      9       93      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        95      8       95      10          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        95     13       95      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        95     19       97      18          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        97     20       98       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)        98     22       99       9          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      104      23      105      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      107      24      108       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)      108       3      108      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)      108      18      108      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)      110      15      110      15          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      110      17      110      20          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      110      25      112      10          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      113       2      113      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      114       4      114      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)      114      25      116       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      116      10      117       2          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      117       4      117       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      117       7      117      15          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      117      17      117      21          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      121      17      122       4          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      122      16      122      21          PLAINTIFFS PT DESIGNATION


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Raj, Nehal (30b6)      123       6      127       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      129      25      130       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Raj, Nehal (30b6)      133       6      133       6          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      133       8      133      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      133      18      135      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      137      23      139      22          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      142       7      143       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      148      11      149       4          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      149       6      149      11          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      149      13      151       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      155      23      155      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      156       1      156       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      156       9      157      25          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      158      10      158      10          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      158      14      158      20          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      159       4      164       6          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      166      14      167      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      168       1      168      10          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      168      12      168      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      168      15      169       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      169       7      169      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      169      18      170      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      173      15      174      14          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      175       2      175       9          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      175      24      176       1          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      176      17      177       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      178      18      179      14          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      179      16      180       1          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      180       3      180      19          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      182      15      183      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      186      15      187       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      193       2      193       4          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Raj, Nehal (30b6)      193       6      193       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      199      21      200      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      200      18      200      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      201       1      201       6          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      201       8      201       9          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      201      12      201      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      201      18      201      21          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      203      25      205       4          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      208       8      209      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      209      16      209      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      209      18      209      21          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      209      25      210      20          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      210      22      211       1          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      212      22      214       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      214       7      214      20          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      221      13      221      15          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      221      18      221      25          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      222       2      222       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      222       5      222      23          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      222      25      223       1          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      223       4      223       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      225      17      225      25          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      226       3      226       3          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      226       5      228       1          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      229      16      229      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      229      18      229      22          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      230       1      233       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      234      14      234      16          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      234      18      234      20          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      235      11      235      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      235      20      235      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      236       4      236      18          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Raj, Nehal (30b6)      237       7      238       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      240      11      241       6          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      242       3      243       7          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      243       9      243      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      243      19      244      23          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      246      15      246      15          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      246      17      247      22          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      249      11      249      21          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      249      24      249      24          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      250       2      250       6          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      250      11      252       1          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      254      18      255      19          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      257      19      257      20          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      257      22      258       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      258      10      259      19          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      259      21      260      12          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      260      14      261      22          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      261      25      261      25          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      262       2      262       9          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      262      10      262      19          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      286       5      286       5          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      286       7      286      13          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      286      16      286      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      292       7      294      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      294      20      295      12          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      302      10      302      17          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      302      19      303      21          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      303      23      305      18          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      306       3      306       4          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      306       7      307       8          PLAINTIFFS PT DESIGNATION
Raj, Nehal (30b6)      308       9      310       2          PLAINTIFFS PT DESIGNATION
Rex, John (CID)          11      7       11      15          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Rex, John (CID)        16     19       17       1          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        19     18       21       3          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        21      7       22       8          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        23     19       24      13          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        26     18       28      21          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        30     11       30      14          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        31     16       32       5          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        33     15       34      14          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        36     18       37       2          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        38      9       38      18          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        39      1       40       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        45     12       46      12          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        47     10       48       6          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        48     11       50       2          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        52      9       52      13          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        59     16       62      11          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        64      3       64      16          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        65     19       65      21          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        66      5       66      16          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        67     15       67      21          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        68      2       68       5          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        68      7       69       9          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        69     12       69      13          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        70      2       70       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        72      3       72      15          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        72     19       73       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)        76     18       77       6          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        81     20       82      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        83      8       83      15          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        84      4       84      12          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        85      3       85      11          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        86      7       88       2          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Rex, John (CID)        88     21       89       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        91     19       92       5          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        92     22       93      18          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        94     21       96       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        97     10       97      14          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        97     22       98       5          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        98     19       99       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)        99     16       99      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      100       1      100      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      105       2      105       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)      105      11      106      13          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      107       3      107      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      108      14      109      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)      110      22      111       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)      112      12      113       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      113      17      114       2          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      114       4      114       6          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      114      14      115       6          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      116       5      116      18          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      119       1      119      10          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      119      18      119      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      120       1      120      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      122       8      122      18          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      123       6      123      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      123      19      124      16          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      125       1      125       6          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      126       8      126      12          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      126      13      127       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      131      16      132       9          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      134      18      135      14          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      135      16      137       1          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      137      19      137      21          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Rex, John (CID)      139       9      139      16          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      142       7      142      15          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      143       7      143      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      144       2      144      12          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      145       5      146       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      146       8      146       9          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      146      16      147       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      148       8      148      18          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      150      10      150      16          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      150      17      151       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      151       8      151      11          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      152       6      152      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      153       1      153       5          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      153      20      154       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      155       7      156      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      157      14      157      19          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      158       1      158       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      158       6      158       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      158      10      158      19          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      159      16      160       9          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      171      20      172       4          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      172      15      172      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      173      11      174       3          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      174      12      174      19          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      175       5      176      19          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      177      13      177      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      179      12      180       8          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      189      13      189      21          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      191       7      192       5          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      193      14      194       3          PLAINTIFFS PT DESIGNATION
Rex, John (CID)      195       5      195      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)      196      14      197       2          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rex, John (CID)             197      13      197      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             198       3      199      22          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             200       7      200       8          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             201       2      201       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)             217       9      218       2          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             220       5      221      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)             223       3      224      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rex, John (CID)             236      22      237       7          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             239      13      239      17          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             244      21      245      11          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             247      17      248       2          PLAINTIFFS PT DESIGNATION
Rex, John (CID)             248       3      249       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        16      4       16       8          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        17     23       18       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        18      8       18      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        18     25       19      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        19     25       20      14          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        22      9       22      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        23     21       25      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        25     21       26       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        26      3       26       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        26     10       27       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        27      3       27       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        27      8       27      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        27     23       28      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        29      5       29      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        29     25       30      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        32     12       33      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        33     18       33      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        33     24       33      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        34      2       34       9          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        34     11       35       5          PLAINTIFFS PT DESIGNATION


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Rhodes, Jeffery (30b6)        35      7       35       8          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        35     21       36      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        37     22       37      22          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        37     24       38       1          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        38      3       38      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        38     23       39       5          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        40     18       40      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        40     23       41       6          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        41     12       41      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        41     15       41      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        41     18       41      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        41     23       42       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        42      8       42      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        44     21       45       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        45      8       45      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        45     14       45      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        45     20       46       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        46      6       46       9          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        46     11       46      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        46     14       46      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        48     13       48      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        48     16       48      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        48     18       49       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        49     10       49      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        51     24       52       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        52      3       52       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        52      5       52       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        52      7       52      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        55      7       56       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        56      8       56      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        56     12       57      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        58     14       58      15          PLAINTIFFS PT DESIGNATION


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Rhodes, Jeffery (30b6)        58     17       59       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        59      3       60       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        60      3       60       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        61      1       61       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        61      4       61      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        61     16       62       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        62      3       62       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        62      5       62       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        62      8       62      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        62     16       62      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        62     21       63      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        63     22       63      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        64      9       64      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        64     12       64      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        64     14       65       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        65      5       65      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        65     12       65      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        65     15       65      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        65     19       65      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        65     23       65      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        65     25       66       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        66      4       66       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        66      6       66       8          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        66     10       66      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        66     17       66      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        67      5       69      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        69     23       69      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        69     25       70       8          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        70     11       70      11          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        70     13       71      24          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        72     10       72      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        72     19       72      21          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rhodes, Jeffery (30b6)        72     23       72      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        73     11       73      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        74      7       74      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        77      8       77      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        77     19       78       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)        78      7       79      11          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        79     13       79      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        81     14       81      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        82      3       82       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        82      7       82      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        83     17       87      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        87     25       89      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        90      3       90       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        90      9       93      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        94     15       94      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        95     21       96      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        97      9       97      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        97     17       97      24          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        98     19       98      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        98     24       98      24          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        99      6       99      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)        99     15      103      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      104      10      104      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      104      14      104      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      104      18      104      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      104      20      104      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      104      23      105       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      105      10      106       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      106       8      106       9          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      106      11      106      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      106      15      106      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      106      24      108      19          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rhodes, Jeffery (30b6)      108      24      109      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      109      14      109      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      109      18      110       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      110      22      110      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      112       4      112       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      113       1      114      11          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      114      13      114      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      114      20      115      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      115      15      115      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      116       6      118      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      119       7      119      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      120      16      120      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      121       2      121      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      122      13      122      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      123      14      126       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      126      23      129      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      130      19      131       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      131       8      131      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      131      22      131      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      131      25      132       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      132       3      132       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      132       6      132       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      132       9      132      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      132      19      133       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      133       6      133       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      134       7      134      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      134      22      136       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      136       5      138      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      138      14      138      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      138      24      139       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      139      11      140       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      140      23      141      13          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rhodes, Jeffery (30b6)      141      15      141      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      141      19      141      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      141      22      142       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      142       5      144       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      144       6      144       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      144       9      144      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      145      15      146      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      151       6      153      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      160       1      163       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      165       6      165      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      165      20      165      24          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      166       1      166       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      166       7      167       8          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      167      10      167      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      168       7      168      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      168      22      168      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      170       8      170      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      171       3      171      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      171      14      172      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      173       7      174      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      176       6      176      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      177       1      177       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      178      12      178      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      178      25      179      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      181       3      181      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      182       3      182       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      182      10      182      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      182      15      182      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      183       2      183       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      183       7      183      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      184      17      186       9          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      187      25      188      18          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rhodes, Jeffery (30b6)      188      21      188      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      189       3      189       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      189       9      189      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      191       2      191      11          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      192       2      192      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      193       9      194       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      194       7      194      22          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      196      13      197       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      197      19      198      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      199      13      200       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      201       9      202       6          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      203       3      203      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      205      10      205      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      205      17      206       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      206       6      207       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      207       7      208       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      208       7      208      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      208      13      212      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      213       2      213       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      213       4      213      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      215       1      215      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      215      20      216       2          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      216       4      216      12          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      217       1      217      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      222       3      222      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      222      22      223       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      223       5      224      13          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      225      12      227       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      228       4      237       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      238       9      238      12          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      238      13      238      19          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      238      21      239       5          PLAINTIFFS PT COUNTER-DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rhodes, Jeffery (30b6)      239       7      239      17          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      239      20      240       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      240       6      241      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      243       5      243      21          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      243      23      244       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      244      17      244      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      246      25      247      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      253      15      253      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      253      18      254       1          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      254       3      255       5          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      257      12      258       9          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      259      16      260      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      262      19      263       3          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      267      12      267      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      268       1      268       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      268       6      268       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      268      10      268      14          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      272       1      273       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      273       9      273      18          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      274       7      274      16          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      274      25      275       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      275       5      276      10          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      276      24      277      23          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      277      24      278       3          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      281       7      281      15          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      282       2      283       7          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      283      17      283      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      283      25      284       4          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      285      12      286      19          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      286      20      288       1          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      289       4      289       6          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      293       5      293      14          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Rhodes, Jeffery (30b6)      294       4      294      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      295      22      295      25          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      297       6      297      20          PLAINTIFFS PT DESIGNATION
Rhodes, Jeffery (30b6)      318      15      319       7          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      319      18      320      24          PLAINTIFFS PT COUNTER-DESIGNATION
Rhodes, Jeffery (30b6)      321       1      322       5          PLAINTIFFS PT COUNTER-DESIGNATION
Root, Paul                    10     25       12      12          PLAINTIFFS PT DESIGNATION
Root, Paul                    13      4       13       9          PLAINTIFFS PT DESIGNATION
Root, Paul                    13     13       14       1          PLAINTIFFS PT DESIGNATION
Root, Paul                    14      7       16       5          PLAINTIFFS PT DESIGNATION
Root, Paul                    16     19       16      22          PLAINTIFFS PT DESIGNATION
Root, Paul                    16     24       16      25          PLAINTIFFS PT DESIGNATION
Root, Paul                    17      2       18      16          PLAINTIFFS PT DESIGNATION
Root, Paul                    18     21       19      15          PLAINTIFFS PT DESIGNATION
Root, Paul                    20      5       23       4          PLAINTIFFS PT DESIGNATION
Root, Paul                    23      6       23       7          PLAINTIFFS PT DESIGNATION
Root, Paul                    23      9       23      14          PLAINTIFFS PT DESIGNATION
Root, Paul                    23     16       23      16          PLAINTIFFS PT DESIGNATION
Root, Paul                    23     25       24       2          PLAINTIFFS PT DESIGNATION
Root, Paul                    24     17       24      19          PLAINTIFFS PT DESIGNATION
Root, Paul                    24     23       24      25          PLAINTIFFS PT DESIGNATION
Root, Paul                    25      4       25       7          PLAINTIFFS PT DESIGNATION
Root, Paul                    25     10       25      10          PLAINTIFFS PT DESIGNATION
Root, Paul                    25     12       25      17          PLAINTIFFS PT DESIGNATION
Root, Paul                    25     19       26      22          PLAINTIFFS PT DESIGNATION
Root, Paul                    26     24       27       1          PLAINTIFFS PT DESIGNATION
Root, Paul                    27      3       29       2          PLAINTIFFS PT DESIGNATION
Root, Paul                    29      6       29      12          PLAINTIFFS PT DESIGNATION
Root, Paul                    29     16       30       4          PLAINTIFFS PT DESIGNATION
Root, Paul                    30     12       30      13          PLAINTIFFS PT DESIGNATION
Root, Paul                    30     17       30      18          PLAINTIFFS PT DESIGNATION
Root, Paul                    30     24       31       1          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul        31      3       31       6          PLAINTIFFS PT DESIGNATION
Root, Paul        31      8       31      10          PLAINTIFFS PT DESIGNATION
Root, Paul        31     20       32       3          PLAINTIFFS PT DESIGNATION
Root, Paul        32      5       32      13          PLAINTIFFS PT DESIGNATION
Root, Paul        32     15       32      20          PLAINTIFFS PT DESIGNATION
Root, Paul        32     22       32      23          PLAINTIFFS PT DESIGNATION
Root, Paul        32     25       34       5          PLAINTIFFS PT DESIGNATION
Root, Paul        34     10       34      23          PLAINTIFFS PT DESIGNATION
Root, Paul        35      3       35      11          PLAINTIFFS PT DESIGNATION
Root, Paul        35     17       35      17          PLAINTIFFS PT DESIGNATION
Root, Paul        35     19       35      24          PLAINTIFFS PT DESIGNATION
Root, Paul        36      1       36       5          PLAINTIFFS PT DESIGNATION
Root, Paul        36      8       36       8          PLAINTIFFS PT DESIGNATION
Root, Paul        36     10       36      24          PLAINTIFFS PT DESIGNATION
Root, Paul        37      2       37       2          PLAINTIFFS PT DESIGNATION
Root, Paul        37      4       37       5          PLAINTIFFS PT DESIGNATION
Root, Paul        37      7       37       9          PLAINTIFFS PT DESIGNATION
Root, Paul        37     11       38       6          PLAINTIFFS PT DESIGNATION
Root, Paul        38      9       38      12          PLAINTIFFS PT DESIGNATION
Root, Paul        38     14       38      24          PLAINTIFFS PT DESIGNATION
Root, Paul        39      2       39       2          PLAINTIFFS PT DESIGNATION
Root, Paul        39      4       39       9          PLAINTIFFS PT DESIGNATION
Root, Paul        39     12       40      21          PLAINTIFFS PT DESIGNATION
Root, Paul        41     10       42       4          PLAINTIFFS PT DESIGNATION
Root, Paul        43      2       44       9          PLAINTIFFS PT DESIGNATION
Root, Paul        44     25       44      25          PLAINTIFFS PT DESIGNATION
Root, Paul        45      9       45      13          PLAINTIFFS PT DESIGNATION
Root, Paul        45     17       45      22          PLAINTIFFS PT DESIGNATION
Root, Paul        45     25       47      12          PLAINTIFFS PT DESIGNATION
Root, Paul        47     13       47      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Root, Paul        48     11       51       2          PLAINTIFFS PT DESIGNATION
Root, Paul        51      5       51       5          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul        51      7       51      13          PLAINTIFFS PT DESIGNATION
Root, Paul        51     16       53       4          PLAINTIFFS PT DESIGNATION
Root, Paul        53      7       53      15          PLAINTIFFS PT DESIGNATION
Root, Paul        53     17       53      18          PLAINTIFFS PT DESIGNATION
Root, Paul        53     20       56      10          PLAINTIFFS PT DESIGNATION
Root, Paul        56     12       56      14          PLAINTIFFS PT DESIGNATION
Root, Paul        56     16       57      16          PLAINTIFFS PT DESIGNATION
Root, Paul        57     20       58      23          PLAINTIFFS PT DESIGNATION
Root, Paul        59      5       59      19          PLAINTIFFS PT DESIGNATION
Root, Paul        59     22       59      22          PLAINTIFFS PT DESIGNATION
Root, Paul        59     24       60       8          PLAINTIFFS PT DESIGNATION
Root, Paul        60     11       60      25          PLAINTIFFS PT DESIGNATION
Root, Paul        61      5       62       6          PLAINTIFFS PT DESIGNATION
Root, Paul        62     10       62      12          PLAINTIFFS PT DESIGNATION
Root, Paul        62     15       62      16          PLAINTIFFS PT DESIGNATION
Root, Paul        62     18       63       3          PLAINTIFFS PT DESIGNATION
Root, Paul        63      9       64      14          PLAINTIFFS PT DESIGNATION
Root, Paul        64     20       65      17          PLAINTIFFS PT DESIGNATION
Root, Paul        66      6       66       9          PLAINTIFFS PT DESIGNATION
Root, Paul        66     11       66      14          PLAINTIFFS PT DESIGNATION
Root, Paul        66     16       67      23          PLAINTIFFS PT DESIGNATION
Root, Paul        68      1       68       1          PLAINTIFFS PT DESIGNATION
Root, Paul        68      3       68      10          PLAINTIFFS PT DESIGNATION
Root, Paul        68     15       69       6          PLAINTIFFS PT DESIGNATION
Root, Paul        69     18       69      23          PLAINTIFFS PT DESIGNATION
Root, Paul        69     25       70       1          PLAINTIFFS PT DESIGNATION
Root, Paul        70      3       70       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Root, Paul        70      7       70       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Root, Paul        70     23       71       1          PLAINTIFFS PT DESIGNATION
Root, Paul        71      2       71       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Root, Paul        71      6       71       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Root, Paul        71     11       72      22          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul        72     25       73       1          PLAINTIFFS PT DESIGNATION
Root, Paul        73      3       74      20          PLAINTIFFS PT DESIGNATION
Root, Paul        75      1       75       3          PLAINTIFFS PT DESIGNATION
Root, Paul        75      5       75       6          PLAINTIFFS PT DESIGNATION
Root, Paul        75      8       75      21          PLAINTIFFS PT DESIGNATION
Root, Paul        76     12       76      22          PLAINTIFFS PT DESIGNATION
Root, Paul        76     24       76      25          PLAINTIFFS PT DESIGNATION
Root, Paul        77      2       77       5          PLAINTIFFS PT DESIGNATION
Root, Paul        77     20       78      19          PLAINTIFFS PT DESIGNATION
Root, Paul        78     25       78      25          PLAINTIFFS PT DESIGNATION
Root, Paul        79      2       79      16          PLAINTIFFS PT DESIGNATION
Root, Paul        80      8       80      15          PLAINTIFFS PT DESIGNATION
Root, Paul        81      1       81       9          PLAINTIFFS PT DESIGNATION
Root, Paul        81     13       82      10          PLAINTIFFS PT DESIGNATION
Root, Paul        82     15       83       6          PLAINTIFFS PT DESIGNATION
Root, Paul        83      8       83       9          PLAINTIFFS PT DESIGNATION
Root, Paul        83     11       83      12          PLAINTIFFS PT DESIGNATION
Root, Paul        83     14       83      15          PLAINTIFFS PT DESIGNATION
Root, Paul        83     17       83      19          PLAINTIFFS PT DESIGNATION
Root, Paul        83     21       83      24          PLAINTIFFS PT DESIGNATION
Root, Paul        85     15       86       1          PLAINTIFFS PT DESIGNATION
Root, Paul        86      3       86       6          PLAINTIFFS PT DESIGNATION
Root, Paul        86      8       86      24          PLAINTIFFS PT DESIGNATION
Root, Paul        87      2       87       4          PLAINTIFFS PT DESIGNATION
Root, Paul        87      6       88       8          PLAINTIFFS PT DESIGNATION
Root, Paul        88     17       88      25          PLAINTIFFS PT DESIGNATION
Root, Paul        89      6       89       7          PLAINTIFFS PT DESIGNATION
Root, Paul        89     13       90       6          PLAINTIFFS PT DESIGNATION
Root, Paul        90     19       90      23          PLAINTIFFS PT DESIGNATION
Root, Paul        90     25       91       1          PLAINTIFFS PT DESIGNATION
Root, Paul        91      3       91      14          PLAINTIFFS PT DESIGNATION
Root, Paul        91     21       91      22          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul        91     24       93      10          PLAINTIFFS PT DESIGNATION
Root, Paul        93     12       93      14          PLAINTIFFS PT DESIGNATION
Root, Paul        93     16       94      22          PLAINTIFFS PT DESIGNATION
Root, Paul        95      7       95       9          PLAINTIFFS PT DESIGNATION
Root, Paul        95     12       95      15          PLAINTIFFS PT DESIGNATION
Root, Paul        95     17       96       6          PLAINTIFFS PT DESIGNATION
Root, Paul        96     14       96      17          PLAINTIFFS PT DESIGNATION
Root, Paul        96     21       97       2          PLAINTIFFS PT DESIGNATION
Root, Paul        97      9       97       9          PLAINTIFFS PT DESIGNATION
Root, Paul        97     11       97      19          PLAINTIFFS PT DESIGNATION
Root, Paul        99      7      100       2          PLAINTIFFS PT DESIGNATION
Root, Paul      100      10      100      24          PLAINTIFFS PT DESIGNATION
Root, Paul      101       9      101      11          PLAINTIFFS PT DESIGNATION
Root, Paul      101      19      102       1          PLAINTIFFS PT DESIGNATION
Root, Paul      102       4      102       7          PLAINTIFFS PT DESIGNATION
Root, Paul      102       9      102       9          PLAINTIFFS PT DESIGNATION
Root, Paul      102      11      102      15          PLAINTIFFS PT DESIGNATION
Root, Paul      102      21      102      23          PLAINTIFFS PT DESIGNATION
Root, Paul      103       1      103       6          PLAINTIFFS PT DESIGNATION
Root, Paul      103      11      104       1          PLAINTIFFS PT DESIGNATION
Root, Paul      104       3      104       5          PLAINTIFFS PT DESIGNATION
Root, Paul      104       7      104      10          PLAINTIFFS PT DESIGNATION
Root, Paul      104      16      106       5          PLAINTIFFS PT DESIGNATION
Root, Paul      106       9      106      15          PLAINTIFFS PT DESIGNATION
Root, Paul      106      23      107      19          PLAINTIFFS PT DESIGNATION
Root, Paul      108       6      108      19          PLAINTIFFS PT DESIGNATION
Root, Paul      109       5      110       2          PLAINTIFFS PT DESIGNATION
Root, Paul      112      12      112      21          PLAINTIFFS PT DESIGNATION
Root, Paul      112      23      113       2          PLAINTIFFS PT DESIGNATION
Root, Paul      113      14      114      17          PLAINTIFFS PT DESIGNATION
Root, Paul      115       9      115      21          PLAINTIFFS PT DESIGNATION
Root, Paul      116       2      116      20          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul      116      23      116      23          PLAINTIFFS PT DESIGNATION
Root, Paul      116      25      117       4          PLAINTIFFS PT DESIGNATION
Root, Paul      117       7      119      13          PLAINTIFFS PT DESIGNATION
Root, Paul      119      16      119      18          PLAINTIFFS PT DESIGNATION
Root, Paul      119      20      119      24          PLAINTIFFS PT DESIGNATION
Root, Paul      120       1      120       4          PLAINTIFFS PT DESIGNATION
Root, Paul      120       6      120       8          PLAINTIFFS PT DESIGNATION
Root, Paul      120      10      120      11          PLAINTIFFS PT DESIGNATION
Root, Paul      120      13      120      16          PLAINTIFFS PT DESIGNATION
Root, Paul      120      19      120      22          PLAINTIFFS PT DESIGNATION
Root, Paul      120      24      121      18          PLAINTIFFS PT DESIGNATION
Root, Paul      121      25      122      10          PLAINTIFFS PT DESIGNATION
Root, Paul      122      12      122      14          PLAINTIFFS PT DESIGNATION
Root, Paul      122      16      123       6          PLAINTIFFS PT DESIGNATION
Root, Paul      123       8      123       9          PLAINTIFFS PT DESIGNATION
Root, Paul      123      11      123      16          PLAINTIFFS PT DESIGNATION
Root, Paul      123      18      123      19          PLAINTIFFS PT DESIGNATION
Root, Paul      123      21      125      11          PLAINTIFFS PT DESIGNATION
Root, Paul      125      18      125      23          PLAINTIFFS PT DESIGNATION
Root, Paul      125      25      126       2          PLAINTIFFS PT DESIGNATION
Root, Paul      126       4      126      23          PLAINTIFFS PT DESIGNATION
Root, Paul      128       9      128      11          PLAINTIFFS PT DESIGNATION
Root, Paul      128      14      128      14          PLAINTIFFS PT DESIGNATION
Root, Paul      128      16      128      23          PLAINTIFFS PT DESIGNATION
Root, Paul      128      25      129       3          PLAINTIFFS PT DESIGNATION
Root, Paul      129       5      129       5          PLAINTIFFS PT DESIGNATION
Root, Paul      129       7      129       8          PLAINTIFFS PT DESIGNATION
Root, Paul      129      10      129      11          PLAINTIFFS PT DESIGNATION
Root, Paul      129      15      129      15          PLAINTIFFS PT DESIGNATION
Root, Paul      129      17      132      11          PLAINTIFFS PT DESIGNATION
Root, Paul      132      16      132      18          PLAINTIFFS PT DESIGNATION
Root, Paul      133       7      133      15          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul      133      20      133      24          PLAINTIFFS PT DESIGNATION
Root, Paul      134       4      134      11          PLAINTIFFS PT DESIGNATION
Root, Paul      134      14      134      14          PLAINTIFFS PT DESIGNATION
Root, Paul      134      16      134      24          PLAINTIFFS PT DESIGNATION
Root, Paul      135       1      137      22          PLAINTIFFS PT DESIGNATION
Root, Paul      137      25      137      25          PLAINTIFFS PT DESIGNATION
Root, Paul      138       2      138      24          PLAINTIFFS PT DESIGNATION
Root, Paul      139       3      140       9          PLAINTIFFS PT DESIGNATION
Root, Paul      140      12      140      12          PLAINTIFFS PT DESIGNATION
Root, Paul      141       1      141       1          PLAINTIFFS PT DESIGNATION
Root, Paul      141       3      141       7          PLAINTIFFS PT DESIGNATION
Root, Paul      141      10      142       9          PLAINTIFFS PT DESIGNATION
Root, Paul      142      14      142      21          PLAINTIFFS PT DESIGNATION
Root, Paul      143      10      143      13          PLAINTIFFS PT DESIGNATION
Root, Paul      143      16      143      18          PLAINTIFFS PT DESIGNATION
Root, Paul      144       1      144       5          PLAINTIFFS PT DESIGNATION
Root, Paul      144       9      144      17          PLAINTIFFS PT DESIGNATION
Root, Paul      144      22      144      22          PLAINTIFFS PT DESIGNATION
Root, Paul      144      25      145       4          PLAINTIFFS PT DESIGNATION
Root, Paul      145       7      146      10          PLAINTIFFS PT DESIGNATION
Root, Paul      146      16      147       9          PLAINTIFFS PT DESIGNATION
Root, Paul      148       5      148       5          PLAINTIFFS PT DESIGNATION
Root, Paul      148       7      148      11          PLAINTIFFS PT DESIGNATION
Root, Paul      148      14      150       4          PLAINTIFFS PT DESIGNATION
Root, Paul      150       6      150       8          PLAINTIFFS PT DESIGNATION
Root, Paul      151       7      153       5          PLAINTIFFS PT DESIGNATION
Root, Paul      153      18      153      18          PLAINTIFFS PT DESIGNATION
Root, Paul      153      20      154       9          PLAINTIFFS PT DESIGNATION
Root, Paul      155       4      157       4          PLAINTIFFS PT DESIGNATION
Root, Paul      157      16      157      25          PLAINTIFFS PT DESIGNATION
Root, Paul      158       5      160       9          PLAINTIFFS PT DESIGNATION
Root, Paul      160      16      160      18          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul      160      20      160      24          PLAINTIFFS PT DESIGNATION
Root, Paul      161       1      161       2          PLAINTIFFS PT DESIGNATION
Root, Paul      161       4      161       8          PLAINTIFFS PT DESIGNATION
Root, Paul      161      10      162       6          PLAINTIFFS PT DESIGNATION
Root, Paul      162       8      162      13          PLAINTIFFS PT DESIGNATION
Root, Paul      162      22      164      17          PLAINTIFFS PT DESIGNATION
Root, Paul      164      20      164      21          PLAINTIFFS PT DESIGNATION
Root, Paul      164      23      165       5          PLAINTIFFS PT DESIGNATION
Root, Paul      165      12      166      19          PLAINTIFFS PT DESIGNATION
Root, Paul      167       1      167      12          PLAINTIFFS PT DESIGNATION
Root, Paul      167      14      167      15          PLAINTIFFS PT DESIGNATION
Root, Paul      167      17      167      22          PLAINTIFFS PT DESIGNATION
Root, Paul      167      25      168       2          PLAINTIFFS PT DESIGNATION
Root, Paul      168       4      168       5          PLAINTIFFS PT DESIGNATION
Root, Paul      168       7      168      15          PLAINTIFFS PT DESIGNATION
Root, Paul      170      11      171       4          PLAINTIFFS PT DESIGNATION
Root, Paul      171      17      172       7          PLAINTIFFS PT DESIGNATION
Root, Paul      172       9      172      10          PLAINTIFFS PT DESIGNATION
Root, Paul      172      12      172      12          PLAINTIFFS PT DESIGNATION
Root, Paul      172      14      172      14          PLAINTIFFS PT DESIGNATION
Root, Paul      172      16      172      21          PLAINTIFFS PT DESIGNATION
Root, Paul      172      23      172      23          PLAINTIFFS PT DESIGNATION
Root, Paul      172      25      173       2          PLAINTIFFS PT DESIGNATION
Root, Paul      173       4      173       4          PLAINTIFFS PT DESIGNATION
Root, Paul      173       6      173      10          PLAINTIFFS PT DESIGNATION
Root, Paul      173      12      173      13          PLAINTIFFS PT DESIGNATION
Root, Paul      173      25      174       1          PLAINTIFFS PT DESIGNATION
Root, Paul      174       3      174       6          PLAINTIFFS PT DESIGNATION
Root, Paul      175       1      175       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Root, Paul      175      10      175      10          PLAINTIFFS PT DESIGNATION
Root, Paul      175      14      175      24          PLAINTIFFS PT DESIGNATION
Root, Paul      176       1      176      11          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul      176      18      176      19          PLAINTIFFS PT DESIGNATION
Root, Paul      176      22      176      24          PLAINTIFFS PT DESIGNATION
Root, Paul      177       1      177      10          PLAINTIFFS PT DESIGNATION
Root, Paul      177      12      177      15          PLAINTIFFS PT DESIGNATION
Root, Paul      177      17      178       4          PLAINTIFFS PT DESIGNATION
Root, Paul      178       7      178       8          PLAINTIFFS PT DESIGNATION
Root, Paul      178      10      179       6          PLAINTIFFS PT DESIGNATION
Root, Paul      179       8      179       8          PLAINTIFFS PT DESIGNATION
Root, Paul      179      10      179      19          PLAINTIFFS PT DESIGNATION
Root, Paul      180       3      180      10          PLAINTIFFS PT DESIGNATION
Root, Paul      180      17      181      10          PLAINTIFFS PT DESIGNATION
Root, Paul      181      24      182       3          PLAINTIFFS PT DESIGNATION
Root, Paul      182       5      182       5          PLAINTIFFS PT DESIGNATION
Root, Paul      182       7      183       7          PLAINTIFFS PT DESIGNATION
Root, Paul      183      18      183      19          PLAINTIFFS PT DESIGNATION
Root, Paul      183      21      184       1          PLAINTIFFS PT DESIGNATION
Root, Paul      184       3      185      25          PLAINTIFFS PT DESIGNATION
Root, Paul      186       4      186      20          PLAINTIFFS PT DESIGNATION
Root, Paul      187      23      187      25          PLAINTIFFS PT DESIGNATION
Root, Paul      188       2      188       5          PLAINTIFFS PT DESIGNATION
Root, Paul      188       7      188      15          PLAINTIFFS PT DESIGNATION
Root, Paul      188      17      188      21          PLAINTIFFS PT DESIGNATION
Root, Paul      189      21      192      12          PLAINTIFFS PT DESIGNATION
Root, Paul      192      19      193      11          PLAINTIFFS PT DESIGNATION
Root, Paul      193      14      193      14          PLAINTIFFS PT DESIGNATION
Root, Paul      193      16      193      21          PLAINTIFFS PT DESIGNATION
Root, Paul      194       4      195      18          PLAINTIFFS PT DESIGNATION
Root, Paul      195      25      196       3          PLAINTIFFS PT DESIGNATION
Root, Paul      196      11      196      24          PLAINTIFFS PT DESIGNATION
Root, Paul      197       8      197      11          PLAINTIFFS PT DESIGNATION
Root, Paul      197      14      197      15          PLAINTIFFS PT DESIGNATION
Root, Paul      197      17      197      19          PLAINTIFFS PT DESIGNATION


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Transcript   PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul      197      22      202      17          PLAINTIFFS PT DESIGNATION
Root, Paul      202      18      203      12          PLAINTIFFS PT DESIGNATION
Root, Paul      203      14      203      18          PLAINTIFFS PT DESIGNATION
Root, Paul      203      23      203      23          PLAINTIFFS PT DESIGNATION
Root, Paul      203      25      204       5          PLAINTIFFS PT DESIGNATION
Root, Paul      204       9      205      13          PLAINTIFFS PT DESIGNATION
Root, Paul      205      17      206      21          PLAINTIFFS PT DESIGNATION
Root, Paul      207      15      208       2          PLAINTIFFS PT DESIGNATION
Root, Paul      208       5      208      20          PLAINTIFFS PT DESIGNATION
Root, Paul      209      15      210       7          PLAINTIFFS PT DESIGNATION
Root, Paul      210       9      210       9          PLAINTIFFS PT DESIGNATION
Root, Paul      210      11      211      21          PLAINTIFFS PT DESIGNATION
Root, Paul      211      23      212       4          PLAINTIFFS PT DESIGNATION
Root, Paul      212       6      212      10          PLAINTIFFS PT DESIGNATION
Root, Paul      212      12      212      19          PLAINTIFFS PT DESIGNATION
Root, Paul      212      21      213      25          PLAINTIFFS PT DESIGNATION
Root, Paul      214       2      214       9          PLAINTIFFS PT DESIGNATION
Root, Paul      214      11      215       2          PLAINTIFFS PT DESIGNATION
Root, Paul      215       6      215       6          PLAINTIFFS PT DESIGNATION
Root, Paul      215       8      217      21          PLAINTIFFS PT DESIGNATION
Root, Paul      217      23      218       1          PLAINTIFFS PT DESIGNATION
Root, Paul      218       3      218      18          PLAINTIFFS PT DESIGNATION
Root, Paul      218      20      218      21          PLAINTIFFS PT DESIGNATION
Root, Paul      218      23      220       4          PLAINTIFFS PT DESIGNATION
Root, Paul      220       7      220       7          PLAINTIFFS PT DESIGNATION
Root, Paul      220       9      221       9          PLAINTIFFS PT DESIGNATION
Root, Paul      221      18      221      18          PLAINTIFFS PT DESIGNATION
Root, Paul      221      20      222       1          PLAINTIFFS PT DESIGNATION
Root, Paul      222       5      225      21          PLAINTIFFS PT DESIGNATION
Root, Paul      226       6      227       2          PLAINTIFFS PT DESIGNATION
Root, Paul      227       5      227      15          PLAINTIFFS PT DESIGNATION
Root, Paul      227      17      227      22          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Root, Paul               227      24      228       3          PLAINTIFFS PT DESIGNATION
Root, Paul               228       5      228      15          PLAINTIFFS PT DESIGNATION
Root, Paul               229       3      229      24          PLAINTIFFS PT DESIGNATION
Root, Paul               230      10      230      10          PLAINTIFFS PT DESIGNATION
Root, Paul               230      12      231      10          PLAINTIFFS PT DESIGNATION
Root, Paul               231      16      232      13          PLAINTIFFS PT DESIGNATION
Root, Paul               232      16      233       7          PLAINTIFFS PT DESIGNATION
Root, Paul               233      12      235       2          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)         4      2        4       6          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        14     23       14      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        15      2       15       7          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        15     16       15      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        16     22       16      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        18     10       18      17          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        18     20       18      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        19      2       19       8          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        19     22       19      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        20      2       20       3          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        20      6       20       9          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        20     10       20      14          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        21     14       21      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        22     25       22      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        23      2       23       2          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        23      5       23       8          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        24     10       24      23          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        25     10       25      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        26      2       26      16          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        31     13       31      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        32      2       32      15          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        36     20       36      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        37      2       37       7          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        39     12       39      19          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Rudolph, Clay (CID)        48     14       48      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        49      2       49       2          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        49      4       49      14          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        52     12       52      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        53      2       53      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        54      2       54       6          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        55     25       55      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        56      2       56      24          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        57      3       57      18          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        60     22       60      24          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        61      2       61      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        62      2       62       6          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        84      6       84      13          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        85      2       85       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)        85      6       85      10          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)        85     13       85      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)        88     24       88      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        89      2       89      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        90      2       90      12          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        92      7       92      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        93      2       93       5          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        93     13       93      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        94      2       94       4          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        94     17       94      20          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        94     24       94      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        95      2       95       3          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        95     11       95      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        96      2       96      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        97      2       97      18          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        98     20       98      23          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        99      3       99       7          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)        99     13       99      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Rudolph, Clay (CID)      100       2      100      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      101       3      101      15          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      101      17      101      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      102       2      102      18          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      104       2      104       5          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      104      24      104      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      105       2      105      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      106       2      106       3          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      108      20      108      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      109       2      109      11          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      111       4      111      11          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      116       2      116      15          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      116      21      116      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      117       2      117       3          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      117      13      117      19          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      118      23      118      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      119       2      119       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      119       3      119      24          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      120      12      120      24          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      123       5      123      19          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      124      10      124      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      125       2      125      12          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      125      13      125      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      126       2      126      13          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      134      10      134      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      135       2      135      21          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      138       4      138       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      138       9      138      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      141      19      141      22          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      142       2      142       8          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      142      25      142      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      143       2      143       4          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Rudolph, Clay (CID)      143      11      143      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      144       2      144      16          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      144      22      144      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      145       2      145      19          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      146       3      146      24          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      147      13      147      24          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      147      25      147      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      148       2      148      10          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      148      13      148      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      149       2      149       3          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      152      13      152      21          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      159      24      159      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      160       2      160       3          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      160       7      160      12          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      161       4      161      12          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      165       9      165      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      166       2      166       4          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      172      19      172      22          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      173       2      173       8          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      173      19      173      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      174       2      174      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      175       2      175       2          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      177      25      177      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      178       2      178      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      179       2      179      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      180       2      180      10          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      183      16      183      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      184       2      184       4          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      184      16      184      19          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      184      23      184      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      185       2      185      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      186       2      186      12          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Rudolph, Clay (CID)      186      13      186      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      186      24      186      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      187       2      187      11          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      188       5      188      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      188      25      188      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      189       2      189      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      190      12      190      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      191      16      191      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      192       2      192      15          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      194      13      194      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      195       6      195       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      195      11      195      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      196       5      196       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      205      11      206       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      208      20      208      23          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      209       3      209       9          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      209      19      209      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      210       2      210      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      211       2      211      20          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      211      21      211      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      212       2      212      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      213       2      213      11          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      215       3      215       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      216       9      216      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      217       2      217       7          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      217       8      217      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      217      20      217      25          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      218       2      218      15          PLAINTIFFS PT DESIGNATION
Rudolph, Clay (CID)      218      16      218      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      219       2      219      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      220       2      220       2          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Rudolph, Clay (CID)      221      14      221      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Rudolph, Clay (CID)      222       2      222       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schmuker, Erin             10     25       12      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             12     15       12      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             16     17       23      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             24      4       25      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             26      6       26       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             27     22       28      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             28     16       28      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             28     22       29      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             31      2       31      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             32      9       34       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             34      2       34       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             34      8       34      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             35      5       35      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             35     19       36      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             37      6       37      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             38      3       39       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             39     11       39      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             39     21       40       8          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             40     19       41       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             41     13       41      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             42     14       43      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             44      4       44      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             44     21       44      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             44     25       45      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             45     13       45      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             45     19       45      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             46      3       46       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             46      7       46      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             46     12       46      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             47      5       47       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin             47     14       47      20          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin        47     21       47      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        48      1       48      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        48     15       49       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        51     18       52       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        52     16       52      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        53      5       53      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        54      6       54      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        55      7       55      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        56      3       57       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        62     19       62      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        62     22       65       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        65     10       65      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        65     21       66       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        66      8       68       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        68      8       70       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        70      3       70      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        70     15       72       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        72      7       72      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        73      1       73      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        73     12       73      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        73     24       74      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        74     22       76      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        76     14       76      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        77      3       79      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        79     18       80      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        81     21       83       8          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        83     11       83      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        84      5       85       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        85     23       86      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        86     19       87      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        87     25       88       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        88     18       89      18          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin        90      1       98      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin        99      1       99      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      100      10      100      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      100      23      102       8          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      103      10      103      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      104      14      106      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      106      18      107      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      107      24      113      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      114       9      117       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      117      12      118      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      119       9      120      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      121       3      122       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      123       5      123      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      124       3      124      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      126      18      127       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      127      21      129       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      129      12      129      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      130       2      131       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      131       9      131      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      131      24      132       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      132       9      132      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      132      24      133       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      133      12      133      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      133      15      133      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      133      25      135      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      135      14      140      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      141       1      144       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      144       7      145       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      145      11      146      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      146      23      155       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      155       9      157       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      158       5      160      10          PLAINTIFFS PT DESIGNATION


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Transcript       PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin      160      20      161       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      161      13      163       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      163       9      164       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      164      17      164      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      166       2      167      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      169       4      169      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      170      12      170      16          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      173      14      176       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      176      16      177       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      177       7      180       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      183      10      186      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      186      16      187       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      187       8      188      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      188      14      189       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      189       6      190      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      190      13      190      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      191       3      192      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      193      25      195       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      195      10      195      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      195      24      196       8          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      196      13      198      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      199      12      201      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      203       5      206      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      207       9      207      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      207      16      208      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      209       1      209       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      209       7      209      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      209      18      210      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      210      19      210      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      211       1      211       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      211      11      211      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin      211      22      212      20          PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin            213      13      215       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            217       9      219      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            221      19      221      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            222      11      224      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            224      16      230      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            230      20      231      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            232       5      232      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            232      16      233       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            233      10      235      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            235      23      236       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            236      13      237      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            238       5      241      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            244      20      248       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            248       2      248       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            248       4      250      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            250      24      251       1          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            251       7      251      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            251      19      252      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            253      10      253      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            255      18      257       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            258       2      258       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            258       7      262      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            263       4      263       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            263       8      264      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            265       1      267      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            267      15      269       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            270      15      270      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            271      10      271      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin            272       2      273      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        17     22       17      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        18      4       18      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        19      2       19      25          PLAINTIFFS PT DESIGNATION


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Schmuker, Erin (CID)        20      2       20      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        20     21       20      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        21      2       21       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        22      4       22      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        23      2       23       8          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        23     17       23      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        23     24       23      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        24      2       24       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        24      7       24      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        25     23       25      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        26      2       26       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        26      6       26      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        32     20       32      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        33      2       33       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        33     22       33      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        34      2       34       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        34     13       34      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        35      2       35       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        35     18       35      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        36      2       36       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        36     12       36      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        37      7       37      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        37     18       37      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        38      2       38       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        38     22       38      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        40     17       40      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        41      2       41      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        42      2       42      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        43      2       43      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        44      2       44      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        45      5       45      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        46      2       46      25          PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin (CID)        47      2       47      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        48      5       48      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        49     15       49      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        50      2       50      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        51     19       51      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        52      2       52       3          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        52     16       52      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        53      2       53      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        54      2       54      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        55      2       55      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        56      2       56      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        57      4       57      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        58      2       58      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        59      2       59      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        60      2       60      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        61      2       61      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        62     12       62      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        62     23       62      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        63      2       63      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        65     24       65      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        66      2       66       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        69     15       69      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        70      2       70      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        70     16       70      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        71      4       71      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        71     23       71      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        72      2       72       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        74     12       74      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        78     25       78      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        79      2       79       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        79      9       79      11          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        79     20       79      24          PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin (CID)        80      5       80      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        80     25       80      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        81      2       81      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        83      6       83      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        85     10       85      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        86      2       86      16          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        87      2       87      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        88      7       88      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        89      8       89      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        89     17       89      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        90      2       90       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        92     20       92      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        93      3       93       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        94     11       94      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        94     21       94      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        95      2       95      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        96      3       96      19          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        96     23       96      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        97      2       97      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        98     24       98      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)        99      2       99      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      100       2      100      15          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      101      10      101      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      101      18      101      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      102       2      102       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      102       9      102      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      103      23      103      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      104       2      104       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      104       8      104      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      132      10      132      13          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      132      20      132      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      142       7      142      10          PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin (CID)      142      16      142      20          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      144       3      144       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      144       8      144      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      145       2      145      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      154      18      154      21          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      154      22      154      24          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      155       9      155      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      157       3      157      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      174       6      174       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      174      21      174      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      175       2      175      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      176       2      176       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      178      13      178      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      179       2      179       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      181       7      181       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      181      14      181      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      186      12      186      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      186      19      186      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      187       2      187      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      188       2      188      10          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      188      22      188      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      189       2      189      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      190       2      190      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      191       2      191       5          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      191      13      191      14          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      191      17      191      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      192       4      192      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      194      25      194      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      195       2      195      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      196       2      196      16          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      199      14      199      16          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      199      21      199      25          PLAINTIFFS PT DESIGNATION


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Transcript             PgFrom LnFrom      PgTo    LnTo          Issues
Schmuker, Erin (CID)      200       2      200       4          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      200      20      200      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      201       2      201       6          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      207      25      207      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      208       2      208      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      209       2      209       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      209      16      209      18          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      210       5      210      23          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      211      14      211      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      212       2      212      17          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      213      15      213      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      214       2      214      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      215       2      215      12          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      216       5      216       7          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      216      13      216      22          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      217      12      217      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      218       2      218       9          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      219       9      219      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      220       2      220      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      221       2      221       2          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      221      14      221      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      222       2      222      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      223       2      223      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      224       2      224      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      225       2      225      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      226       2      226       8          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      232       7      232      25          PLAINTIFFS PT DESIGNATION
Schmuker, Erin (CID)      233       2      233      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan             16      5       16      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan             16     14       16      20          PLAINTIFFS PT DESIGNATION
Schumacher, Dan             30     15       31       1          PLAINTIFFS PT DESIGNATION
Schumacher, Dan             31     11       31      16          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Schumacher, Dan        32      5       33       2          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        35     14       35      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        36      5       36      18          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        36     22       37       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        37     20       38       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        38     25       39       4          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        39     11       45      16          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        47      3       47      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan        47     16       47      17          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        47     20       47      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        48      1       49      18          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        50      7       50      20          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        51     10       51      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        53     19       54      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        55      4       55       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        55     10       55      14          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        55     21       58      20          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        61     15       62       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        62      6       62       9          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        62     11       62      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        62     17       62      17          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        62     19       62      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        62     21       62      24          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        63      1       63       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        63     10       63      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        64     22       65      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        65     17       65      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        65     25       66       1          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        66      3       66       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        66      9       66      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        66     12       67       1          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        67      3       67       6          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Schumacher, Dan        67      8       67      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        72     18       73      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        73     21       73      23          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        75      9       75      24          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        76      1       76       4          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        76      6       76       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        78     20       79       2          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        81      1       81      20          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        85      3       85      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        86     11       86      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan        89     17       89      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan        92     15       93       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        94     18       94      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        94     21       95       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        96      4       96      14          PLAINTIFFS PT DESIGNATION
Schumacher, Dan        98     24       99       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      100       8      101       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      102      16      102      17          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      102      19      102      20          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      103       1      103      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      105      10      106       4          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      107      10      110      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      110      15      110      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      110      21      111       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      113      18      114       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      115      17      116      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      117      10      117      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      117      13      117      14          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      117      21      119       9          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      119      11      119      16          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      119      18      119      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      121       3      122       5          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Schumacher, Dan      122      13      122      17          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      123       4      124       4          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      127       9      127      15          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      128       7      128      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      128      14      128      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      129       9      129      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      129      13      129      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      129      16      129      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      129      19      129      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      130      16      130      24          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      132       8      132      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      132      13      132      14          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      132      17      134       1          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      136      19      137      21          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      138       5      138      23          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      139      24      140       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      140       6      140       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      140       9      140      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      141      18      141      23          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      142      13      142      16          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      143      22      144      14          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      145       8      145      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      148       3      149      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      150       4      150      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      152       6      152       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      152       9      152      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      152      19      153       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      154      12      155      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      157      11      160       1          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      160       3      160       4          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      160       6      160      24          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      161       1      161       2          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Schumacher, Dan      161       4      161      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      162       3      162      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      163       2      163       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      163      11      163      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      168      18      168      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      168      21      169      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      169      17      170      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      170      24      171      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      171      17      172       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      180      11      180      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      180      14      180      16          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      180      23      181       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      187      25      188       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      188      14      188      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      189      13      189      14          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      189      20      189      24          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      190       2      191      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      191      13      193       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      194       3      194       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      194      10      194      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      194      13      194      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      195      11      195      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      195      16      195      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Schumacher, Dan      196      16      196      19          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      197      11      197      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      197      14      197      18          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      197      20      198      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      198      18      199      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      203      14      203      20          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      205       2      205       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      205       5      205       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      205      11      205      20          PLAINTIFFS PT DESIGNATION


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Transcript        PgFrom LnFrom      PgTo    LnTo          Issues
Schumacher, Dan      209      20      212      21          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      215       6      215      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      218      15      219       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      223       5      223      13          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      225      24      226       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      226      20      227       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      227       7      227       7          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      227       9      228       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      228       7      228      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      230       1      230       2          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      230       4      230       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      230      13      231      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      231      20      232      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      233      23      234       1          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      234      11      235       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      236       4      236      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      237       5      237       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      237       8      238      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      238      19      238      21          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      239      14      240      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      240      15      240      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      241       3      241       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      245      11      246       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      247       1      247       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      247      10      247      15          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      248       4      248      10          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      254       8      254       9          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      254      11      254      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      254      19      255       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      255      18      256      12          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      256      22      256      23          PLAINTIFFS PT DESIGNATION
Schumacher, Dan      256      25      257       7          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Schumacher, Dan          259       9      260       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          269       3      269       4          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          269       6      269       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          269      12      270       6          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          270      22      272      17          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          272      19      272      23          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          272      25      273       3          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          273       5      273       8          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          273      10      273      11          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          273      15      276       5          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          276       7      276       9          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          276      11      276      22          PLAINTIFFS PT DESIGNATION
Schumacher, Dan          288      11      288      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        27     15       28       2          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        32     16       34      11          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        34     13       35      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        35     12       35      16          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        35     20       35      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        36      2       36       4          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        36      6       36      14          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        37      2       37      11          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        41      2       41       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        41     11       41      16          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        41     18       41      21          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        42      2       42      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        42     16       43       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        43     14       43      22          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)        46      6       46      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        46     12       46      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        50      3       52       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        52     15       52      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        52     21       53      11          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Spady, Chris (30b6)        53     13       53      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        53     19       54       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        54      3       55      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        57      7       59      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        64      2       67      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        67     20       69       9          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        69     11       71       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        71      2       71      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        73      8       73      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        83      8       83      16          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        83     18       84      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        85      8       86      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        90     11       91      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        91     20       93       6          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        93     10       94       9          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        94     12       94      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)        95      5       95      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      123      12      123      14          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      123      15      123      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      124      10      124      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      125       6      125      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      126       2      126       9          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      126      19      127       7          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      147       5      147      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      147      20      147      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      148       2      148      13          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      148      15      148      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      148      21      149       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      151      19      152      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      153       1      153       2          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      153       4      153      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      153      19      161       7          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Spady, Chris (30b6)      161      14      161      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      161      17      162       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      162       5      163       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      163       3      163      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      163      12      163      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      163      14      163      16          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      163      18      172       6          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      172       9      174       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      174      20      177       6          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      177       8      177      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      177      21      180       6          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      180       9      180      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      181       2      181       4          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      181       6      181      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      181      19      181      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      182       2      182      13          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      182      15      183      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      183      21      184       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      184       7      186      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      186      14      187       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      187       5      187      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      188       2      188      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      188      14      189       8          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      189      10      189      20          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      189      22      190      11          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      190      13      191       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      191       7      191       8          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      191      10      191      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      191      12      191      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      191      20      192       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      192       3      192       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      192       7      192       8          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Spady, Chris (30b6)      192      10      192      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      192      14      192      14          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      192      16      196      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      196      21      197       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      197       3      198      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      198      20      199      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      200       2      203      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      204       2      204       2          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      204       4      204       6          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      204       8      204       9          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      204      12      204      20          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      204      22      206       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      206      12      206      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      206      18      206      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      206      21      208       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      208       5      208       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      208       7      208       8          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      208      10      208      14          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      208      16      208      16          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      208      18      209       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      209       3      209       4          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      209       6      209       8          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      209      10      209      13          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      209      15      210       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      210       5      210       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      210       7      210      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      210      20      210      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      211       1      211       2          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      211       4      211      17          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      211      20      211      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      212       2      212       4          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      212       6      212       6          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Spady, Chris (30b6)      212       8      212       9          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      212      11      212      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      212      14      212      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      212      18      212      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      212      21      213       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      213       4      213       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      213       7      215       8          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      215      10      215      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      215      17      216       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      216       5      216      14          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      216      16      216      18          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      216      22      217       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      217       3      217       4          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      217       6      217       7          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      217       9      217      16          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      217      18      217      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      218      16      218      19          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)      219       7      220       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)      220      10      221       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      221       6      221      21          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222       1      222       1          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222       3      222       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222       5      222       5          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222       7      222       8          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222      11      222      12          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222      14      222      19          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      222      21      222      22          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      223      13      224       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)      236       4      236      10          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      237       4      237      20          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Spady, Chris (30b6)      238      22      239       6          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      242      16      242      20          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Spady, Chris (30b6)      243       5      244       3          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      244       6      244       7          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      244       9      244      11          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      244      14      244      15          PLAINTIFFS PT DESIGNATION
Spady, Chris (30b6)      244      17      245       6          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          27     13       28      11          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          31      6       32       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          36     21       37      15          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          37     23       38       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Suther, Tim (CID)          38     24       41       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          42     18       50      18          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          50     25       62       8          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          63      5       66       2          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          72      1       78      10          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          78     20       84      11          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          85      7       88       6          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          88     12       96       9          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)          97      9      103      13          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        103      23      110       3          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        110      17      114       5          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        114      20      118      21          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        119      13      122       4          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        123      15      125       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Suther, Tim (CID)        125       6      125      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Suther, Tim (CID)        125      24      126       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Suther, Tim (CID)        126      11      127      19          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        131       5      131      14          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        131      24      132      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        133      13      136      11          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        136      17      136      18          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        136      21      137       5          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)        137      10      138       6          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Suther, Tim (CID)      139      23      144      13          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      146       9      147      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Suther, Tim (CID)      147      25      150       9          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      150      17      152      19          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      154      13      155       6          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      155      13      155      22          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      156       4      158      12          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      159       4      159       7          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      160       9      161      20          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      163      25      167      18          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      168      16      174      11          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      176      24      178      13          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      179       7      179       8          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      179      11      179      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      179      19      180       9          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      180      11      181      18          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      182      24      185      24          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      186      17      189      19          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      195      22      196      21          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      197       2      197      10          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      197      18      199      12          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      200      23      202       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      202      13      203      19          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      209      21      210       5          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      210      16      211      14          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      226       9      226      16          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      226      21      232      10          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      234       7      235       6          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      237      21      240      14          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      240      19      241       2          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      241       8      241      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      244       7      244      16          PLAINTIFFS PT DESIGNATION


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Transcript          PgFrom LnFrom      PgTo    LnTo          Issues
Suther, Tim (CID)      245      15      246      10          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      246      20      250      18          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      254      15      255       2          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      255      19      256       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      256       8      256      16          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      257      11      259       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      260       7      264       8          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      265      20      267       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      267       5      268       5          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      268      10      268      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      268      19      271       7          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      273       3      274       8          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      275       1      276      19          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      276      23      277       8          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      277      13      277      22          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      278       2      278      14          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      279       2      281      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      281      22      282      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      284       7      284      21          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      285       3      285      11          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      286       8      287       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      287      11      289       8          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      290       3      290       4          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      291      22      292      17          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      293      18      297       1          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      297       6      301      23          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      302       8      305      23          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      306       6      306      14          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Suther, Tim (CID)      307      16      308      21          PLAINTIFFS PT DESIGNATION
Suther, Tim (CID)      310       1      313       3          PLAINTIFFS PT DESIGNATION
Turner, Mark             11     16       12       8          PLAINTIFFS PT DESIGNATION
Turner, Mark             12     12       13      10          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark        13     13       13      14          PLAINTIFFS PT DESIGNATION
Turner, Mark        13     16       13      22          PLAINTIFFS PT DESIGNATION
Turner, Mark        14      2       14      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        16      3       16      10          PLAINTIFFS PT DESIGNATION
Turner, Mark        16     21       19       2          PLAINTIFFS PT DESIGNATION
Turner, Mark        19      6       20       9          PLAINTIFFS PT DESIGNATION
Turner, Mark        21      6       22       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        22      7       23      13          PLAINTIFFS PT DESIGNATION
Turner, Mark        23     18       23      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        23     22       24       6          PLAINTIFFS PT DESIGNATION
Turner, Mark        24     10       24      13          PLAINTIFFS PT DESIGNATION
Turner, Mark        24     17       25       1          PLAINTIFFS PT DESIGNATION
Turner, Mark        25      5       25       5          PLAINTIFFS PT DESIGNATION
Turner, Mark        25      9       25      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        26     12       26      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        27      3       27       9          PLAINTIFFS PT DESIGNATION
Turner, Mark        27     12       27      13          PLAINTIFFS PT DESIGNATION
Turner, Mark        27     15       27      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        27     18       28       7          PLAINTIFFS PT DESIGNATION
Turner, Mark        28      9       28      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        28     22       29       1          PLAINTIFFS PT DESIGNATION
Turner, Mark        29      3       29       8          PLAINTIFFS PT DESIGNATION
Turner, Mark        30     14       30      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        30     19       30      19          PLAINTIFFS PT DESIGNATION
Turner, Mark        30     22       31       1          PLAINTIFFS PT DESIGNATION
Turner, Mark        31      3       31       9          PLAINTIFFS PT DESIGNATION
Turner, Mark        31     12       31      13          PLAINTIFFS PT DESIGNATION
Turner, Mark        31     18       32      10          PLAINTIFFS PT DESIGNATION
Turner, Mark        32     15       32      22          PLAINTIFFS PT DESIGNATION
Turner, Mark        33      4       33      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        33     16       34       2          PLAINTIFFS PT DESIGNATION
Turner, Mark        34      7       34      16          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark        34     19       34      20          PLAINTIFFS PT DESIGNATION
Turner, Mark        34     22       35       6          PLAINTIFFS PT DESIGNATION
Turner, Mark        35      8       35      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        36      2       36      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        37      3       37      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        37     18       37      20          PLAINTIFFS PT DESIGNATION
Turner, Mark        38      3       38       6          PLAINTIFFS PT DESIGNATION
Turner, Mark        38     14       39       6          PLAINTIFFS PT DESIGNATION
Turner, Mark        39     12       40       4          PLAINTIFFS PT DESIGNATION
Turner, Mark        41      6       41       7          PLAINTIFFS PT DESIGNATION
Turner, Mark        41      9       41      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        41     22       42      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        43      1       44       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        44      8       44      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        44     20       45       4          PLAINTIFFS PT DESIGNATION
Turner, Mark        45      9       45       9          PLAINTIFFS PT DESIGNATION
Turner, Mark        45     16       46      13          PLAINTIFFS PT DESIGNATION
Turner, Mark        46     18       46      19          PLAINTIFFS PT DESIGNATION
Turner, Mark        47      9       47      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        47     16       47      16          PLAINTIFFS PT DESIGNATION
Turner, Mark        48      2       48       6          PLAINTIFFS PT DESIGNATION
Turner, Mark        48     22       49      22          PLAINTIFFS PT DESIGNATION
Turner, Mark        50      7       50      14          PLAINTIFFS PT DESIGNATION
Turner, Mark        51     11       51      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        51     14       51      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        52     17       53       7          PLAINTIFFS PT DESIGNATION
Turner, Mark        53     12       54      14          PLAINTIFFS PT DESIGNATION
Turner, Mark        54     19       55      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        55     20       56       8          PLAINTIFFS PT DESIGNATION
Turner, Mark        56     13       57       6          PLAINTIFFS PT DESIGNATION
Turner, Mark        57      8       57      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        57     14       57      17          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark        58      1       59       7          PLAINTIFFS PT DESIGNATION
Turner, Mark        59     14       60       7          PLAINTIFFS PT DESIGNATION
Turner, Mark        60     17       60      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        61      4       61      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        62      8       62      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        63      1       63       5          PLAINTIFFS PT DESIGNATION
Turner, Mark        63      9       63      20          PLAINTIFFS PT DESIGNATION
Turner, Mark        64      9       64      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        64     17       64      17          PLAINTIFFS PT DESIGNATION
Turner, Mark        65      4       65       5          PLAINTIFFS PT DESIGNATION
Turner, Mark        65      7       65      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        66      7       67       2          PLAINTIFFS PT DESIGNATION
Turner, Mark        67     14       67      17          PLAINTIFFS PT DESIGNATION
Turner, Mark        67     21       68       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        68      6       68      14          PLAINTIFFS PT DESIGNATION
Turner, Mark        68     19       70       5          PLAINTIFFS PT DESIGNATION
Turner, Mark        70     10       70      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        70     20       70      20          PLAINTIFFS PT DESIGNATION
Turner, Mark        71      2       71       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        71      5       71      10          PLAINTIFFS PT DESIGNATION
Turner, Mark        71     13       72       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        72      8       72       8          PLAINTIFFS PT DESIGNATION
Turner, Mark        72     14       73      11          PLAINTIFFS PT DESIGNATION
Turner, Mark        73     15       74       5          PLAINTIFFS PT DESIGNATION
Turner, Mark        74     11       74      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        74     16       74      17          PLAINTIFFS PT DESIGNATION
Turner, Mark        74     19       75       2          PLAINTIFFS PT DESIGNATION
Turner, Mark        75      8       75      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        76      5       77       1          PLAINTIFFS PT DESIGNATION
Turner, Mark        77      6       77       7          PLAINTIFFS PT DESIGNATION
Turner, Mark        77     12       78      10          PLAINTIFFS PT DESIGNATION
Turner, Mark        78     14       79       3          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark        79      8       79      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        80      1       80       4          PLAINTIFFS PT DESIGNATION
Turner, Mark        80     12       81      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        82      4       83       2          PLAINTIFFS PT DESIGNATION
Turner, Mark        83      6       84       9          PLAINTIFFS PT DESIGNATION
Turner, Mark        84     14       85       2          PLAINTIFFS PT DESIGNATION
Turner, Mark        85      7       85      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        86      1       86      15          PLAINTIFFS PT DESIGNATION
Turner, Mark        86     20       86      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        87     17       87      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        87     20       88       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        88      6       88      21          PLAINTIFFS PT DESIGNATION
Turner, Mark        89      8       89      18          PLAINTIFFS PT DESIGNATION
Turner, Mark        89     22       90       3          PLAINTIFFS PT DESIGNATION
Turner, Mark        90      8       92      12          PLAINTIFFS PT DESIGNATION
Turner, Mark        92     16       92      16          PLAINTIFFS PT DESIGNATION
Turner, Mark        93     19       93      20          PLAINTIFFS PT DESIGNATION
Turner, Mark        93     22       94       5          PLAINTIFFS PT DESIGNATION
Turner, Mark        94      8       95      10          PLAINTIFFS PT DESIGNATION
Turner, Mark        95     15       96       1          PLAINTIFFS PT DESIGNATION
Turner, Mark        96      6      100       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      100       6      100      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      100      16      100      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      101       6      101      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      102       3      102       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      102       6      102      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      102      13      103       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      103       6      103       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      103       9      103      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      103      17      105       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      105      14      107       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      107      13      107      19          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark      110      19      111      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      111      21      112       3          PLAINTIFFS PT DESIGNATION
Turner, Mark      112       8      113       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      113      18      113      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      113      21      114       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      114       7      114      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      114      15      118       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      118      14      118      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      118      17      118      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      119       3      119      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      119      19      119      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      120       3      120      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      120      18      122       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      122      13      123      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      123      22      124       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      124       3      124       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      124      11      124      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      124      22      126       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      126      17      127       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      127      12      127      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      128       6      128      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      128      19      129       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      129       6      129      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      130       9      130      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      130      12      130      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      130      19      131       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      131      10      131      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      131      18      131      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      133       2      133       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      133      10      133      12          PLAINTIFFS PT DESIGNATION
Turner, Mark      133      14      134      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      135       2      135      21          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark      136       4      137      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      137      15      137      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      137      18      138       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      138       3      140      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      141       4      142       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      142       9      142      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      143       5      143       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      143      14      143      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      143      21      144      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      144      21      144      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      145       2      146       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      146       7      146       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      146      16      146      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      146      19      147       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      147       5      152       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      152       5      153       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      154      13      154      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      154      16      154      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      155       2      156       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      156       6      156       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      156      15      156      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      157       4      159      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      160       7      160      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      161       5      161       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      161      13      162       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      162      11      164       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      164      11      164      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      164      18      164      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      165       4      165       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      165      14      166       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      166      13      167      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      167      15      168       1          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark      168      14      168      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      168      17      169       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      169       7      169      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      169      13      172      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      172      14      173       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      173      14      173      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      173      20      174       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      174      12      174      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      174      22      175       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      175       9      175      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      175      21      176      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      177       4      177       5          PLAINTIFFS PT DESIGNATION
Turner, Mark      177       7      177      12          PLAINTIFFS PT DESIGNATION
Turner, Mark      177      15      179      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      180      11      180      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      181       3      181       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      182       4      182      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      183       1      183       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      183       4      183       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      183      12      184       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      184      11      186      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      187       1      187      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      188       1      188      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      188      16      190       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      191       1      191       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      191      16      191      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      191      19      192       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      192       4      192      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      193       3      193       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      193       6      193      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      193      14      194       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      194       5      195      11          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark      195      19      196       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      196       8      196      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      196      22      197       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      197       7      197      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      197      18      197      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      197      21      198       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      198       6      198      12          PLAINTIFFS PT DESIGNATION
Turner, Mark      198      20      199       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      199      12      200       3          PLAINTIFFS PT DESIGNATION
Turner, Mark      200       6      200      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      201       4      201      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      202      14      202      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      202      22      203       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      203      11      203      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      204      12      205       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      205      10      205      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      205      12      205      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      205      21      206       1          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      206       6      206       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      206       9      208       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      208      13      208      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      208      19      208      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      209       5      209       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      209       8      209       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      209      21      210       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      210       7      210       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      210      10      210      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      210      17      210      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      211       5      211       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      211      11      212      21          PLAINTIFFS PT DESIGNATION
Turner, Mark      213       8      213      12          PLAINTIFFS PT DESIGNATION
Turner, Mark      213      22      214      10          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark      215      13      215      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      215      20      216       3          PLAINTIFFS PT DESIGNATION
Turner, Mark      216       8      217       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      217      21      218       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      218       8      218       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      218      11      218      17          PLAINTIFFS PT DESIGNATION
Turner, Mark      218      21      219      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      219      16      220       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      220       9      220      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      220      16      221       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      221      12      221      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      221      15      221      22          PLAINTIFFS PT DESIGNATION
Turner, Mark      222       3      222       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      222      13      223      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      223      17      223      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      223      20      225      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      225      18      225      20          PLAINTIFFS PT DESIGNATION
Turner, Mark      226       6      227      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      228       2      228      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      229       3      229       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      229       6      229      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      229      20      230      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      231      10      231      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      232       5      232       9          PLAINTIFFS PT DESIGNATION
Turner, Mark      232      12      232      13          PLAINTIFFS PT DESIGNATION
Turner, Mark      232      15      233       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      234       8      234      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      235      13      236       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      236      10      236      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      237      19      237      20          PLAINTIFFS PT DESIGNATION
Turner, Mark      237      22      238       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      238      10      238      14          PLAINTIFFS PT DESIGNATION


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Transcript     PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark      238      22      239      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      240       1      240       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      240       3      240       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      240       6      240      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      240      16      241       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      241      12      241      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      242       2      243      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      243      14      243      15          PLAINTIFFS PT DESIGNATION
Turner, Mark      243      17      244       3          PLAINTIFFS PT DESIGNATION
Turner, Mark      244       6      245       7          PLAINTIFFS PT DESIGNATION
Turner, Mark      245      12      246      11          PLAINTIFFS PT DESIGNATION
Turner, Mark      246      15      246      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      246      18      247       4          PLAINTIFFS PT DESIGNATION
Turner, Mark      247      10      247      18          PLAINTIFFS PT DESIGNATION
Turner, Mark      248       6      248      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      248      15      248      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      249       1      249       6          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      249       8      249      16          PLAINTIFFS PT DESIGNATION
Turner, Mark      249      22      250      10          PLAINTIFFS PT DESIGNATION
Turner, Mark      250      19      250      20          PLAINTIFFS PT DESIGNATION
Turner, Mark      251       3      251       6          PLAINTIFFS PT DESIGNATION
Turner, Mark      251      13      251      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      251      16      252       1          PLAINTIFFS PT DESIGNATION
Turner, Mark      252       6      252      20          PLAINTIFFS PT DESIGNATION
Turner, Mark      253       9      254      19          PLAINTIFFS PT DESIGNATION
Turner, Mark      255       2      255       2          PLAINTIFFS PT DESIGNATION
Turner, Mark      255       3      255       5          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      255       6      255      14          PLAINTIFFS PT DESIGNATION
Turner, Mark      255      22      256       8          PLAINTIFFS PT DESIGNATION
Turner, Mark      257      17      257      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      258       1      258       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Turner, Mark      258       8      258      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION


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Turner, Mark            259       4      259      14          PLAINTIFFS PT DESIGNATION
Turner, Mark            260       9      260      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        19     18       19      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        20      2       20      22          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        21     14       21      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        22      7       22      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        23      2       23      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        24      2       24       9          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        27      3       27      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        28      2       28       9          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        28     19       28      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        29      2       29      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        30      2       30      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        31      2       31      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        31     25       31      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        32      2       32       5          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        32      9       32      18          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        32     20       32      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        33      2       33       4          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        33      7       33      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        34      2       34      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        35      2       35      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        36      2       36      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        37      2       37      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        38      2       38      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        39      2       39      24          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        40      6       40      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        41      2       41      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        42      2       42      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        43      2       43      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        44      2       44      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        45      2       45       7          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)        45     12       45      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        46      2       46      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        47      2       47      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        48      2       48      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        49      2       49      23          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        50      2       50      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        51      2       51      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        52      2       52      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        53      2       53      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        54      2       54      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        55      2       55      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        56      2       56      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        57      2       57      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        58      2       58      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        59      2       59      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        59     20       59      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        60      2       60      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        61      2       61      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        62      2       62      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        63      2       63      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        64      2       64       2          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        64      8       64      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        65      2       65      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        66      2       66      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        67      2       67      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        68      2       68      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        69      2       69      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        69     24       69      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        70      2       70      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        71      2       71      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        72      2       72      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        73      2       73      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)        74      2       74      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        75      2       75      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        76      2       76      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        77      2       77      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        78      2       78      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        79      2       79      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        80      2       80      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        81      2       81      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        82      2       82      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        83      2       83      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        84      2       84      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        85      2       85      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        86      2       86      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        87      2       87      10          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        87     18       87      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        88      2       88      14          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        88     24       88      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        89      3       89      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        90      2       90      14          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        90     20       90      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        91      2       91       4          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        91     12       91      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        92      2       92       5          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        92     14       92      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        92     19       92      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        93      2       93       3          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        93      9       93      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        94      2       94      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        95      2       95      10          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        95     14       95      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        96      2       96       8          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        96     18       96      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)        97      2       97      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        98      2       98      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        99      2       99       8          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)        99     23       99      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      100       2      100       7          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      100      11      100      16          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      100      19      100      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      101       2      101      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      102       2      102       4          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      102      24      102      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      103       2      103      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      104       2      104      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      104      21      104      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      105       2      105      16          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      105      18      105      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      106       2      106      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      107       2      107      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      108       2      108      18          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      110      10      110      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      111       2      111      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      112       2      112       5          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      113      22      113      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      114       2      114      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      115       2      115      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      116       2      116       9          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      117       2      117      18          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      117      22      117      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      118       2      118      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      119       2      119       7          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      119      10      119      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      120       2      120       9          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      120      16      120      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)      121       2      121       7          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      121      12      121      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      122       2      122       7          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      122      20      122      23          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      123       7      123      13          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      123      15      123      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      124       2      124      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      125       2      125      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      126       2      126      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      127       2      127      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      128       2      128      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      128      24      128      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      129       2      129      19          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      129      23      129      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      130       2      130      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      131       2      131      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      132       2      132      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      132      22      132      24          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      133       9      133      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      134       2      134      24          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      135       7      135      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      136       2      136      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      137       2      137       6          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      137      14      137      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      138       2      138      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      139       2      139      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      140       2      140      21          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      141      10      141      13          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      141      19      141      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      143       2      143      18          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      143      22      143      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      144       2      144      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)      145       2      145      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      146       2      146       6          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      147       6      147      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      148       2      148      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      149       2      149      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      150       2      150      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      151       2      151      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      152       2      152      14          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      153       9      153      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      154       2      154      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      155       2      155      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      156       2      156      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      156      16      156      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      157       2      157       3          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      159       4      159      24          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      160       5      160      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      161       2      161       6          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      161       8      161      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      162       2      162       2          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      162       9      162      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      163       2      163      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      163      21      163      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      164       2      164      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      165       2      165      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      166       9      166      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      166      17      166      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      167       8      167      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      168       2      168       5          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      168       8      168      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      169       2      169       4          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      169      10      169      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      169      23      169      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)      170       2      170      10          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      170      17      170      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      171       2      171      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      172       2      172      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      173       2      173       4          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      173       8      173      21          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      174       6      174      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      175       2      175      16          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      175      24      175      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      176       2      176      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      177       2      177      21          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      178       5      178      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      179       2      179      22          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      180      24      180      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      181       2      181      23          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      182       2      182      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      183       2      183      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      184       4      184      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      185       2      185      19          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      185      23      185      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      186       2      186       2          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      186      15      186      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      187       2      187      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      188       2      188       3          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      189      21      189      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      190       2      190      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      191       2      191       3          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      191       9      191      14          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      191      17      191      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      192       2      192      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      193       2      193      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      195      24      195      25          PLAINTIFFS PT DESIGNATION


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Transcript           PgFrom LnFrom      PgTo    LnTo          Issues
Turner, Mark (CID)      196       2      196      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      197       2      197      19          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      198       3      198      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      199       2      199      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      199      24      199      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      200       2      200       4          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      200       6      200      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      200      18      200      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      201       2      201      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      202       2      202      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      203       2      203      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      203      20      203      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      204       2      204       7          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      204      24      204      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      205       2      205      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      205      24      205      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      206       2      206      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      207       2      207      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      208       2      208      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      209       2      209      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      209      23      209      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      210       2      210       8          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      210      17      210      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      210      22      210      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      211       2      211       6          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      211       8      211      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      212       2      212      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      213       2      213      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      214       2      214      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      215       2      215      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      216       2      216      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      217       2      217       6          PLAINTIFFS PT DESIGNATION


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Turner, Mark (CID)      217       8      217      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      218       2      218      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      219       2      219       5          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      220       8      220      19          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      220      23      220      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      221       2      221       6          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      221      11      221      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      222       2      222       3          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      222       6      222      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      223       2      223      13          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      223      15      223      21          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      229      10      229      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      230       2      230       8          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      230      12      230      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      230      17      230      24          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      231       2      231      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      232       2      232      21          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      233       3      233      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      234      14      234      17          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      234      19      234      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      235       2      235       3          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      235       8      235      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      236       2      236       2          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      239       3      239      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      240       2      240      18          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      240      22      240      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      241       2      241      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      242       2      242      15          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      248       4      248      10          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      248      12      248      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      248      21      248      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)      249       2      249      24          PLAINTIFFS PT DESIGNATION


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Turner, Mark (CID)         251      13      251      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         252       2      252      11          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         252      17      252      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         253       2      253      13          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         253      20      253      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         254       2      254      10          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         254      22      254      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         255       2      255       8          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         255      12      255      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         256       2      256       7          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         256      17      256      20          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         256      22      256      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         257       2      257      16          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         257      24      257      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         258       2      258      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         259       2      259      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         260       2      260      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         261       2      261      21          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         261      25      261      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         262       2      262      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         264      10      264      14          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         264      23      264      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         265       2      265      13          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         268       2      268      18          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         272       7      272      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         273       2      273      12          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         281      21      281      25          PLAINTIFFS PT DESIGNATION
Turner, Mark (CID)         282       2      282      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        23      5       23      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        24      2       24      17          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        27      4       27      23          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        31     20       31      25          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)        32      2       32       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        36     24       36      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        37      2       37      15          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        44     13       44      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        45      2       45      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        46      2       46       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        46     20       46      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        47      2       47      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        48     14       48      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        49      2       49      19          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        49     20       49      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        50      2       50      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        51      2       51       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        53      6       53      20          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        54     19       54      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        55      2       55       8          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        57     19       57      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        58      2       58       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        58     10       58      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        59      2       59      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        71      4       71      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        71     25       71      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        72      2       72      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        73      2       73      18          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        73     21       73      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        74      2       74       7          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        74     23       74      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        75      2       75      13          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        75     14       75      21          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        75     24       75      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        76      2       76       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        76     20       76      25          PLAINTIFFS PT DESIGNATION


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Transcript              PgFrom LnFrom      PgTo    LnTo          Issues
Wichmann, David (CID)        77      2       77       6          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        77      9       77      15          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        78     17       78      22          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        79     18       79      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        80      2       80      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        83      3       83      13          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        83     24       83      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        84      2       84      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        85      2       85       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        92      9       92      12          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        93      5       93      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        93     22       93      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        94      2       94       8          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        94      9       94      18          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        94     19       94      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        95      2       95      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        97      7       97      13          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        98      4       98      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        99      2       99       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)        99      3       99      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      101       2      101      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      102       2      102      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      103       2      103      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      104      15      104      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      104      25      104      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      105       2      105       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      106      17      106      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      107       2      107       8          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      107      14      107      24          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      110      22      110      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      111       2      111      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      112      10      112      16          PLAINTIFFS PT DESIGNATION


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Transcript              PgFrom LnFrom      PgTo    LnTo          Issues
Wichmann, David (CID)      112      18      112      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      113      13      113      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      114       2      114      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      115       2      115      12          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      116       6      116       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      116      24      116      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      117       2      117      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      117      22      117      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      118       2      118      17          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      118      22      118      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      119       2      119       9          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      121      12      121      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      122       6      122      10          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      122      20      122      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      123      15      123      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      124       2      124      17          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      126       2      126      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      127       2      127       7          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      130       6      130      12          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      141      10      141      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      142       2      142      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      142      21      142      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      143       2      143       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      143       8      143      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      144       2      144      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      145       2      145       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      147       6      147      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      148       2      148      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      149       2      149      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      150       2      150      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      151       2      151      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      152       2      152       8          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)      152       9      152      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      153       2      153       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      153       4      153      11          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      156      18      156      20          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      156      22      156      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      157       2      157      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      159      22      159      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      160       2      160      22          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      160      23      160      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      161       2      161      14          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      162       4      162       8          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      167      10      167      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      168      14      168      18          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      169       7      169      13          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      170       3      170       7          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      171       7      171      20          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      172      16      172      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      173       2      173      18          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      178       3      178      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      179      10      179      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      180       2      180       6          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      182      22      182      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      183       3      183      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      184       2      184       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      184      23      184      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      185       2      185       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      189       2      189       6          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      189      12      189      13          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      190      19      190      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      190      25      190      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      191       2      191       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      191       6      191      10          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)      201      18      201      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      202       2      202      14          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      202      23      202      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      203       2      203       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      208      17      208      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      209       2      209       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      209      19      209      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      210       2      210       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      210      16      210      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      211       2      211      14          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      214      17      214      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      215       2      215       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      218      15      218      19          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      218      20      218      23          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      219      10      219      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      220       2      220       8          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      221       6      221      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      222       2      222       6          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      224      13      224      19          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      224      21      224      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      225       2      225      21          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      225      24      225      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      226       2      226      23          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      227       2      227       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      227       3      227       8          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      230      22      230      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      231       2      231       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      231       4      231       6          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      231      10      231      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      231      25      231      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      232       2      232      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      233       2      233      25          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)      234       2      234       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      234      16      234      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      235       2      235      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      236       2      236       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      236      10      236      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      237       2      237      10          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      237      14      237      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      238       2      238      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      239       2      239       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      239      17      239      25          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      240       2      240       3          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      250      22      250      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      251       2      251      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      252       2      252      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      256       7      256      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      257       2      257      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      258       2      258      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      259       2      259       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      259      16      259      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      260       2      260      21          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      260      24      260      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      261       2      261       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      261       8      261      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      262      23      262      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      263       2      263       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      263      10      263      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      264       2      264      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      265       2      265       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      265      10      265      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      266       2      266      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      267       2      267       6          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      267      20      267      25          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)      268       2      268      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      271       4      271      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      272       2      272      20          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      274      21      274      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      275       2      275      14          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      276      24      276      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      277       2      277       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      277       4      277       7          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      277       9      277      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      278       2      278       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      278      24      278      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      279       2      279      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      280       2      280      18          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      282       4      282      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      283       2      283      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      284       2      284       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      285      25      285      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      286       2      286       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      286       7      286      10          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      286      13      286      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      287       2      287      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      292      18      292      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      293       2      293       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      293       7      293      12          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      293      17      293      20          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      293      23      293      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      294       2      294      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      295      17      295      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      296       2      296      14          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      296      16      296      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      297       2      297      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      298      15      298      25          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)      299       2      299      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      300       2      300       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      303       3      303       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      303      12      303      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      304       2      304       9          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      304      15      304      18          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      305       2      305       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      306       4      306      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      307       2      307      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      308       2      308      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      309       2      309      12          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      309      16      309      20          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      309      22      309      24          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      310      11      310      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      311       2      311       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      311      23      311      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      312       2      312      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      313      25      313      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      314       2      314       8          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      314      20      314      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      315       2      315       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      315       4      315      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      318      16      318      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      319       2      319      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      323      24      323      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      324       2      324       3          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      324       4      324       7          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      324      11      324      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      325       2      325      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      326       2      326       4          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      329      16      329      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      330       2      330      18          PLAINTIFFS PT DESIGNATION


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Wichmann, David (CID)      331      20      331      23          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      331      24      331      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      332       2      332       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      332      14      332      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      333       2      333       2          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      333       3      333      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      334       2      334      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      335       2      335      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      336       2      336       5          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      337      13      337      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      338       2      338      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      339       2      339      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      340       2      340      19          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      341      10      341      23          PLAINTIFFS PT COUNTER-COUNTER-DESIGNATION
Wichmann, David (CID)      341      24      341      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      342       2      342      22          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      343       7      343      11          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      343      12      343      16          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      343      25      343      25          PLAINTIFFS PT DESIGNATION
Wichmann, David (CID)      344       2      344      23          PLAINTIFFS PT DESIGNATION
Witty, Andrew                11     17       11      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew                14     13       14      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew                15     14       16      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew                20     20       21       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew                21     14       22       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew                22      6       22       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew                22     12       22      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew                22     13       22      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew                23     10       24      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew                24     20       24      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew                25      2       25       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew                25      7       25      12          PLAINTIFFS PT DESIGNATION


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Witty, Andrew        26     18       28       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew        28     16       28      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew        28     20       28      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew        28     22       29       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew        29      2       29       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew        29     10       30      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew        30     16       30      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew        30     20       30      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew        30     21       32      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew        32     16       33       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        33     10       34       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew        34      6       34       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew        34     11       34      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew        34     13       35       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew        35      4       36       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew        36      7       36       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        36     10       36      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew        36     11       36      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew        37      1       37       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew        37      5       37       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew        37      6       37       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew        37     10       37      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew        37     19       38      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew        39      2       39       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew        39      8       40      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew        40     14       40      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew        40     22       42      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew        42     12       42      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew        42     17       43       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        43      9       43       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew        43     13       43      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew        43     14       43      16          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew        43     18       43      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew        43     22       43      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew        44      6       44       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew        44      8       49       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew        50      8       50      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew        50     12       50      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew        50     21       54      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew        55      5       55      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew        56      6       56      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew        57      3       58       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew        58      7       58       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        58     10       59      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew        59     15       59      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew        59     22       60       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew        60      6       60       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        60      9       60      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew        61     14       63       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew        63     13       78      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew        78     19       78      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew        79      1       79      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew        80     15       80      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew        80     22       81       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew        81      2       81       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew        81     19       86      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew        87     15       88       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew        90      3       90       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        90     15       90      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew        90     19       91      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew        91     12       91      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew        95      3       95       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew        97     15       97      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew      104      16      104      19          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew      104      20      104      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      105       2      105       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      105       3      106      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      106      18      107       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew      111       4      112       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew      112      15      112      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      113      22      114       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      114       9      114      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      117       1      117       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      117       7      117      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      118      12      118      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      118      22      119       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      119       4      119       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew      119      19      120       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      120       5      120       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew      120       9      120      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      120      16      120      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      120      18      120      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      121      14      121      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      122      13      122      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew      122      16      122      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      122      18      122      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      122      19      122      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      123       4      124       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      124      12      124      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew      124      15      124      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      124      19      124      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      125       8      128       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew      128      15      128      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      128      17      128      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      128      22      129       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      129       5      129       5          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew      129       6      134      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      134      15      137      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      138      16      140      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      141      13      144       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      144      21      145      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      145      17      146      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      146      21      150      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      150      17      150      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      150      22      151       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      151       2      151       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew      151      11      156       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew      156       7      156      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      156      13      160       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew      160       8      161      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      162       9      163       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      163      17      164       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      165       8      166      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      167       8      168       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      168      16      168      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      168      19      168      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      168      21      169       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      169       8      172      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      172      17      172      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      172      21      173       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      173       5      175       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      175      17      175      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      176       7      176      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew      176      15      176      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      176      16      189       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      189      15      193      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew      193      16      193      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      193      17      193      22          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew      194       1      194       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      194       5      194      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      195      10      205      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      205      22      212      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew      212      22      213       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      213       4      213       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      213       5      213       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      213      15      223       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew      223      10      224      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      225       4      230       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      231      12      232       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      233       3      234      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew      234      16      234      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      235       2      235      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew      236      10      237       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      238      15      238      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      239       5      239       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew      239      11      239      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew      239      14      239      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      239      16      239      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      239      18      239      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      240       9      241      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      241      19      246      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      246      21      248       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      248      22      249      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      251       1      251       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      251       5      251       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      251       9      251      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      252       5      256      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      257       5      258       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      258       2      258       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew      258      22      259       4          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew      259      12      259      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew      259      15      260       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      261      21      262       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      262       3      262       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      262       8      262       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew      263      10      264       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      264       5      266      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      266      12      267      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      267      13      267      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      267      17      267      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew      267      21      268       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      268       6      269      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      269      17      269      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew      269      20      269      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      270       1      272       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      272       7      272      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      273       2      273       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      273       6      273       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew      273       9      273      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      273      12      280      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew      280      22      281       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      281       3      281       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew      281       7      282      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      282      12      282      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew      282      16      282      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      282      17      282      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      282      22      283       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      283       5      287      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      288       3      290      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      291      12      294      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      294      11      295      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew      296       1      296      19          PLAINTIFFS PT DESIGNATION


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Transcript      PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew      297      19      299       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      299      16      307      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      307      19      308      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew      309       1      309       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      309       7      309      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      309      11      309      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew      309      15      314      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      315       7      316      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew      317      19      318      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      319       4      322       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew      322       3      322       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      322       6      324       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew      324       9      324      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew      324      16      325      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      325      22      326       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew      326       8      326      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      326      12      326      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew      326      16      328      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew      328      21      330       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew      331       1      332       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew      332      12      332      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew      333       1      334      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew      335       3      335      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew      341      14      342      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew      344       1      344       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      344       5      347       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew      348      21      349       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew      349       9      349      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew      349      14      349      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew      349      20      350      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew      350      19      350      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew      351       1      351       4          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew            351       5      352       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew            352      18      353      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew            353      13      353      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew            353      16      354      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew            355       1      355       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew            355       4      357       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew            357       8      360      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew            360      19      361       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew            363      15      363      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew            363      22      364       1          PLAINTIFFS PT DESIGNATION
Witty, Andrew            364       5      364       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew            364       9      364       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew            365       2      368      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew            368      16      370       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew            370      17      371       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew            371       9      372      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        20      5       20      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        22      2       22      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        23      2       23      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        23     24       23      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        24      2       24       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        24     11       24      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        25      2       25      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        25     17       25      23          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        27     14       27      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        30      3       30       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        30     22       30      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        31      2       31      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        31     18       31      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        32      2       32      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        32     24       32      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        33      2       33       8          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)        33      9       33      23          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        38      2       38      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        38     14       38      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        39      2       39      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        39     16       39      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        40      2       40       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        42      8       42      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        43      2       43      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        43     13       43      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        44      2       44      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        51     10       51      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        52      2       52      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        55     10       55      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        55     16       55      24          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        56     19       56      24          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        57      8       57      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        58      6       58      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        58     21       58      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        59      2       59       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        60      3       60       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        60     21       60      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        61     21       61      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        62      2       62      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        62     22       62      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        63      2       63       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        87     21       87      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        88      2       88      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        89      2       89       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        92     11       92      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        93      2       93      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        93     25       93      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        94      2       95       1          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)        95      2       95       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)        95      9       95      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      108      10      108      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      108      14      108      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      108      22      108      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      109       2      109      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      109      20      109      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      110       2      110       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      111       5      111      23          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      118       9      118      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      119       2      119       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      121       2      121      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      122       2      122      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      122      21      122      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      123       2      123      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      124       2      124      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      125       2      125      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      126       2      126       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      126       5      126      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      127       2      127      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      127      19      127      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      128       2      128      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      129       2      129      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      130      10      130      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      131       2      131      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      132       2      132       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      132       7      132      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      133       2      133       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      135       4      135      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      139       6      139       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      139      11      139      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      140       2      140      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)      141       2      141      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      149       4      149      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      149      14      149      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      150       2      150       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      152      17      152      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      152      21      152      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      153       2      153       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      157      15      157      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      158       2      158      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      162       8      162      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      166       7      166      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      166      17      166      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      167       2      167      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      167      24      167      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      168       2      168      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      169       2      169      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      183      23      183      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      184       2      184       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      184       9      184      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      185       2      185      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      186      15      186      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      189      15      189      21          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      190      16      190      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      191       2      191      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      194       7      194      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      197      20      197      23          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      197      24      197      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      198       2      198       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      198       6      198      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      200       3      200       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      200      15      200      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      201       2      201       4          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)      204      10      204      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      204      22      204      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      205       2      205       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      205      13      205      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      206       2      206       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      209       8      209      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      210       2      210      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      211      18      211      23          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      211      25      211      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      212       2      212      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      213       2      213      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      217       4      217      10          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      217      11      217      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      217      17      217      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      218       2      218       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      227       8      227      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      228       2      228      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      229       2      229      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      230       2      230      12          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      230      13      230      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      231       2      231      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      232       2      232      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      233       3      233      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      240       3      240       9          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      240      11      240      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      241      14      241      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      242       5      242      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      248      25      248      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      249       2      249       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      249       5      249       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      249      13      249      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      250       3      250       9          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)      250      16      250      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      251       2      251      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      252       2      252       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      256      14      256      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      262       5      262       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      262      10      262      19          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      266      20      266      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      267       2      267       2          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      267       5      267      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      277      19      277      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      278       2      278      24          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      280      25      280      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      281       2      281       4          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      281       8      281      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      282       5      282      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      283       2      283      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      284       2      284      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      284      23      284      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      285       2      285      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      286      10      286      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      286      14      286      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      286      19      286      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      287       2      287       7          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      287      16      287      22          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      288       3      288      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      291      25      291      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      292       2      292      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      293      12      293      15          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      293      16      293      17          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      293      19      293      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      294       2      294      11          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      298      22      298      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)      299       2      299      13          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      299      24      299      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      300       2      300      16          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      301      24      301      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      302       2      302       6          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      302      24      302      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      303       2      303      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      304       2      304      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      305      22      305      24          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      306       3      306       3          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      307       9      307      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      308       2      308       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      309      11      309      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      313       5      313      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      314       2      314      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      315       2      315      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      316       2      316      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      317       2      317      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      318       2      318      18          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      319       2      319       5          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      319       6      319       8          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      320      13      320      24          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      321       8      321      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      322       2      322      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      325       4      325      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      326       2      326      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      327       2      327      14          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      328      25      328      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      329       2      329      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      330       2      330      20          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      330      21      330      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      331       2      331      25          PLAINTIFFS PT DESIGNATION


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Transcript            PgFrom LnFrom      PgTo    LnTo          Issues
Witty, Andrew (CID)      332       2      332      25          PLAINTIFFS PT DESIGNATION
Witty, Andrew (CID)      333       2      333      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           14      3       36       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           36      6       36       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           36     19       37       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           37      6       37      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           38      7       49      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           49     22       50       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           50      6       50      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           50     19       73      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           73     17       73      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           73     21       75       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           75     10       75      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           75     15       75      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           76      7       76      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           76     12       76      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           76     16       76      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           77      1       77       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           77      5       78      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           78     16       78      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           78     21       81       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           81     12       81      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           81     15       81      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           82     21       86      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           87      7       88      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           88     18       88      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           89      1       89       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           89      7       89      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           90      8       92       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           92      7       92       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           92      9       92      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn           92     19       92      20          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Wukitch, Carolyn        92     22       95       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn        95     11       95      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn        95     17       95      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn        95     20      108       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      108       6      108      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      108      13      109      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      109      20      109      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      110       3      110       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      110      14      112      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      113       8      113      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      113      21      116      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      116      21      116      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      117       3      117      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      117      15      122       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      122      10      122      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      123       2      127      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      128      15      129       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      129      10      129      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      129      14      129      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      129      20      129      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      130      14      130      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      130      20      130      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      131       1      131       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      131      12      131      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      131      20      132       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      132      16      144      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      144      17      144      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      144      21      150      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      151       7      151       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      151      12      151      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      152       1      165      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      165      16      165      17          PLAINTIFFS PT DESIGNATION


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Wukitch, Carolyn      165      19      168       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      168       7      168       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      168      11      169      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      169      21      170       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      170       4      171       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      171       7      171       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      171      11      176      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      177       2      177       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      177       7      177      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      178       1      178       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      178       5      178       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      178       9      178      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      178      13      178      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      178      17      178      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      178      21      180      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      180      18      180      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      180      22      181       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      181      10      181      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      181      13      181      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      181      17      181      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      182       1      182      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      182      20      183       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      183       3      183       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      183      12      183      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      185       6      190       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      190      10      190      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      190      13      190      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      190      19      190      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      191       1      191      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      191      21      192       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      192       3      193       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      193       9      193      11          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Wukitch, Carolyn      193      13      194       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      194      11      194      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      194      16      195       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      195       8      195      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      195      16      196      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      196      12      196      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      196      20      198       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      198       5      198       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      198      11      199       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      199       4      199       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      199       9      199      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      199      20      200       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      200       7      200       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      200      14      200      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      201       2      201      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      201      22      201      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      203      14      204       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      204       4      204       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      204       7      204      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      204      14      204      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      204      18      204      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      204      22      205       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      205       4      205       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      205      12      205      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      206       2      209      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      210       1      210       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      210       5      210       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      210      10      210      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      210      13      210      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      210      19      210      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      211       2      212      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      212      21      212      21          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Wukitch, Carolyn      213       2      213       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      213       7      213      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      213      16      213      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      213      19      214       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      214      11      214      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      214      14      214      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      214      18      214      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      214      22      214      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      215       3      215       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      215       6      215       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      215       9      215      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      215      12      215      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      215      18      215      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      215      21      216       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      216       7      216       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      216      11      216      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      216      20      216      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      217       1      219       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      219       8      219      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      219      13      219      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      219      22      220       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      220       4      220      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      220      21      221       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      221       4      221      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      222       3      222       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      222       9      222      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      222      19      223       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      223       3      223       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      223       8      223      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      223      15      223      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      223      17      223      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      223      20      224       3          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Wukitch, Carolyn      224       6      224       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      224      21      225      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      225      21      231       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      232      20      233       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      233       9      235      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      235      18      235      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      235      21      241      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      242       2      242      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      242      15      246      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      246      16      246      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      247       1      248       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      249       2      255      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      255      20      255      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      256       2      258      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      258      20      258      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      259       3      259       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      259      14      261      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      262       9      262      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      262      18      265       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      265      11      265      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      265      16      266       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      266       8      266      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      266      13      267      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      267      13      267      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      267      18      267      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      268       1      268      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      269       4      273      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      273      13      273      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      273      19      274       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      274       9      274      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      274      14      275       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      275      11      275      14          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Wukitch, Carolyn      275      16      277      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      277      19      278       8          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      278      10      278      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      278      21      279       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      279       7      279      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      279      20      282      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      282      12      282      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      282      18      282      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      283       2      283       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      283      10      283      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      284       3      288      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      288      17      289       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      289       6      291      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      291      16      291      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      291      22      292      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      292      17      292      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      292      20      293      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      293      15      293      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      293      20      294       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      294       8      294      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      295       2      295      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      295      15      304      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      304      19      305       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      305       9      307      10          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      307      18      307      20          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      308       1      308       3          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      308       5      308      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      309       4      309      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      309      18      309      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      310      18      311       2          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      311       7      313       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      313      13      313      19          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Wukitch, Carolyn      313      21      314      22          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      315       2      315       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      315       7      315       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      315      11      315      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      315      18      316       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      316      13      319      16          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      319      20      320       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      320      10      323       9          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      323      11      323      19          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      323      21      325      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      325      20      326       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      326       3      326      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      326      20      326      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      327       2      327       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      327      11      330      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      330      16      331       1          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      331       3      331      18          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      331      21      332       7          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      332      10      334       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      334       7      334      14          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      334      17      337      11          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      337      14      337      15          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      337      17      338      12          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      339      10      339      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      340       2      342       4          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      342       6      342       6          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      342       8      342      17          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      342      20      342      21          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      343       1      343       5          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      344       6      346      13          PLAINTIFFS PT DESIGNATION
Wukitch, Carolyn      346      21      347       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        18      3       18      16          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve        18     21       18      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        18     25       19       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        19     13       19      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        20     14       20      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        20     25       21       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        21      6       23       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        23      8       23      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        23     13       24      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        25     21       26       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        31     23       34       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        34      9       34      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        35      2       36       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        36     10       36      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        36     13       36      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        36     24       37      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        37     15       37      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        40     17       42       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        43     16       43      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        44     18       46       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        46     14       47      23          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        51      6       53      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        53     17       55       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        55     11       55      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        56      2       56       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        56      9       56      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        57      2       58       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        58      5       58      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        59     13       64       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        64     11       64      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        64     20       65       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        65      5       65       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        65      8       65      18          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve        65     21       66      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        66     25       67      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        68     14       68      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        68     18       69       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        69     10       69      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        70      6       70      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        71     10       72      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        72     16       74      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        74     23       74      24          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        76      4       77      24          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        78      2       78       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        78     24       83      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        83     16       85      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        86      2       86      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        86     13       93       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        93      9       93      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        94      2       94       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        94     14       97      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        97     13       98       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        99      5       99       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve        99     12       99      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      100       8      107       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      108       6      111      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      111      21      112      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      113       2      113       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      113      11      113      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      113      16      115       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      117      24      119      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      120      10      120      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      122       3      122      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      122      20      125       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      125       6      125      10          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve      126       1      128      17          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      128      20      131      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      131      14      133      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      134       1      135      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      135      21      136       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      136       3      136      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      136      25      137      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      137      18      138       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      138       7      141       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      141      21      141      24          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      142       3      142      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      143      25      144      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      144      23      146      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      146      19      149      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      150       2      151      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      151      23      152      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      153      18      153      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      153      24      157      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      157      15      158      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      158      25      159       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      159       5      159       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      160       1      160       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      160       5      160      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      160      16      160      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      161       9      162      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      162      16      163      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      163      15      165       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      165      12      165      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      165      25      166       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      166      11      166      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      166      25      170      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      172      17      175       6          PLAINTIFFS PT DESIGNATION


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Transcript         PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve      175      11      175      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      175      16      177      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      178       4      179       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      179      13      179      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      180       1      182      24          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      186       8      186       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      186      13      186      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      187      10      191      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      191      20      193       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      193       5      194      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      195       3      195      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      195      24      196      24          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      197       3      197      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      197      16      199      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      204      17      207      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      207      19      209      23          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      209      25      210       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      210      10      211       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      211       9      211      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      211      16      211      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      211      22      211      23          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      212       2      213       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      213      12      214       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      214      11      218       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      218      11      218      17          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      218      21      218      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      218      24      219       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      219      15      220       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      220      10      221      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      223      12      224      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      224      20      228       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve      228      12      228      13          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve            228      17      230       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            230      10      232      25          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            233       5      233      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            233      25      234      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            234      25      235       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            236       9      236      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            237       2      237       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            237      16      239      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            240       4      241       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            241      17      242       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            242      22      243       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            243      10      244      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            246      10      246      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            246      22      248       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            248      12      249      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            249      18      249      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            251      25      252       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            253      15      255      17          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            255      23      258      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            259      12      259      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            259      18      259      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            259      24      260       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            260      17      262       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            262       5      262      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            262      20      262      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve            263       1      264      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        22     13       26      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        27      6       29       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        29     15       30       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        30     21       34       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        34      4       35       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        39      6       40      14          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve (CID)        40     18       42      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        43     16       43      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        44      4       44      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        48     20       50       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        50     16       51      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        51     21       52      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        53     17       54       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        54     12       55      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        55     15       55      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        55     20       57       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        58      5       60       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        61      2       61       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        61      8       61       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        61     10       62       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        62     18       63      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        63     13       63      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        64      9       64      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        64     14       64      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        65      8       66       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        66     20       68      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        69      2       69      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        69     20       70       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        71      2       71      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        72     20       73       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        73     15       74       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        76      4       77       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        77     15       77      17          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        77     20       78       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        78      4       79       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        80      6       81       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        81     10       81      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        82      1       82       9          PLAINTIFFS PT DESIGNATION


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Yurjevich, Steve (CID)        83      3       83       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        83      8       83       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        83     11       85      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        86     10       86      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        87     13       87      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        89     11       90       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        90     12       90      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        90     18       92      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        92     22       94      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        94     15       95       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        96      4       97       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)        99     17       99      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      100       5      100       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      100      18      101       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      101       8      102       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      102      11      107       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      107       7      108       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      108       9      108      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      108      13      108      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      109       2      109       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      109       6      110       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      110      12      111       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      112       1      113      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      113      13      113      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      113      20      115      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      116      19      118      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      118      21      119       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      119       5      119      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      120       1      120       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      120       5      120      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      120      20      123      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      123      19      129      14          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve (CID)      131      20      132      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      133       3      134      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      135      18      137      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      138       6      138       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      138      12      139       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      139      20      140      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      140      19      140      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      140      22      143       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      145       6      146      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      146      13      146      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      147       7      147      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      154       8      154      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      154      20      154      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      155       7      155      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      155      20      156      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      157      19      160       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      160      10      160      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      161       6      161      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      162       9      164       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      174      18      175       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      181       8      181      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      181      18      182       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      182      22      185       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      185      16      186      13          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      186      22      188      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      189       1      189       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      191      12      192      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      194      12      195       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      195      19      196      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      197       2      197      17          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      201      14      202       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      202      17      202      21          PLAINTIFFS PT DESIGNATION


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Yurjevich, Steve (CID)      203      12      204      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      205      15      207       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      207      13      207      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      208       4      209       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      211       8      214      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      215       3      215       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      215      10      216       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      217       1      217       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      217       8      217      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      218      11      220      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      221       6      222      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      223       5      223      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      223      19      223      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      224       1      229      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      229      17      229      19          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      229      21      231      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      232       1      235       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      235      12      235      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      236       1      238      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      238      20      238      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      239      12      239      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      241      10      242      12          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      243       6      245       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      245      14      246       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      247       2      248       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      248      15      248      17          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      249       2      249      20          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      252      20      262      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      262      20      262      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      263       9      264       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      266       1      270       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      271      19      273       7          PLAINTIFFS PT DESIGNATION


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Yurjevich, Steve (CID)      274      13      275      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      281       7      281      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      284      16      286       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      286      11      286      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      286      22      287       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      290      20      293      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      293      13      293      16          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      293      21      294      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      295      13      296       3          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      297       6      297       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      297      15      298       8          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      298      14      299       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      299      22      300      21          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      301      13      301      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      302      14      303       1          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      303       4      303       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      303      11      304      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      304      17      304      18          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      312      13      312      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      313       7      313       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      313      15      314       4          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      314      13      316      15          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      316      22      318       9          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      318      12      318      14          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      318      16      325       2          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      325      12      326       5          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      326       7      326       7          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      326       9      328      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      330       1      330      11          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      331       4      331      10          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      332       4      332      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      333       2      334      10          PLAINTIFFS PT DESIGNATION


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Transcript               PgFrom LnFrom      PgTo    LnTo          Issues
Yurjevich, Steve (CID)      336       2      336       6          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      347      10      348      22          PLAINTIFFS PT DESIGNATION
Yurjevich, Steve (CID)      349      22      351       5          PLAINTIFFS PT DESIGNATION




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